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                  Exhibit 22
 New Drug, Antibiotic, and Biological Drug Product
Regulations; Accelerated Approval, 57 Fed. Reg. 58942
                   (Dec. 11, 1992)
58942       Fed eral R eg ister / V ol. 5 7 , N o. 239 / Frid ay , D ecem b er 11, 199 2 / Rules and Regulations
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D EPARTM EN T O F H EALTH AN D                                 ag e n cy w o u l d acce l e rate ap p ro v al o f              B. C riteria f o r A p p ro v al
HUM AN SERVI CES                                               ce rtain n e w d ru g s an d b io l o g ical                       A cce l e rate d ap p ro v al w il l b e
                                                               p ro d u cts f or se rio u s o r l if e- th reaten in g         co n s id e re d in tw o situ atio n s : (1 ) W hen
Food and Drug Adm inistration                                  ill n e ss e s, w ith p ro v isio n f o r re q u ire d          ap p ro v al can b e re l iab l y b ase d o n
                                                               co n tin u e d s tu d y o f th e d ru g s’ cl i n ical          e v id e n ce o f th e d ru g ’s e f f e ct o n a
21 CFR Parts 314 and 601
                                                               b en ef its af te r ap p ro v al o r f o r re s trictio n s     su rro g ate e n d p o in t th at re as o n ab l y
[ Dock* No. 91N-0278]                                          o n d is trib u tio n o r u s e , w h e re th o s e are         su g g e sts cl i n ical b e n e f it o r o n evid ence
                                                               n e ce s s ary f or saf e u s e o f th e d ru g s . FD A        o f th e d ru g ’ s ef f e ct o n a cl in ical
RI N 0 9 0 5 -AD6 6
                                                               p ro v id e d 6 0 d ay s f o r p u b l ic co m m e n t,         e n d p o in t o th e r th an s u rv iv al o r
New Drug, Antibiotic, and Biologica l                          an d , u p o n req u est, in th e Fe d e ral                    irre v e rsib le m o rb id ity , p en d in g
Drug Product Regulations; Accelerated                          R e g is te r o f Ju n e 1 8 , 1 9 9 2 (5 7 FR 2 7 2 0 2 ) ,    co m p l e tio n o f stu d ie s to estab lis h and
Approval                                                       e xte n d e d th e co m m e n t p e rio d f o r an              d ef in e th e d eg ree o f cl i n ical b en ef its to
                                                               ad d itio n al 3 0 d ay s u n til Ju l y 1 5 , 1 9 9 2 .        p atie n ts; an d (2 ) w h e n FD A d eterm ines
AGEN CY: Food and D rug A dm inistration,
                                                               T h e f in al ru l e in co rp o rate s al l o f th e            th at a d ru g , e f f e ctiv e f o r th e treatm en t of
HHS.
                                                               p ro v is io n s o f th e p ro p o se d ru l e an d             a d is e ase , can b e u s e d saf e ly o n ly if
ACTI ON: Fin al ru l e .                                                                                                       d is trib u tio n o r u s e is m o d if ied o r
                                                               p ro v id e s ad d itio n al cl arif icatio n
SUMMARY: T h e Fo o d an d D ru g                              reg ard in g b o th tim in g an d co n te n t o f th e          re s tricte d . D ru gs o r b io l o g ical p rod u cts
A d m in is tratio n (FD A ) is is s u in g f in al            su b m iss io n s o f p ro m o tio n al m ate rials             ap p ro v e d u n d e r th is f in al ru l e w ill have
re g u latio n s u n d e r w h i ch th e ag e n cy w il l      an d reg ard in g th e n atu re o f re q u ire d                m e t th e re q u is ite s tan d ard s f or saf ety
acce l e rate ap p ro v al o f ce rtain n e w d ru g s         p o s tm ark etin g stu d ie s . T h e ag e n cy h as           an d e f f e ctiv e n e s s u n d e r th e act o r the
an d b io l o g ical p ro d u cts f o r se rio u s o r         ad d e d a n e w p ro v isio n cl arif y in g w h e n           PH S A ct an d , th u s , w il l h av e full
l if e- th reaten in g il l n e s s e s , w ith                ce rtain p o stm ark e tin g re q u ire m e n ts o f            ap p ro v al f o r m ark etin g (2 1 C FR 314.510,
p ro v isio n s f o r an y n e ce s s ary co n tin u e d       th e ru l e w il l b e te rm in ate d .                         3 1 4 .5 2 0 , 6 0 1 . 4 1 , an d 6 0 1 .4 2 ).
stu d y o f th e d rugs* cl i n ical b e n e f its af ter                                                                      O rd in arily , p ro d u cts u se d to treat
                                                                    H ig h lig h ts o f th e f in al ru l e are
ap p ro v al o r w ith re s trictio n s o n u s e , if                                                                         se rio u s o r l if e- th reaten in g illn ess es, for
                                                               su m m ariz e d b e lo w , f o llo w ed b y a
n e ce s s ary . T h e s e n e w p ro ce d u re s are                                                                          w h ich ap p ro v al is b ase d o n a surrogate
                                                               su m m ary an d d is cu s s io n o f th e
in te n d e d to p ro v id e e xp e d ite d                                                                                    e n d p o in t ih at is re co g n iz e d as validated
                                                               co m m e n ts.
m ark etin g o f d ru g s f o r p atie n ts suf f erin g                                                                       b y d ef in itiv e stu d ie s , w il l b e co nsid ered
f ro m s u ch ill n e s s e s w h e n th e d ru g s            n.     H ig h lig h ts o f th e Fin a l R u le                  f o r ap p ro v al u n d e r th e trad itio n al
p ro v id e m ean in g f u l th e rap e u tic b en ef it                                                                       p ro ce s s rath e r th an u n d e r accel erated
                                                                    T h is f in al ru l e e stab l is h e s p ro ce d u re s   ap p ro v al .
co m p are d to e xis tin g tre atm e n t.
                                                               u n d e r p arts 3 1 4 an d 6 0 1 (2 1 C FR p arts
A cce l e rate d ap p ro v al w il l b e co n s id e re d                                                                      C . P o stm arket in g S t u d ies
in tw o situ atio n s : (1 ) W h e n ap p ro v al              3 1 4 an d 6 0 1 ) u n d e r w h ich FD A w il l
                                                               acce l e rate ap p ro v al o f ce rtain n e w d ru g s             W h e re a d ru g ’s ap p ro v al u n d er these
can b e re l iab l y b ase d o n e v id e n ce f ro m
                                                               an d b io l o g ical p ro d u cts f o r se rio u s o r          p ro v is io n s is b ase d o n a surro g ate
ad eq u ate an d w e l l - co n tro l l e d s tu d ie s o f
                                                               lif e- th reate n in g il l n e ss e s, w ith p ro v isio n     e n d p o in t o r o n an ef f ect o n a clin ical
th e d ru g ’s ef f e ct o n a su rro g ate e n d p o in t
                                                               f o r re q u ire d co n tin u e d stu d y o f th e              m id p o in t o th e r th an su rv iv al o r
th at re as o n ab ly su g g e sts cl i n ical b en ef it
                                                               d ru g s’ cl i n ical b en ef its af te r ap p ro v al o r      irre v e rsib le m o rb id ity , th e ap p lican t
o r o n e v id e n ce o f th e d ru g ’s e f f e ct o n a
                                                               f o r re s trictio n s o n d istrib u tio n o r u s e ,         w il l b e re q u ire d to co n d u ct cl in ical
cl i n ical e n d p o in t o th e r th an s u rv iv al o r
                                                               w h e re th o s e are n e ce s s ary f o r saf e u s e          s tu d ie s n e ce s s ary to v erif y an d describe
irre v e rsib le m o rb id ity , p e n d in g
                                                               o f th e d ru g s . T h e s e p ro ce d u re s are              th e d ru g ’s cl i n ical b en ef it an d to resolve
co m p l e tio n o f stu d ie s to estab l is h an d
                                                               in te n d e d to p ro v id e e xp e d ite d                     re m ain in g u n ce rtain ty as to th e relation
d ef in e th e d eg re e o f cl i n ical b e n e f its to
                                                               m ark e tin g o f d ru g s f o r p atie n ts su f f erin g      o f th e su rro g ate e n d p o in t u p o n w hich
p atie n ts ; an d (2 ) w h e n FD A d e te rm in e s
                                                               f ro m s u ch ill n e ss e s w h e n th e d ru g s              ap p ro v al w as b ase d to cl in ical b enefit,
th at a d ru g , e f f e ctiv e f o r th e tre atm e n t o f
                                                               p ro v id e m ean in g f u l th e rap e u tic                   o r th e o b se rv e d cl in ical b en ef it to
a d is e ase , can b e u s e d saf e ly o n l y i f
                                                                                                                               u l tim ate o u tco m e . T h e req u irem en t for
d istrib u tio n o r u s e is m o d if ie d o r                ad v an tag e o v e r e xistin g tre atm e n t. T h e
                                                                                                                               an y ad d itio n al stu d y to d em o n strate
re s tricte d . D ru gs o r b io l o g ical p ro d u cts       p re am b l e o f th e p ro p o se d ru l e (5 7 FR
                                                                                                                               actu al cl i n ical b en ef it w il l n o t b e m ore
ap p ro v e d u n d e r th e s e p ro ce d u re s w il l       1 3 2 3 4 ) p ro v id e s a d e s crip tio n o f o th e r
                                                                                                                               strin g e n t th an th o s e th at w o u l d
h av e m e t th e re q u is ite s tan d ard s f or             m e ch an is m s av ailab le to f acil itate
                                                                                                                               n o rm al l y b e re q u ire d f o r m ark eting
saf ety an d e f f e ctiv e n e s s u n d e r th e             a cce s s , s p e e d d e v e l o p m e n t, an d
                                                                                                                               ap p ro v al ; it i s e xp e cte d th at th e studies
Fe d e ral Fo o d , D ru g, an d C o s m e tic A ct            e xp e d ite re v ie w o f th e rap e u tic p ro d u cts
                                                                                                                               w il l u s u al l y b e u n d e rw ay at th e tim e of
(th e act) o r th e Pu b l ic H e alth S e rv ice              (e .g ., tre atm e n t in v e stig atio n al n e w d ru g
                                                                                                                               ap p ro v al . T h e p ro p o se d reg ulation s
A ct (th e PH S A ct) an d , th u s , w il l h av e            ap p l icatio n s (IN D ’s), su b p art E, p aral l e l
                                                                                                                               h av e b e e n re v is e d to cl arif y th at
f u ll ap p ro v al f o r m ark etin g .                       track ). W h e re ap p ro p riate , th e s e
                                                                                                                               re q u ire d p o s tm ark etin g stu d ies m ust
EFFECTI VE DATE: Jan u ary 1 1 , 1 9 9 3 .                     m e ch an is m s can b e u til iz e d in co n ce rt
                                                                                                                               al so b e ad e q u ate an d w ell- co n tro lled (21
FOR FURTHER I NFORMATI ON CONTACT:                             w ith acce l e rate d ap p ro v al . T h e m ajo r
                                                                                                                               C FR 3 1 4 . 5 1 0 an d 6 0 1 .4 1 ).
M arily n L. W ats o n , C e n te r f o r D rug                p ro v is io n s o f th e f in al ru l e are as
Ev al u atio n an d R e s e arch (H FD - 3 6 0 ),              f o llo w s:                                                    D . R est ric tio n s on   Use A ft er M arketin g
Fo o d an d D ru g A d m in is tratio n , 7 5 0 0                                                                                  FD A m ay g ran t m ark etin g ap p rov al of
                                                               A . Scope
S tan d ish PI., R o ck v ill e , M D 2 0 8 5 5 , 3 0 1 -                                                                      a d ru g o r b io l o g ical p ro d u ct sh ow n to be
295-8038.                                                           T h e n e w p ro ce d u re s ap p l y to ce rtain          e f f e ctiv e w h e re saf e u se can o n ly be
                                                               n e w d ru g , an ti b io tic, an d b io l o g ical             as s u re d i f d is trib u tio n o r u se is
SUPPLEM ENTARY I NFORMATI ON:
                                                               p ro d u cts u se d in th e tre atm e n t o f                   re s tricte d . U n d e r th is f inal rule, FD A
I . B ack g ro u n d                                           se rio u s o r l if e- th reaten in g d is e ase s,             m ay : (1 ) R e s trict d istrib u tio n to certain
   In th e Fe d e ra l R e g is te r o f A p ril 1 5 ,         w h e re th e p ro d u cts p ro v id e m e an in g f u l        f acil itie s o r to p h y s ician s w ith sp ecial
1 9 9 2 (5 7 FR 1 3 2 3 4 ) , FD A p u b lish e d              th e rap e u tic ad v an tag e o v e r e xistin g               train in g o r e xp e rie n ce , o r (2) cond ition
p ro p o s e d p ro ce d u re s u n d e r w h ich th e         tre atm e n t (2 1 C FR 3 1 4 .5 0 0 an d 6 0 1 .4 0 ).          d is trib u tio n o n th e p erf o rm an ce o f




                                                                                                                                                        EX. 22 pg.01
             Fed eral R eg ister / V ol. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 1 1 , 199 2 / Rules an d Regulations       58943
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specified m edical procedures. The             IV . Comments on the Proposed Rule          clinical outcom e, a surrogate indicator
restrictions on use w ill be tailored to the                                               is no m ore than a hypothetical
                                                  FD A received 54 com m ents on the
specific safety issue raised by the                                                        construct. The com m ent asserted that
                                               proposed rule. The com m ents cam e
particular drug or biological product                                                      the proposed rule's endorsem ent of the
                                               from individuals, specific disease
and agreed to by the applicant at the                                                      use of un validated surrogate endpoints,
                                               organizations, universities,
time of approval (21 CFR 314.520 and                                                       therefore, appears to represent a
                                               pharm aceutical m anufacturers, trade
601.42). FD A expects that the                                                             significant departure from traditional
                                               associations, health professionals, and
imposition of these restrictions on                                                        agency interpretations of “ substantial
                                               professional societies. The c o m m en ts
distribution w ill be rare.                                                                evidence” w ithin the meaning of the act
                                               reflect broad support and acceptance of
                                               the goal of expediting the approval of      because it allow s belief rather than
E. P ro m o tio n al M aterials
                                                                                           evidence to serve as the basis for a
  The final rule requires submission of        drugs intended for the treatm ent of
                                                                                           conclusion about the effectiveness of a
planned prom otional m aterials,               serious and life-threatening illnesses. A
                                                                                           new drug.
including prom otional labeling and            number of com m ents asked that the
                                                                                              Three com m ents asserted that the new
advertisements, both prior to approval         proposed be finalized expeditiously
                                                                                           regulations are not needed to approve
(reflecting the initial cam paign), and        w ithout change. M any com m ents posed
                                                                                           drugs intended to treat serious or life-
following approval, unless informed by         specific questions and raised important
                                                                                           threatening illnesses. Tw o com m ents
the agency that such submission is no          concerns.
                                                                                           cited FD A ’s approval, w ithout new
longer necessary, at least 30 days before      A . G en eral C om m en ts                  regulations, of didanosine (formerly
the intended tim e of initial                                                              called ddi) and zaldtab ine (formerly
                                                  1. O ne com m ent suggested that the
dissemination of the prom otional                                                          called ddc) in com bination w ith
                                               term “ conditional approval“ was less
labeling or initial publication of the                                                     zidovudine (form erly called A ZT) based
                                               confusing and ambiguous than the term
advertisement (21 CFR 314.550 and                                                          on a surrogate m arker, i.e., an increase
                                               “ accelerated approval.” The comment
601.45).                                                                                   in CD4 cell counts and the “ subpart E"
                                               also referred to the statem ent in the
                                                                                           procedures at 21 CFR part 312, w hich
F. W ithdraw al o f A p p ro v al              proposal that “ D rugs * * * approved
                                                                                           address the need for expediting the
  The final rule establishes an                under this proposal w ill have met the
                                                                                           developm ent, evaluation, and marketing
expedited procedure for the w ithdraw al       requisite standards * * * under the
                                                                                           of new therapies intended to treat life-
of approval if: (1) Postm arketing clinical    (act)“ and argued that because
                                                                                           threatening or severely debilitating
studies fail to verify clinical benefit; (2)   postmarketing conditions may be
                                                                                           illnesses as exam ples of existing
the applicant fails to perform the             imposed, this statem ent can only be
                                                                                           m echanism s for the expedited approval
required postm arketing study w ith due        read to say that the requisite standards
                                                                                           of im portant new drugs. O ne com m ent
diligence; (3) use after marketing             under the act can only be m et by a low er
                                                                                           argued that the act requires that drugs
demonstrates that postmarketing                standard of evidence in hand, combined
                                                                                           be shown to be “ safe" and “ effective,”
restrictions are inadequate to ensure          w ith assurance that further evidence
                                                                                           and proof of effectiveness is not lim ited
safe use of the drug or biological             w ill be obtained.
                                                                                           by the act to dem onstration of an effect
product; (4) the applicant fails to adhere        A nother com m ent expressed concern
                                                                                           on “ survival or irreversible m orbidity,”
to the postmarketing restrictions agreed       that the proposal appears to establish a
                                                                                           as the proposed rule seems to assum e.
upon; (5) the prom otional m aterials are      standard for the evaluation of drug
                                                                                           The com m ent further argued that FD A
false or m isleading; or (6) other             product effectiveness that is               has considerable statutory discretion to
evidence dem onstrates that the drug or        inconsistent w ith the substantial          define w hat type of data constitutes
biological product is not shown to be          evidence requirement of section 505(d)      proof of effectiveness, and
safe or effective under its conditions of      of the act (21 U .S.C. 355(d)), w hich      dem onstration of an effect on a
use (21 CFR 314.530 and 601.43).               m eans “ evidence consisting of adequate    surrogate m arker is one type of such
                                               and w ell-controlled investigations,        proof.
G. T erm in ation o f R equ irem en ts         including clinical investigations, by          The agency believes that w hat the
  In response to com m ents, the final         experts qualified by scientific training    procedures are called is m uch less
rule provides that the requirem ents set       and experience to evaluate the              im portant than w hat the procedures are.
forth in $§ 314.520, 314.530, and              effectiveness of the drug involved, on      The shorthand term selected by the
314.550 for new drugs and antibiotics          the basis of w hich it could fairly and     agency reflects the intent of the rule,
and §§ 601.42, 601.43, and 601.45 for          responsibly be concluded by such            especially that part related to use of
biological products ordinarily w ill           experts that the drug w ill have the effect surrogate m arkers, w hich is to make
terminate when FD A determ ines that           it purports or is represented to have       drugs that provide meaningful
the results of required postm arketing         under the conditions of use prescribed,     improvem ent over existing therapies for
studies have dem onstrated that the drug       recom m ended, or suggested in the          serious illnesses w idely available
or biological product has clinical             labeling or proposed labeling * *            (through marketing) at the earliest tim e
benefit, or, w here restrictions on            The com m ent argued that, w ith few        consistent w ith the law . The essence of
distribution or use have been imposed,         exceptions, the agency has consistently     the proposal is thus acceleration, not the
when FD A determ ines that safe use of         interpreted the “ substantial evidence“     im position of conditions. A pproval
the drug or biological product can be          requirement as an instruction that          under these procedures is dependent on
ensured w ithout such restrictions, e.g.,      determ inations of effectiveness be based com pliance w ith certain additional
through appropriate labeling. FD A w ill       on data unambiguously reflecting the        requirem ents, such as tim ely
notify the applicant w hen these               clinical status of subjects evaluated       com pletion of studies to docum ent the
requirements no longer apply (21 CFR           under controlled conditions in bona fide expected clinical benefit. The evidence
314.560 and 601.46).                           clinical experim ents. In the absence of    available at the tim e of approval under
                                               com pelling em pirical evidence             this rule w ill m eet the statutory
Hi- Effective D ate
                                               docum enting that a drug-induced             standard, in that there must be evidence
  This regulation w ill becom e effective      change in a surrogate m easure reliably      from adequate and w ell-controlled
°n January l l , 1993.                         and consistently predicts improved           studies showing that the drug w ill have




                                                                                                              EX. 22 pg.02
58944         Fed eral R eg ister / V ol. 5 7 , N o. 2 3 9 / Frid ay , D ecem b er 11, 199 2 / Rules and R egulations
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the effect it is represented to have in its                   re l atio n s h ip m ay f ail to em erg e b e cau s e :           of large numbers of clinically
labeling. That effect w ill, in this case, be                 (1 ) T h e id e n tif ie d su rro g ate m ay n o t in             ineffective, but pharm acologically
an offset on a surrogate endpoint that is                     f act b e cau s al l y re l ate d to cl in ical                   active, drugs and this m ay not be in the
reasonably likely to predict a clinical                       o u tco m e (ev en th o u g h it w as th o u g h t to             interest of the pub lic health. The
benefit and labeling w ill refer to the                       b e) o r (2 ) th e d ru g m ay h av e a sm all e r                com m ent argued that early access to so-
effect on the surrogate, not to effect on                     th an e xp e cte d b en ef it an d a l arg e r th an              called " prom ising” drugs is not the
qlinical outcom e.                  '                         e xp e cte d ad v e rse ef f ect th at co u l d n o t             same as early access to safe and effective
   W h il e th e a ct d o e s n o t re f e r to               b e re co g n iz e d w ith o u t larg e - scale                   drugs, and the num ber of potential
p articu l ar e n d p o in ts o r s tate a                    cl in ical trial s o f lo n g d u ratio n . R e lian ce           markers that may be advanced as
p re f e re n ce f o r cl i n ica l , as o p p o se d to      o n s u rro g ate m ark e rs th e re f o re re q u ires           surrogates of clinical outcom e is
su rro g ate , e n d p o in ts , i t is w e ll                an ad d itio n al m e as u re o f j u d g m en t, n o t           exceedingly large. The com m ent
e s tab l is h e d th at th e ef f e ct sh o w n in           o n l y w eig h in g b en ef it v e rs u s risk , as              suggested that it m ayb e more
w e l l - co n tro l l e d stu d ie s , m u st, in th e       al w ay s, b u t al s o d e cid in g w h at th e                  appropriate to seek adoption o f the
j u d g m en t o f th e ag e n cy , b e cl in ical l y        th e rap e u tic b en ef it is b ase d u p o n th e               proposed requirem ents through an
m e an in g f u l. M o re o v e r, th e saf ety               d ru g ef f e ct o n th e su rro g ate.                           am endm ent to the act.
s tan d ard in th e a ct, th at a d ru g m u st b e               T n e s e ctio n s o f th e f in al ru l e th at                 FD A agrees w ith the contention that
sh o w n to b e saf e f o r its in te n d e d u se ,          ad d re ss ap p ro v al b ase d u p o n a d ru g                  providing people who have serious or
im p l ie s a risk / b e n e f it j u d g m en t. T h e       ef f ect o n a su rro g ate e n d p o in t                        life-threatening illnesses w ith numerous
ef f e ct sh o w n m u st b e su ch as to                     s p e cif ical l y cl arif y th e re g u lato ry                  clinically ineffective drugs would not be
o u tw e ig h th e risk s o f th e tre atm e n t              ap p ro v al crite ria w h e n th e ag e n cy re l ie s           helpful. H owever, the agency does not
u n d e r th e co n d itio n s o f u se . A p p ro v al       o n a su rro g ate e n d p o in t th at, w h il e                 agree that the rule can be expected to
u n d e r th is ru l e re q u ire s, th e re f o re , th at   " re as o n ab l y lik el y ” to p re d ict cl in ical            have this result. A lthough studies using
th e ef f ect sh o w n b e , in th e j u d g m en t o f       b en ef it, is n o t so w e l l estab l is h ed as th e           surrogate endpoints may provide less
th e ag e n cy , cl i n ical l y m e an in g f u l, an d      su rro g ates o rd in arily u se d as b ase s o f                 assurance of clinical benefit than
o f s u ch im p o rtan ce as to o u tw eig h th e             ap p ro v al in th e p ast. Po s tm ark etin g                    studies using clinical endpoints, FDA
risk s o f tre atm e n t. T h i s j u d g m en t d o e s      s tu d ie s req u ired to v erif y an d d e scrib e               believes com pliance w ith all of the
n o t re p re s e n t e ith e r a " l o w e r s tan d ard ”   actu al cl in ical b en ef its w o u l d al so b e                elem ents of the accelerated approval
o r o n e in co n s is te n t w ith s e ctio n 5 0 5 (d )     re q u ire d to b e ad eq u ate an d w ell-                       program w ill not result in the marketing
o f th e act, b u t rath e r an as s e ss m e n t             co n tro l l e d stu d ie s. S e ctio n s 3 1 4 .5 1 0 an d       of large numbers of clinically ineffective
ab o u t w h e th e r d if f eren t ty p e s o f d ata        6 0 1 .4 1 h av e b een re v is e d to cl arif y th is            drugs. The new procedures apply to a
sh o w th at th e sam e s tatu to ry stan d ard               p o in t. If, o n co m p l e tio n o f re q u ired                lim ited group of circum stances, namely,
h as b ee n m e t                                             p o stm ark etin g stu d ie s , th e ef f ect o n th e            to drugs intended for serious or life-
  A pproval based on surrogate                                su rro g ate is n o t sh o w n to co rre s p o n d to             threatening illnesses when the drugs
endpoints is not new , although the issue                     a f av o rab l e ef f e ct o n cl i n i ca l b e n e f it, th e   provide a meaningful therapeutic
has not previously been considered in                         ru l e p ro v id e s an e xp e d ite d m e an s o f               benefit over existing therapy. Reliance
regulations. The agency has, in a                             re m o v in g th e d ru g f ro m th e m ark et.                   on a surrogate endpoint is not
num ber of instances, approved drugs                             A p p ro v al o f d iaan o s in e an d                         equivalent to reliance on any evidence
based on surrogate endpoints. For                             z al citab in e u n d e r cu rre n t p ro ce d u re s             of pharm acologic activity. The endpoint
exam ple, drugs for hypertension have                         d o e s n o t sh o w th at th e ru l e is o f n o                 must be reasonably likely, based on
been approved based on their effects on                       v alu e . A l th o u g h ap p ro v al d id re l y o n a           epidem iologic, therapeutic,
blood pressure rather than on survival                        su rro g ate e n d p o in t th at is o f th e k in d              pathophysiologic, or other evidence, to
or stroke rate. Sim ilarly, drugs for                         sp e cif ical l y ad d re ss e d b y th e ru l e , th e           predict clinical benefit.
hypercholesterolem ia nave been                               f act th at s tu d ie s to d ef in e cl in ical                      W hether a given endpoint is, in fact,
approved based on effects on serum                            b en ef it w e re n e arl y co m p l e te an d w ere              reasonably likely to predict clinical
cholesterol rather than on coronary                           b ein g co n d u cte d u n d e r th e au s p ice s o f            benefit is inevitably a m atter of
artery disease (angina, heart attacks).                       th e N atio n al In stitu te o f A l le rg y an d                 judgment. FD A , using available internal
But, in those cases there w as very good                      In f e ctio u s D ise ases m ad e it l e s s cru cial             and external expertise, w ill have to
evidence from clinical trials (in the case                    to h av e ad d itio n al g u aran te e s th at su ch              make informed judgments in each case
of hypertension) and from                                     stu d ie s w o u l d b e co n d u cte d p ro m p tl y .           presented, just as it does now. The
epidem iologic and anim al studies (in                        M o re o v er, th e s p o n so rs o f d iaan o s in e             agency acknow ledges that there are
the case of hypercholesterolem ia) that                       an d z al citab in e ag ree d p rio r to ap p ro v al             w ell-recognized reasons for caution
improving the surrogate would lead to                         to e xp e d ite d w ith d raw al o f th e d ru g                  when surrogate endpoints are relied on.
or is associated w ith the desired effects                    f ro m th e m ark et i f b en ef it w ere n o t                   Certain putative surrogates have
on m orbidity and m ortality. Even so,                        sh o w n . T h e p ro v isio n s o f th e f in al ru l e          ultim ately been shown not to
there is still today considerable debate                      w il l e n su re th at ap p ro p riate saf eg u ard s             correspond to clinical benefit. Perhaps
about who w ill benefit from cholesterol                      e xis t f or tim e l y g en eratio n o f d ata o n                the m ost notew orthy example is the
lowering. Controlled trials assessing                         actu al cl in ical b en ef it, f o r ap p ro p riate               failure of antiarrhythm ic agents in the
effects on clinical endpoints of                              p ro m o tio n al in f o rm atio n ab o u t lab el ed              Cardiac A rrhythm ia Suppression Trial
m orbidity and m ortality from use of                         in d icatio n s , an d f o r p ro m p t w ith d raw al             (CA ST) to improve survival by
cholesterol-low ering drugs have been,                        o f th e d ru g f ro m th e m ark et i f cl in ical                depressing ventricular ectopic beats;
and are being, conducted.                                     b e n e f it is n o t co n f irm e d .                             effective suppression of ectopic beats
  Reliance on a surrogate endpoint                                2 . Po in tin g to a s tate m e n t in th e                    w as associated w ith increased mortality.
alm ost alw ays introduces some                               p re am b l e to th e p ro p o se d ru l e th at it is               A sponsor m ust persuasively support
uncertainty into the risk/benefit                             in th e p u b li c in te re s t to m ak e p ro m is in g           the reasonableness of the proposed
assessm ent, because clinical benefit is                      n e w tre atm e n ts av ail ab le at th e e arl ie s t             surrogate as a predictor and show how
not m easured directly and the                                p o ssib le p o in t in tim e f o r u s e in lif e-                the benefits of treatm ent w ill outweigh
quantitative relation of the effect on the                    th re ate n in g an d se rio u s ill n e ss e s, o n e             the risks. Such presentations are likely
surrogate to the clinical effect is rarely                    co m m e n t e xp re s s e d co n ce rn th at th e                 to be persuasive only when the disease
known. The expected risk/benefit                              p ro p o se d ru l e m ay le ad to th e m ark etin g               to be treated is particularly severe (so




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that co n sid e rab le risk is acce p tab l e )             se rio u s. T h e co m m e n t as k ed th at FD A                T h e co n ce rn s e xp re s s e d in th e s e an d
and/or w h e n th e su rro g ate e n d p o in t is          al so d es crib e: ( 1 ) D ise ases th at are n o t           o th e r co m m e n ts ab o u t co n sid e rin g to o
well su p p o rte d . In ad d itio n , it w il l b e        cu rre n tl y i n cl u d e d in th e cate g o ry o f          m an y ill n e s s e s e lig ib le f o r co n sid e ratio n
the sp o n so r’s cl e a r o b lig atio n to re s o l v e   “ s e rio u s ,” ( 2 ) e xam p l e s o f d is e ase s th at   u n d e r th e acce l e rate d ap p ro v al
any d ou b ts as to cl i n ical v al u e b y                are cu rre n tl y ju d g ed “ l if e - th re ate n in g ,”    p ro ce d u re s m ay arise f ro m th e
carrying o u t d ef in itiv e stu d ies.                    an d (3 ) e xam p l e s o f d is e ase s th at are n o t      u n d e rly in g f e ar th at re l ian ce o n
  FD A d o e s n o t ag re e th at i t w o u l d b e        cu rre n tl y i n cl u d e d in th e cate g o ry “ lif e-     su rro g ate e n d p o in ts w il l b e co m e
more ap p ro p riate to seek an am e n d m e n t            th re ate n in g .”
                                                                                                                          ro u ti n e , th e “ n o rm al ” w ay d ru g s are
to the act th an to ad o p t th e p ro p o se d                 O n e co m m e n t co n te n d e d th at th e
                                                                                                                          b ro u g h t to th e m a rk e t T h is f ear is
req uirem ents. A s d is cu s s e d in th e                 state m e n t in th e p re am b le th at
                                                                                                                          g ro u n d le s s. T h e v as t m aj o rity o f d ru g s
preamble to th e p ro p o se d ru l e 85 w e ll as          “ se rio u sn e ss o f a d is e ase is a m atte r o f
                                                                                                                          are d ire cte d at s y m p to m atic o r s h o rt­
elsew here in th is p re am b l e to th e f inal            ju d g m e n t, b u t g e n e rally is b ase d o n its
                                                                                                                          te rm co n d itio n s (p ain , h e art f ailu re,
rule, existin g p ro v is io n s o f th e a ct an d         im p act o n su ch f acto rs as su rv iv al , d ay -
the PH S A ct au th o riz e p ro m u lg atio n o f                                                                        acu te in f e ctio n s , g astro in te s tin al
                                                            to - d ay f u n ctio n in g , o r th e lik el ih o o d
the req u irem en ts in th e f in al                                                                                      co m p l ain ts ) w h o s e re s p o n s e to d ru g s , if
                                                            th at th e d is eas e, i f lef t u n tre ate d , w ill
regulations.                                                                                                              it o ccu rs , is re ad il y m e as u re d an d w h e re
                                                            p ro g ress f ro m a le ss se v ere co n d itio n to
  3. O ne co m m e n t e xp re s s e d co n ce rn           a m o re se rio u s o n e ” to o n arro w l y l im its        th e re is n o n e e d to co n s id e r o r acce p t
that b ecau se th e p ro p o se d ru l e w o u l d          d is eas es co v e re d b y th e p ro p o se d ru l e         su rro g ate e n d p o in ts . S u rro g ate s, w ith
establish co n d itio n s o n a d ru g ’s                   (5 7 F R 1 3 2 3 4 at 1 3 2 3 5 ). T h e co m m e n t         f ew e xce p tio n s , are o f in te re s t in th e
approval, th ird - p arty p ay o rs m ay                    arg u ed th at so m e “ le ss se v e re ” d is e ase s,       f o llo w in g situ atio n s : ( 1 ) W h e re th e
decline re im b u rs e m e n t b e cau s e th e so -        e v e n i f tre ate d , m ay p ro g ress to a m o re          cl in ical b en ef it, i f th e re is o n e , is lik ely
called ap p ro v al w o u l d h av e attrib u tes o f       se rio u s state , an d th at th e s e d is ease s            to b e w e ll in th e f u tu re; an d ( 2 ) w h e re
investigational statu s.                                    sh o u ld al so b e co v e re d b y th e ru le . O n          th e im p l icatio n s o f th e ef f ect o n th e
  The ag en cy e xp e cts th at, b e cau s e                th e o th e r h an d , tw o co m m e n ts arg u ed            su rro g ate are g re at b e cau s e th e d is eas e
drugs ap p ro v ed u n d e r th e acce l e rate d           th at th e lang u ag e in th e p re am b le th at             h as n o tre atm e n t at al l o r th e d ru g seem s
approval p ro ce s s m e e t th e statu to ry               cl as sif ie s d is ease s as “ se rio u s ” w as             to tre at p e o p l e w ith n o al te rn ativ e (e.g .,
standards f or saf ety an d e f f e ctiv e n e ss,          o v e rl y b ro ad an d su b jectiv e an d f ar to o          b e cau s e th e y can n o t to l e rate th e u su al
they w ou ld b e el ig ib le f o r                          larg e a n u m b er o f ill n e ss e s co u l d b e           ef f ectiv e tre atm e n t). In th e f irst cas e ,
reim b ursem ent u n d e r S tate M e d icaid               e l ig ib le as b ein g “ s e rio u s .”                      g reat care is n e e d e d , an d w o u l d b e
programs o r o th e r th ird - p arty p lan s.                   FD A d is cu s se d th e m ean in g o f th e             g iv en , as th e re w o u l d g en erally b e n o
Drug p ro d u cts g ran te d acce l e rate d                te rm s “ se rio u s ” an d “ f if e- th reaten in g ”        e xp e rie n ce f ink ing an ef f e ct o n th e
approval w il l n o t b e , u n d e r th e l aw ,           in its f in al ru l e s o n “ tre atm e n t IN D ’s ”         su rro g ate to cl i n ical s u cce s s , an d th ere
investigational, as su g g e ste d b y th e                 (5 2 FR 1 9 4 6 6 at 1 9 4 6 7 , M ay 2 2 , 1 9 8 7 )         h av e b e en co n s p icu o u s e xam p l e s o f lack
comment.                                                    an d “ su b p art E ” p ro ce d u re s (5 4 FR                o f lin k ag e (C A S T , re f e rred to ab o v e ;
  4. O ne co m m e n t ask ed i f al l d ru g s             4 1 5 1 6 at 4 1 5 1 8 - 4 1 5 1 9 , O cto b er 2 1 ,         d ru g s th at in cre as e card iac o u tp u t in
considered f o r acce l e rate d ap p ro v al               1 9 8 8 ). T h e u s e o f th e s e te rm s in th is          p atie n ts w ith h e art f ailu re b u t th at
must b e re v ie w e d b y an ad v iso ry                   ru l e is th e sam e as FD A d ef in ed an d                  d e cre as e su rv iv al ; im p e rf e ct ag reem en t
com m ittee. T h e co m m e n t state d th at               u se d th e te rm s in th o se ru lem ak in g s. It           o f ef f e cts o n co ro n ary arte ry p ate n cy
because ad v iso ry co m m itte e s m e e t                 w o u l d b e v irtu all y im p o s sib le to n am e
                                                                                                                          an d ef f e cts o n su rv iv al in p atien ts w ith
infrequently, w aitin g f o r th e n e xt                   e v e ry “ se rio u s ” an d “ l if e- th reaten in g ”
                                                                                                                          m y o card ial in f arctio n ; l ack o f b en ef icial
meeting m ay s l o w d o w n th e ap p ro v al              d is e ase th at w o u l d b e w ith in th e sco p e
                                                                                                                          ef f e ct o n b o n e f ractu re rate d e sp ite
process.                                                    o f th is ru le. In FD A ’s e xp e rie n ce w ith
                                                                                                                          f av o rab l e ef f ects o n b o n e d e n sity in
  FDA is n o t re q u ire d to co n s u l t w ith           “ tre atm e n t IN D ’s ” an d d ru g s co v e re d b y
                                                                                                                          p atie n ts w ith o ste o p o ro s is ). FD A an d
an ad visory co m m itte e b ef o re ap p ro v in g         th e “ su b p art E ” p ro ce d u re s th e re h av e
                                                                                                                          o u tsid e e xp e rts w il l b e aw are o f th ese
an ap p licatio n u n d e r th e s e acce l e rate d        n o t b een p ro b l em s in d e term in in g
                                                                                                                          e xam p l e s as p ro p o se d su rro g ates are
approval re g u latio n s, o r an y o th e r                w h ich d is e ase s f all w ith in th e m e an in g
                                                                                                                          co n s id e re d . T h e im p li catio n s are
regulation. H o w e v e r, FD A in te n d s to              o f th e te rm s “ se rio u s ” an d “ lif e-
                                                                                                                          e s p e cial l y g re at w h e n co n sid e rin g
consult the ap p ro p riate co m m itte e in                th re ate n in g ,” an d FD A w o u l d e xp e ct n o
                                                                                                                          p ro p h y l actic th e rap y , i.e ., tre atm e n ts to
most in s tan ces. A d v is o ry co m m itte e              p ro b l em s u n d e r th is acce l e rate d
                                                                                                                          p re v e n t ch ro n ic il l n e ss (co ro n ary artery
meetings can u s u al l y b e sch e d u l e d to            ap p ro v al p ro g ram . T h e lik elih o o d o f
avoid sig n if ican t d e lay s in th e re v ie w           p ro g ressio n to a serio u s co n d itio n w ith            d is e ase , can ce r), in an ess e n tial ly w ell
process. T h e ag e n cy w il l co n s id e r an y          av ail ab le tre atm e n ts w o u l d al so b e               p o p u l atio n . In th e s e co n d cas e , ¿here
request b y an ap p l ican t f o r re f e rral o f          co n sid e re d in ass ess in g w h e th e r th e             w il l g en erall y h av e b een e xp e rie n ce
me ap p licatio n to an ad v iso ry                         d is e ase is w ith in th e s co p e o f th e f inal          (w ith th e s tan d ard th e rap y ) to ev al u ate
committee.                                                  ru le . T h e p ream b le to th e p ro p o se d ru l e        in co n s id e rin g lin k ag e o f th e su rro g ate
                                                            (5 7 FR 1 3 2 3 4 at 1 3 2 3 5 ) re f e rred to               to b en ef it; th is w as , f o r e xam p l e , th e
  S cope
                                                            ch ro n ic ill n e ss e s th at are g en erally w ell         cas e w ith d id an o sin e , w h e re e v id e n ce
  5. Fo u r co m m e n ts ask ed f or f u rth er            m an ag ed b y av ail ab le th e rap y , b u t can            f ro m z id o v u d in e s tu d ie s o f th e
clarification o f w h at d is e as e s are                  h av e se rio u s o u tco m e s f o r ce rtain                re l atio n s h ip o f an ef f e ct o n C D 4
covered b y th e ru l e . O n e co m m e n t                p o p u l atio n s o r in so m e o r al l o f th e ir         l y m p h o cy te s an d cl i n ical o u tco m e
plated th at th e te rm s “ s e rio u s ,” an d             p h ase s . A p p l ican ts are e n co u rag e d to           co u l d b e ass e ss e d . S im il arl y , th e re is
 h fe- threatening, ” are d ef in ed in th e                co n s u l t w ith FD A *8 rev ie w in g d iv isio n s        co n sid e rab l e e xp e rie n ce to sh o w th at
proposal b y re f e re n ce to 2 1 C FR 3 1 2 .3 4 ,        e arl y in th e d ru g d e v e l o p m e n t p ro ce s s      d u rab le co m p l e te re s p o n s e s in m an y
ollowed b y a b rie f s tate m e n t e xp lain in g         i f th e y h av e q u e stio n s ab o u t w h e th e r        can ce rs co rre s p o n d to im p ro v ed
me role o f j u d g m en t an d e xam p l e s o f           th e ir s p e cif ic p ro d u ct is w ith in th e             su rv iv al , so th at an ag en t in d u cin g th em
 iseases th at are cu rre n tl y ju d g ed to b e           s co p e o f th is ru le .                                    in re f racto ry ill n e s s o r in p rim ary




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d is e ase th at h ad p re v io u s l y b e e n p o o rl y      th at can b en ef it f ro m e xp e d ite d                   ap p ro v al re g u latio n s w il l ap p ly .
re s p o n siv e w o u l d g e n e rall y b e se e n as         ap p ro v al , th e n e e d s o f th e p atien ts            S e ctio n s 3 1 4 . 5 0 0 an d 6 0 1 .4 0 describe
re as o n ab ly l ik el y to p ro v id e a cl in ical           sh o u ld d e te rm in e th e p ro ce d u re s u se d        as p e cts o f th e s co p e o f th e s e regulations,
b en ef it.                                                     to ap p ro v e th e d ru g . O n e co m m e n t              M o re o v e r, th e s e re g u latio n s are
   6 . O n e co m m e n t s tate d th at e p il e p sy          co n te n d e d th at ap p l ican ts o f p ro d u cts        in te n d e d to ap p l y to ap p licatio n s based
is a se rio u s an d l if e- th reaten in g                     co n s id e re d can d id ate s f o r acce l e rate d        o n su rro g ate e n d p o in ts w h o se validity is
co n d itio n an d ask ed th at it b e in cl u d e d            ap p ro v al m ay h av e th e ir d ru g o r                  n o t f u lly e stab l is h e d , to ap p lication s
w ith in th e s co p e o f th e p ro p o sal . T h e            b io l o g ical p ro d u ct “ f o rce d ” in to th e         b ase d o n cl i n ical e n d p o in ts th at leave
p re am b le cite d , am o n g o th e r il l n e ss e s,        acce l e rate d ap p ro v al p ro ce s s an d b e            u n an s w e re d m aj o r q u estio n s ab out the
d e p re ss io n an d p s y ch o s e s as e xam p l e s         f o rce d to co n d u ct a p ro g ram o f s tu d ie s        p ro d u ct’s e f f e ct o n u ltim ate outcom e,
o f ch ro n ic il l n e s s e s th at can h av e                to su b stan tiate th at su rro g ate m id p o in ts         an d to ap p l icatio n s f o r p ro d u cts whose
se rio u s o u tco m e s e v e n i f th e y are                 actu al l y p re d ict sig n if ican t cl in ical            saf e an d e f f e ctiv e u s e re q u ires
g e n e rall y w e l l m an ag ed . O n e co m m e n t          b en ef its.                       -                         l im itatio n s o n d istrib u tio n o r use. In all
as s e rte d th at n e ith e r d e p re s s io n n o r              T h e m e d ical re v ie w in g d iv isio n s            o th e r s itu atio n s , acce l e rate d approval
p s y ch o s is is a d is e ase , n o r is e ith e r o n e      w ith in FD A ’s C en te r f o r D ru g                      re q u ire m e n ts w il l n o t ap p ly .
se rio u s o r l if e- th reaten in g . T h e                   Ev al u ati o n an d R e se arch (O D ER) an d                  W h e re ap p ro v al is b ase d o n a
co m m e n t s tate d th at d e p re ss io n an d               C e n te r f o r B io lo g ie s Ev al u ati o n an d         su rro g ate e n d p o in t th at is accep ted as
p s y ch o s is are d iag n o s es . T h e co m m e n t         R e se arch (C BER ) w il l d e te rm in e th e              v al id ate d to p re d ict o r co rrelate w ith
u rg ed th e ag e n cy to re m o v e th e m f ro m              ty p e o f re g u lato ry re v ie w th at FD A m ay          cl i n ical b e n e f it, th e p ro d u ct w ill be
th e d ef in itio n o f lif e - th re ate n in g                ap p l y to an ap p l icatio n . FD A                        co n s id e re d u n d e r th e trad itio n al
“ il l n e s s e s ” o r " d i s e a s e s .”                   e n co u rag e s sp o n so rs to m e e t w ith FD A          p ro ce s s , an d th e p o stm ark etin g
   W ith re s p e ct to e p il e p s y , FD A n o te s          e arl y in th e d ru g d e v e l o p m e n t p ro ce s s     re q u ire m e n ts u n d e r acce l e rate d
th at in th e “ tre atm e n t IN D ” f in al ru le              to d is cu s s th e ap p licab ility o f th e                ap p ro v al w il l n o t ap p ly . A p p ro vals of
(5 2 F R 1 9 4 8 6 at 1 9 4 6 7 , M ay 2 2 , 1 9 8 7 ) ,        acce l e rate d ap p ro v al p ro g ram to th e ir           p ro d u cts f o r se rio u s o r life-threatening
th e ag e n cy l is te d “ ce rtain f o rm s o f                p ro d u ct; h o w e v e r, FD A re s e rv e s th e          ill n e s s e s b ase d o n cl in ical end p oints
e p il e p s y ” as an e xam p l e o f a d is e as e o r        d is cre tio n to d e te rm in e w h e th e r th e s e       o th e r th an su rv iv al o r irrev ersib le
stag e o f d is e as e th at w o u l d n o rm al l y b e        p ro ce d u re s are ap p licab l e to a sp e cif ic         m o rb id ity w il l u s u al l y al so b e
co n s id e re d “ s e rio u s .” C ertain f o rm s o f         p ro d u ct.                                                 co n s id e re d u n d e r trad itio n al
e p il e p sy m ay al s o b e co n s id e re d                     W ith re s p e ct to th e p re am b le                    p ro ce d u re s . A p p ro v al s b ased on such
“ se rio u s ” u n d e r th e acce l e rate d                   s tate m e n t cite d b y o n e co m m e n t, th e           cl i n ical e n d p o in ts w il l b e considered
ap p ro v al p ro g ram . It i s u n lik e ly ,                 co m m e n t m isre ad s th e p re am b le                   u n d e r th e acce l e rate d ap p ro v al
h o w e v e r, th at a s u rro g ate e n d p o in t             state m e n t, w h ich d o e s n o t say th at FD A          re g u latio n s o n l y w h e n it is essential to
w o u l d b e u til iz e d in s u ch a cas e , as               w il l , in al l cas e s , ap p l y FD A ’s                  d e te rm in e e f f e cts o n su rv iv al o r
se iz u re f re q u e n cy , a cl i n ical e n d p o in t, is   trad itio n al ap p ro v al m e ch an is m s rath e r        irre v e rsib le m o rb id ity in o rd er to
re ad il y m e as u re d .                                      th an th is acce l e rate d p ro ce s s f o r d ru g s       co n f irm th e f av o rab l e risk /b en ef it
   FD A ’s re f e re n ce to d e p re ss io n an d              w h e re a m aj o rity o f th e d ru g ’s                    j u d g m e n t th at le d to ap p ro v al.
p s y ch o s e s w as in te n d e d to g iv e                   f o reseeab le u se s are o u tsid e th e s co p e o f       A p p l icatio n s f o r p ro d u cts f or serious or
e xam p l e s o f co n d itio n s o r d is e as e s th at       “ l if e - th re ate n in g ” d is e ase s w ith o u t       lif e - th re ate n in g ill n e ss e s th at provide a
can b e se rio u s f o r ce rtain p o p u l atio n s o r        m e an in g f u l th e rap e u tic b en ef it o v e r        m e an in g f u l th e rap e u tic b en ef it over
in so m e o r al l o f th e ir p h ase s . W h il e             e xistin g th e rap y . T h e state m e n t m e re l y       e xis tin g th e rap y w il l re ce iv e a priority
d ru g s f o r th e tre atm e n t o f d e p re ss io n          in f o rm s ap p l ican ts th at FD A w il l                 ratin g an d e xp e d ite d rev iew , even when
an d p s y ch o s is w o u l d b e e xam p l e s o f            co n s id e r th e p o s sib le im p act o f                 n o t co n s id e re d u n d e r th e accelerated
th o s e th at co u l d b e co v e re d b y th e                w id e s p re ad u s e o f a d ru g f o r u s e s o th e r   ap p ro v al p ro ce d u re s.
acce l e rate d ap p ro v al p ro g ram , it is n o t           th an th e o n e su p p o rtin g acce l e rate d               T h e ag e n cy al so w is h e s to clarify that
th e u s e o f su rro g ate e n d p o in ts th at               ap p ro v al ; d ru g s ap p ro v e d u n d e r th is        w h e n e v e r an ap p l icatio n is approved
w o u l d b e e xp e cte d ; th e s y m p to m s an d           p ro g ram w o u l d o f ten h av e o n l y sm all           u n d e r § 3 1 4 .5 1 0 o r § 6 0 1 .4 1 ,
sig n s o f th e s e d is e as e s are re ad il y               saf ety d ata b ase s so th at w id e s p re ad off-         p o stm ark e tin g s tu d ie s con firm ing the
stu d ie d . O n th e o th e r h an d , s o m e o f             lab el u s e m ig h t h av e se rio u s                      p ro d u ct’s cl i n ical b en ef it w ill thus be
th e s e d ru g s h av e b e e n q u ite to x i c (e .g .,      im p l icatio n s . T h e ag e n cy d o e s n o t            re q u ire d . T h e re f o re , in o rd er to
cl o z ap in e f o r re f racto ry p s y ch o s e s ) an d      b e lie v e th at s u ch a s itu atio n w o u l d            e l im in ate p o te n tial co n f u sio n , the
m ig h t b e co n s id e re d f o r ap p ro v al w ith          re g u larl y l e ad to e xcl u s io n f ro m th e s e       ag e n cy h as am e n d e d § § 3 1 4 .5 1 0 and
re s trictio n s to e n s u re saf e u se .                     p ro v isio n s .                                            6 0 1 .4 1 to cl arif y th e s e p o in ts.
   7 . T w o co m m e n ts ask e d h o w FD A                      FD A d o e s n o t ag ree th at ap p l ican ts               FD A al s o re co g n iz e s th at o ver tim e a
w il l d e cid e th at a d ru g is el ig ib le f or             seek in g ap p ro v al to m ark et d ru g an d               p articu l ar su rro g ate , o n ce accep tab le as
acce l e rate d ap p ro v al . O n e co m m e n t               b io l o g ical p ro d u cts th at w o u l d b e             a b asis f o r ap p ro v al o n ly u n d er the
ass e rte d th at th e d e cis io n sh o u ld b e an            can d id ate s f o r acce l e rate d ap p ro v al w il l     a cce l e rate d ap p ro v al reg ulatio ns, could
o p tio n f o r th e ap p l ican t to co n s id e r, n o t      b e f o rce d to u s e th e acce l e rate d                  b e co m e re co g n iz e d as v alid ated by
a d e cis io n f o r FD A to m ak e U n ilateral ly .           ap p ro v al m e ch an is m . It is tru e ,                  d e f in itiv e s tu d ie s (ju st as h igh blood
Po in tin g to a state m e n t in th e p re am b l e            h o w e v e r, th at s o m e p ro p o se d su rro g ate      p re s s u re , f o r e xam p l e , o v er tim e became
(5 7 FR 1 3 2 3 4 at 1 3 2 3 5 ) th at FD A                     e n d p o in ts w o u l d n o t b e co n s id e re d         v al id ate d as a su rro g ate w ith clinical
re s e rv e s th e rig h t n o t to ap p l y                    acce p tab l e b ase s f o r ap p ro v al w ith o u t        si g n if ican ce ). In s u ch cas e s, a future
acce l e rate d ap p ro v al p ro ce d u re s w h e n it        as s u ran ce th at th e cl i n ical s tu d ie s to          ap p l icatio n re l y in g o n su ch a surrogate
b e lie v e s in g o o d f aith th at th e d ru g ’s            sh o w cl i n ical b en ef it w il l b e co n d u cte d .    w o u l d n o t re q u ire p ostm ark etin g studies
f o reseeab le u s e is re as o n ab ly l ik el y to b e        A s p o n s o r th at w is h e s th s ap p l icatio n to     co n f irm in g th e su rro g ate 's clinical
o u tsid e th e s co p e o f “ lif e - th re ate n in g         b e co n s id e re d u n d e r th e trad itio n al           b e n e f it an d th e ap p licatio n w ould be
d is e ase s w ith o u t m ean in g f u l th e rap e u tic      ap p ro v al p ro ce s s m ay re q u e st an d                co n s id e re d u n d e r trad itio n al
b en ef it o v e r e xis tin g th e rap y ,” th e               re ce iv e s u ch co n s id e ratio n .                       p ro ce d u re s .
co m m e n ts arg u ed th at, i f th e re are                      T h e ag e n cy w is h e s to cl arif y th e                  8.      T w o co m m e n ts ask ed for
p atie n ts w ith l if e - th re ate n in g co n d itio n s     circu m s tan ce s in w h ich th e acce l e rate d            cl arif icatio n o f th e p h rase “ meaningful




                                                                                                                                                    EX. 22 pg.05
                   F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9     /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2      /   R u l e s a n d R e g u l a tio n s        58947
              Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22                                                                Page 7 of 20 PageID 495
    therap eu tic b en ef it o v e r e xistin g                co n s id e re d as a m ean in g f u l b en ef it an d           l ack o f re g re ss io n o f th e su rro g ate
    therap y ” as u s e d in th e d e s crip tio n o f         w ith in th e sco p e o f th e p ro p o sal .                    e n d p o in t sh o u ld b e co m m o n l y
    w hat d ru gs th e acce l e rate d ap p ro v al               A ch an g e i n th e ro u te o f                              as s o ciate d w ith a l ack o f cl in ical
j   program sh o u ld ap p l y to . S p e cif ical l y ,       ad m in is tratio n m ay b e a can d id ate f o r                im p ro v e m e n t; an d ( 6 ) th e in cid e n ce o f
    pointing to an e xam p l e d e scrib e d in th e           acce l e rate d ap p ro v al d ep en d in g u p o n              re g re ss io n o r im p ro v e m e n t in th e
    pream b le th at a n e w th e rap y w o u l d b e          th e p articu l ar e v id e n ce p re se n ted .                 su rro g ate e n d p o in t sh o u ld b e
    eligible f or acce l e rate d ap p ro v al i f th e re        10 . O n e co m m e n t as k ed i f su b p art E              sig n if ican tly g re ate r in tre ate d th an
    w as “ a cl e ar im p ro v e m e n t” o v e r              d ru g s cu rre n tl y tin d e r in v e stig atio n w il l       u n tre ate d p atien ts.
    existing th e rap y in b ein g m o re ef f e ctiv e        b e co n s id e re d f o r acce l e rate d ap p ro v al .           O n e co m m e n t ask ed i f th e u se o f
    or b etter to l e rate d , o n e co m m e n t u rg ed      T h e co m m e n t ass u m e d th at n e w d ru g                m icro al b u m in u ria d ata is a su rro g ate f or
    FD A to cl arif y th e m e an in g o f “ cl e ar           ap p l icatio n s (N D A ’s) an d su p p l e m e n tal           d iab e tic n e p h ro p ath y an d i f al l d ru g s
    im p rov em en t” to d is co u rag e ap p l ican ts        N D A ’s co n sid e re d f o r acce l e rate d                   rel y in g o n su rro g ate e n d p o in ts w o u l d b e
    of “ m e- to o ” p ro d u cts f ro m w astin g th e        ap p ro v al w il l h av e th e h ig h est p rio rity           elig ib l e f o r acce l e rate d ap p ro v al , e .g ., an
    agency’s tim e an d re s o u rce s b y ap p ly in g        f o r re v ie w .                                               an g io te n sin re ce p to r an tag o n ist w ith
    for acce l e rate d ap p ro v al o f s u ch                    S u b p art E d ru g s w il l b e co n s id e re d f or     p o te n tial u til ity f o r tre atm e n t o f
    products. T h e co m m e n t al so ask ed th at            acce l e rate d ap p ro v al i f th e y satisf y b o th         co n g e s tiv e h e art f ailu re. T h e co m m e n t
    FD A sp ecif y th at i f a n e w d ru g is                 el ig ib ility crite ria f o r acce l e rate d                  al s o ask ed w h at w o u l d h ap p e n i f
    approved u n d e r th e acce l e rate d                    ap p ro v al , i.e ., i f th e y are b ein g                    p o stm ark etin g stu d ie s d e m o n strate
    approval p ro v is io n s b e cau s e th e d ru g          d e v e l o p e d f o r th e tre atm e n t o f serio u s o r    b e n e f icial ch an g e s o f su rro g ate
    exhibits a “ cl e ar i m p ro v e m e n t” o v e r an      l if e- th reaten in g ill n e ss e s an d th e                 e n d p o in ts b u t n o t b e n e f icial c lin ic al
    existing d ru g th at w as al so g ran ted                 p ro d u cts w ill p ro v id e m eaning ful
                                                                                                                               e n d p o in ts . T h e co m m e n t al s o ask ed if
    accelerated ap p ro v al , th e n s p e cif ic             th e rap e u tic b en ef its to p atien ts o v e r              FD A w il l co n s id e r p u b lish in g
    restrictions w il l b e p l ace d o n th e p rio r         e xistin g tre atm e n t. A s d is cu s se d ab ov e,           g u id e lin e s o n w h ich su rro g ate
    approved d ru g to l im it its u s e o n l y to            ap p l ican ts sh o u ld co n s u l t w ith FD A                e n d p o in ts w o u l d b e ap p ro p riate for th e
    patients w h o can n o t to l e rate th e n e w            e arl y in th e d ev e l o p m e n t p ro ce s s to             d is e ase s th at m ay b e af f e cted b y th e
    drug, o r w h o se p h y s ician s ass e ss th at a        d ete rm in e th e n atu re o f th e reg u lato ry              p ro p o se d ru l e . A n o th e r co m m e n t
    change to th e n e w d ru g m ig h t in v o lv e          re v ie w . Earl y co n su l tatio n s are a critical            e xp re s s e d th e b e l ie f th at th e re is n o
    significant risk s to th e p atie n t th at               p art o f su b p art E p ro ce d u re s. D rugs                  e v id e n ce th at su rro g ate en d p o in ts are
                                                              b ein g re v ie w e d u n d e r acce l e rate d                  n e ce s s aril y g o o d in d icato rs o f
    outw eigh th e b en ef its. O n e co m m e n t
    asked th at th e te rm “ m ean in g f u l                 ap p ro v al p ro ce d u re s w ill re ce iv e h ig h            th e rap e u tic b en ef it. T h e co m m e n t stated
                                                              p rio rity rev iew . H o w ev e r, ap p licatio n s              th at a d ru g m ay h av e an ef f ect o n a
    therap eutic b en ef it o v e r e xistin g
                                                              f o r d ru g s f o r acq u ire d                                 su rro g ate e n d p o in t, b u t w il l n o t m ak e
    therapy” b e in te rp re te d an d co n s is te n tl y
                                                              im m u n o d e f icie n cy sy n d ro m e (A ID S)                an y cl in ical d if f e re n ce b e cau s e th e
    applied to b o th d ru g s an d b io l o g ical
    products.                                                 an d h u m an im m u n o d e f icie n cy v iru s                 ad v an ce d stag e o f th e p atie n t’s d is ease
                                                              (H IV J- related co n d itio n s w il l re ce iv e th e          p re cl u d e s an y e f f e ctiv e th e rap y o r th e
      FD A b e lie v es th at th e e xam p l e s g iv en
                                                              h ig h est p rio rity rev iew .                                  su rro g ate m ark er is n o t s y n ch ro n o u s
    to help clarif y th e p h ras e “ m e an in g f u l
    therap eutic b e n e f it o v e r e xistin g              C . C r it e r ia f o r A p p r o v a l                          w ith th e p atie n t’s cl in ical co n d itio n .
    therapy” (ab il ity to tre at u n re sp o n siv e                                                                             A n o th e r co m m e n t ass e rte d th at th e
                                                                 1 1 . T w o co m m e n ts e xp re ss e d co n ce rn           re q u irem en t to b ase an ap p ro v al o n a
    or in to leran t p atie n ts o r im p ro v e d            th at th e p ro p o sal d id n o t p ro v id e
                                                                                                                               su rro g ate e n d p o in t th at is “ re aso n ab ly
    response co m p are d to av ail ab le th erap y )         en o u g h d etail o n w h at co n stitu te s an
                                                                                                                               lik e ly , b ased o n e p id e m io lo g ic,
    are read ily u n d e rs to o d ill u stratio n s o f      ap p ro p riate su rro g ate e n d p o in t. O ne
                                                                                                                               th e rap e u tic, p ath o p h y s io lo g ic, o r o th e r
    the inten t o f th e re q u ire m e n t. A d ru g         co m m e n t re co m m e n d e d th at FD A ad o p t
                                                                                                                               e v id e n ce , to p re d ict cl in ical b en ef it
    that is es sen tial ly th e sam e as av ail ab le         sp e cif ic crite ria f o r w h at co n stitu te s an
                                                                                                                               o th e r th an s u rv iv al o r irrev ersib le
    treatm ent (w h at th e co m m e n t re f e rs to         ap p ro p riate su rro g ate e n d p o in t. T h e
                                                                                                                               m o rb id ity ” is n o t re s trictiv e en o u g h to
    as a “ m e to o ” d ru g ) w il l n o t h av e a
                                                              co m m e n t su g g este d th at su ch crite ria                 assu re ad eq u ate co n s u m e r p ro te ctio n .
    credib le cl aim to a m ean in g f u l                    sh o u ld in cl u d e : ( 1 ) T h e su rro g ate                 T e rm s lik e “ re aso n ab ly l ik e l y ” an d “ or
    therap eutic b en ef it o v e r th at e xistin g          en d p o in t m u st b e b io l o g icall y p lau sib le         o th e r e v id e n ce ” al lo w d ru g
    treatm ent an d th is sh o u ld b e e asil y              in th at it m u st b e co n siste n t w ith w h at
    detected.                                                                                                                  m an u f actu re rs to o m u ch latitu d e for
                                                              is k n o w n ab o u t th e p ath o p h y sio lo g y              cl aim in g th at th e re is a co rre l atio n
      W ith re s p e ct to re s trictin g u s e o f a         an d p ath o g e n e sis o f th e d is e ase ; ( 2 ) th e        b etw een su rro g ate e n d p o in ts af f ecte d b y
    drug p re v io u sl y ap p ro v e d u n d e r             su rro g ate e n d p o in t m u st b e p re se n t o r           th e ir d ru g s an d cl i n ical en d p o in ts . T h e
    accelerated ap p ro v al p ro ce d u re s w h e n a       ab n o rm al in a larg e p e rce n tag e o f p eo p le           co m m en t arg u ed th at u n til a co rre l atio n
    new d rug g ran te d acce l e rate d ap p ro v al         w h o h av e th e d is e ase ; (3) th e su rro g ate             b etw een a su rro g ate e n d p o in t an d a
    is a cl ear im p ro v e m e n t o v e r th e p rio r      e n d p o in t m u st b e a g o o d p re d icto r o f            cl in ical e n d p o in t h as b e en estab lis h e d ,
    approved d ru g , th is w o u l d rare l y b e            th e d is e ase p ro g ressio n an d sh o u ld                   a p articu l ar su rro g ate e n d p o in t sh o u ld
    app rop riate. A l th o u g h , in so m e                 co rre l ate cl o s e l y w ith th e sig n if ican t             o n l y b e u se d to ap p ro v e su b seq u en t
    instances, ce rtain th e rap ie s are                     cl i n ical e n d p o in t; (4 ) th e re sh o u ld b e a         d ru g s, w ith o u t ad e q u ate cl in ical
    identified as “ s e co n d - l in e ,” th is              co rre l atio n b e tw e e n th e q u an titativ e               e v id e n ce , if th e re is a v e ry stro n g ef f ect
    requires ess e n tial ly u n e q u iv o cal               as p e ct o f th e su rro g ate e n d p o in t an d th e         o f th e d ru g o n th e su rro g ate m ark er o r,
    evid ence o f an ad v an tag e o f al te rn ativ e        p ro g re ssio n o f th e d is e ase (e.g ., th e m o re         if th e ef f e ct is n o t su f f icie n tly stro n g ,
    tnerapy, n o t l ik el y o n th e b asis o f a            se v e re th e d is e ase , th e m o re d e v ian t th e         th e re is an ad d itio n al su rro g ate m ark er
    surrogate e n d p o in t. Lab elin g f o r b o th         su rro g ate e n d p o in t f ro m n o rm al); (5 ) th e         w h ich co rro b o rate s th e re s u l ts o f th e
    drugs w ill b e a ccu rate , h o w e v e r,
                                                              re g re ss io n o f th e su rro g ate e n d p o in t             f irst.
    allow ing p h y s ician s to p re s crib e b o th         sh o u ld b e sig n if ican tly ass o ciate d w ith                  FD A in te n d s to p u b lish in f o rm al
      e n ew ly ap p ro v e d d ru g an d th e p rio r        cl i n ical im p ro v e m e n t (e .g ., th o se w ith           g u id an ce co n ce rn in g su rro g ate
    drug p ro p erly .
                                                              th e g re ate st im p ro v e m e n t in th e                     e n d p o in ts , b u t d o e s n o t b elie v e sp e cif ic
      9. O ne co m m e n t ask e d i f a ch an g e in         su rro g ate e n d p o in t sh o u ld al so sh o w th e          re q u ire m e n ts f o r an ap p ro p riate
    uie ro ute o f ad m in is tratio n w o u l d b e          g re ate st cl i n ical ef f e cts ); co n v e rs e l y , th e   su rro g ate sh o u ld b e sp e cif ie d b y




                                                                                                                                                            EX. 22 pg.06
58948           F e d e ra l R e g is te r /       V o l. 5 7 , N o . 2 3 9    /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2       /   R u l e s a n d R e g u l a tio n s
         Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22                                                                  Page 8 of 20 PageID 496
reg u latio n . A n y g iv en sp e cif icatio n s               n o t b e p e rf e ct: B l o o d p re ss u re l o w erin g      p ro p e r as s e s s m e n t o f b en ef it, and valid
m ay n o t b e ap p l icab l e to a p articu l ar               h as b een a b e tte r p re d icto r o f ef f ect o n           w eig h in g o f its re l atio n to risk , is
cas e . Fo r e xam p l e , th e th o u g h tf u l               stro k e th an o n co ro n ary arte ry d is e ase ,             e s p e cial l y critical .
su g g e ste d crite ria s u p p l ie d b y th e                ch o l e s te ro l lo w erin g h as h ad a cl e are r               1 3 . O n e co m m e n t ask ed th at FD A
co m m e n t w o u l d rare l y , i f e v e r, b e              ef f ect o n co ro n ary arte ry d is e ase th an o n           cl arif y th at o n e stu d y co u l d b e the basis
ap p licab l e to th e f irst ef f e ctiv e d ru g f or         su rv iv al . M o re o v er, a su rro g ate m ay b e            o f ap p ro v al an d th at o n e postm arketing
a d is e ase , b e cau s e crite rio n 5 re q u ires            p e rsu as iv e f o r a p h ase o f d is e ase w ith            s tu d y s h o u l d b e al l th at is n eed ed to
th at reg re ss io n o f th e s u rro g ate e n d p o in t      s h o rt e xp e cte d su rv iv al b u t m u ch l e s s so       estab l is h th e lin k b e tw e e n th e endpoint
b e ass o ciate d q u an titativ e l y w ith                    in an e arl ie r p h ase o f th e d is ease .                   u s e d f o r ap p ro v al an d so m e relevant
cl in ical im p ro v e m e n t. If th e re h ad n e v e r       C au tio n is al w ay s ap p ro p riate in                      cl i n ical b en ef it.
b e en ef f e ctiv e tre atm e n t, th is w o u l d             e v alu atin g su rro g ate e n d p o in ts an d th e               FD A in te rp re ts th e statu te, and good
n e v e r b e k n o w n . Y e t th e su rro g ate co u l d      p articu l ar th e rap e u tic se ttin g sh o u ld              s ci e n ce , as re q u irin g at least tw o
b e p e rsu as iv e o n o th e r g ro u n d s, s u ch as        al w ay s b e co n s id e re d . T h e ag e n cy                ad e q u ate an d w e ll - co n tro l l e d studies to
a w e l l - d o cu m e n te d e tio l o g ic re l atio n . In   b e lie v e s th at th e e v alu atio n o f su rro g ate        estab l is h ef f e ctiv e n e s s. In so m e
g en eral, it is l ik el y th at o n e o r an o th e r          e n d p o in t d ata an d th e saf e g u ard s b u il t         in s tan ce s , d ru g s h av e b een ap p roved on
stro n g l y su p p o rtiv e p ie ce o f e v id e n ce          in to th e s e acce l e rate d ap p ro v al                     th e b asis o f a sin g l e w ell - co n tro lled
m ig h t o u tw e ig h g ap s in o th e r are as.               p ro ce d u re s w il l p ro v id e ad eq u ate                 s tu d y : th is h as b e en d o n e w h ere the
    In d e v e l o p in g in f o rm al g u id an ce o n         co n s u m e r p ro te ctio n .                                 stu d y w as o f e xce l l e n t d esig n , show ed
su rro g ate e n d p o in ts , FD A w il l co n s id e r            12 .       O n e co m m e n t e xp re s s e d co n ce rn.   a h ig h d eg ree o f s tatis tical significance,
th e su g g e stio n s in th is co m m e n t.                   th at if th e re is n o acce p te d su rro g ate                in v o lv e d m u l tip le stu d y ce n te rs , and
In teres ted p e rso n s w il l h av e an                       e n d p o in t, an ap p l ican t’s o n l y o p tio n is         sh o w e d so m e e v id e n ce o f intern al
o p p o rtu n ity to co m m e n t o n an y                      to co n d u ct a stu d y u sin g so m e cl in ical              re p l icab il ity , e .g ., sim il ar ef f ects in
g u id an ce d o cu m e n ts in th is are a                     e v e n t as an e n d p o in t, w h ich m ay re su l t          m aj o r stu d y su b sets. FD A encourages
d e v e l o p e d b y th e ag e n cy . In s o m e cas e s ,     in lo n g , large stu d ie s th at d e lay                      ap p l ican ts to d is cu s s w ith FD A early in
n e w o r re v is e d d ru g cl as s , o r d is e ase -         ap p ro v al to th e d etrim e n t o f p atie n ts              a d ru g ’s d e v e l o p m e n t th e b asis for the
s p e cif ic, cl i n ical g u id e lin e s m ay re f e r to     an d sp o n so rs . O n e co m m e n t su g g ested             ap p l i can t’s ch o ice o f a sp ecif ic endpoint
su rro g ate e n d p o in ts . FD A is n o t                    a s an al te rn ativ e th at FD A p e rm it                     an d , w h e re ap p li cab l e , th e b asis for its
p re p are d , at th is tim e , to co m m e n t o n             ap p ro v al o f a d ru g b ase d o n a stu d y                 b e l ie f th at a sin g l e stu d y w o u l d b e a
th e acce p tab il ity o f an e n d p o in t th at it           u sin g a cl in ical e n d p o in t, b u t acce p t a           su f f icie n t b asis f or ap p ro v al . W ith
h as n o t sp e cif ical l y co n s id e re d , e.g .,          le ss rig o ro u s stan d ard o f s tatis tical                 re s p e ct to p o s tm ark etin g stu d ies, FD A
m icro al b u m in u ria.                                       s ig n if ican ce , e .g ., 0 .2 0 o r 0 .1 5 in s te ad o f    an ticip ate s th at th e req u irem e n t w ill
   T h e f in al re g u latio n s m ak e it cl e ar             0 .0 5 . T h e co m m e n t f u rth er su g g e ste d           u s u al l y b e m e t b y stu d ies alread y
th at n o t all d ru g s su b m itte d f o r ap p ro v al       th at th e sp o n so r co u l d th e n co m p l e te            u n d e rw ay at th e tim e o f ap p ro val. A s
b ase d o n su rro g ate e n d p o in t d ata are               p o s tm ark etin g stu d ie s to e stab lis h                  state d in th e p ro p o se d ru le , the
el ig ib le f o r a cce l e rate d ap p ro v al                 statis tical s ig n if ican ce at co n v e n tio n al           re q u ire m e n t f o r an y ad d itio n al study to
(§ § 3 1 4 .5 0 0 an d 6 0 1 .4 0 ) . T h e d ru g in           l ev e ls . T h e co m m e n t arg u ed th at th is             d e m o n s trate actu al cl in ical b enefit will
                                                                                                                                n o t b e m o re strin g e n t th an th o se that
C
       'io n m u st b e f o r a se rio u s o f lif e-           al te rn ativ e is to tal l y co n s is te n t w ith
        te n in g co n d itio n an d m u st p ro v id e         FD A ’s w il lin g n e ss to acce p t g re ater                 w o u l d n o rm all y b e req u ired for
m e an in g f u l th e rap e u tic b en ef it o v e r           u n ce rtain ty in ap p ro v in g d ru g s f or                 m ark etin g ap p ro v al o f th e sam e drug for
e xistin g th e rap y . In th e cas e o f an                    se rio u s an d l if e- th re aten in g illn ess es.            th e sam e cl aim .
an g io ten sin re ce p to r an tag o n ist p o s ed               T h e in te n t o f th e ru le is to al l o w FD A              1 4 . O n e co m m e n t exp re ss ed concern
b y th e co m m e n t, th e re is e xistin g                    to u til iz e a p articu l ar k in d o f e v id e n ce ,        th at th e p re am b le to th e p ro p o sed rule
d o cu m e n te d lif e - p ro lo n g in g tre atm e n t        an ef f e ct o n a su rro g ate e n d p o in t, as a            im p lie d th at a sp o n so r o f an A ID S drug
f o r co n g e s tiv e h e art f ailu re . A n                  b as is f o r ap p ro v al , an d , w h e re                    m ig h t h av e to d o a p o stm ark etin g study
ap p l icatio n f o r a n e w ag en t, to b e                   ap p ro p riate , to en su re th at re m ain in g               to e stab lis h an ef f ect o n surv iv al after
el ig ib le f o r acce l e rate d ap p ro v al , w o u l d      d o u b ts ab o u t th e re l atio n s h ip o f th e            sh o w in g an ef f e ct o n s u ch end p oints as
h av e to sh o w p o te n ti al b en ef it o v e r              ef f ect o n th e su rro g ate to cl in ical b en ef it         w eig h t o r in cid e n ce o f o p p o rtun istic
av ail ab le th e rap y as w e l l as id en tif y a             are re s o l v e d b y ad d itio n al ad e q u ate an d         in f e ctio n ( 5 7 FR 1 3 2 3 4 at 1 3 2 3 5 - 1 3 2 3 6 ) .
re as o n ab le su rro g ate e n d p o in t. T h is is          w e l l - co n tro l l e d stu d ie s w ith cl in ical          T h e co m m e n t state d th at FD A ’s ow n
p ro b l e m atic s in ce n o acce p te d su rro g ate          en d p o in ts . T h e ru l e is n o t in te n d e d to         ad v iso ry co m m itte e in d icate d that it
en d p o in t f o r s tu d ie s to tre at co n g e s tiv e      p l ace in to th e m ark et d ru g s w ith little               w as p le as e d to see an ef f ect from a
h e art f ailu re h as b e e n id e n tif ie d to d ate.        e v id e n ce o f u se f u ln ess . A lth o u g h th e re       n u cl e o s id e an alo g u e o n th e incid ence of
Fo r e xam p l e , s o m e d ru g s w ith f av o rab le         is n o statu to ry re q u ire m e n t f or                      o p p o rtu n is tic in f e ctio n s w ith A ID S
ef f e cts o n h e m o d y n am ic m e as u re s in             sig n if ican ce te stin g o f an y p articu l ar               p atie n ts b u t d id n o t sug gest th at further
h e art f ailu re p atie n ts h av e b ee n                     v alu e , th e re are w e ll - e stab l ish e d                 w o rk sh o u ld b e d o n e to sh o w an effect
cl in ical l y in e f f e ctiv e .                              co n v e n tio n s f o r ass e ss in g statis tical             o n m o rtal ity . T h e co m m e n t argued that
    T h e re g u latio n s are cl e a r in req u irin g         s ig n if ican ce to s u p p o rt th e s tatu to ril y          in so m e cas e s d ire ct co rre latio n w ith
th at, f o r d ru g s ap p ro v e d u n d e r th e s e          re q u ire d co n cl u s io n th at th e w e ll -               cl i n ical e n d p o in ts su ch as m o rtality is
p ro v isio n s b ase d o n su rro g ate                        co n tro l l e d s tu d ie s h av e d e m o n s trate d         d if f icu lt to p ro v e an d u rg ed FD A to be
e n d p o in ts , th e p o stm ark e tin g stu d ie s           th at a d ru g w il l h av e th e e f f e ct it is              f le xib le o n th is iss u e to en co u rage
m u st sh o w cl i n ical b en ef it, n o t ju st th e          re p re s e n te d to h av e. T h e re is n o th in g           s p o n so rs to g o th ro u g h th e accelerated
p re v io u sl y sh o w n ef f e ct o n th e su rro g ate       ab o u t se rio u s o r l if e- th re aten in g                 ap p ro v al p ro ce s s .               . , ,
(§ § 3 1 4 .5 1 0 , 3 1 4 .5 3 0 , 6 0 1 .4 1 , an d            d is e ase s th at m ak e th e m u n iq u e l y                   O rd in arily , an ef f ect o n a meaningtui
6 0 1 .4 3 ).                                                   d if f icu lt to stu d y . A m ean in g f u l ef f e ct         cl in ical e n d p o in t, e.g ., o n rate o f
   S u rro g ate s, o r p ro p o s e d su rro g ate s ,         o n s u rv iv al o r m o rb id ity w h e re th e re is          o p p o rtu n is tic in f ectio n s in A ID S, is a
are n o t al w ay s g o o d , n o r n e ce s s aril y           n o e f f ectiv e th e rap y sh o u ld b e re ad ily            su f f icie n t b asis f o r ap p ro v al w ithout
b ad , in d icato rs o f th e rap e u tic b en ef it            d is ce rn e d . S u ch s tu d ie s n e e d b e lo n g          n e e d f o r f o llo w u p stu d ies . O ther
an d m u st b e ju d g ed o n a cas e - b y - cas e             an d larg e o n l y w h en th e ef f ect is sm all              e n d p o in ts , h o w e v e r, m igh t leave major
b asis. Ev e n v e ry g o o d su rro g ate s m ay               o r d if f icu lt to d e te ct. In th at ev e n t,              q u e stio n s u n an sw ere d . Fo r exam ple* a




                                                                                                                                                         EX. 22 pg.07
             F e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s
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m odest ef f ect o n w e ig h t g ain in A ID S          su b m is sio n o f p ro m o tio n al m ate rials              e n s u re th e co n tin u e d saf ety , p u rity , an d
w ithout o th e r d e m o n s trate d b en ef it, i f    w as n o t b ased u p o n an ass u m p tio n th at             p o te n cy o f th e p ro d u cts . T h e co n te n t o f
co n sid ered an ad e q u ate b asis f o r               p ro m o tio n al m ate rials f o r d ru g s                   p ro m o tio n al m ate rials is im p o rtan t to
ap p roval, w h il e a cl in ical e n d p o in t,        in te n d ed to tre at se rio u s d is e ase s are             th e co n tin u e d saf e an d e f f ectiv e u se o f
m ight leav e su f f icie n t d o u b t as to th e       m o re lik el y to b e m isl ead in g th an                    b io l o g icals .
ultim ate v alu e o f th e ef f e ct so th at            p ro m o tio n al m ate rials f or o th e r ty p e s o f          T h e re f o re , th e p ro v isio n s o f th e f inal
further stu d ie s w o u l d b e n e ce s s ary . FD A   d ru g s b e cau s e an y s u ch ass u m p tio n               ru l e re q u irin g su b m iss io n o f
intends to in te rp re t th is p ro v isio n o f th e    w o u l d b e u n f o u n d ed . O n e co m m e n t            p ro m o tio n al m ate rials p rio r to ap p ro v al
regulations w ith f lexib ility . T h is                 arg u ed th at i f an ad v e rtise m e n t o r                 u n d e r th e acce l e rate d ap p ro v al
p rovision sh o u ld al so s e rv e as a                 lab eling is in accu rate , th e p ro d u ct is                p ro ce d u re s an d su b se q u en t to s u ch
rem ind er, h o w e v e r, th at f o r lif e-            m isb ran d ed an d FD A co u l d th e n o b tain              ap p ro v al are au th o riz e d h y statu to ry
threatening d is e ase s , th e u ltim ate aim o f       in j u n ctiv e re l ie f , se iz e th e p ro d u ct, an d /   p ro v isio n s. FD A m ig h t al so in v o k e th e
therapy is im p ro v e d s u rv iv al as w el l as       o r in itiate crim in al p ro ce e d in g s.                   au th o rity o f s e ctio n 5 0 2 (n ) o f th e act (2 1
im p roved sy m p to m s.                                A n o th e r co m m e n t co n s id e re d req u irin g        U .S .C . 3 5 2 (n )) to req u ire p rio r ap p ro v al
   15. O n e co m m e n t ask ed FD A to                 ad v an ce su b m is sio n o f p ro m o tio n al               o f th e co n te n t o f an y p re scrip ti o n d ru g
clarify w h at a sp o n s o r's o b lig atio n is to     m ate rials u n re aso n ab le b e cau s e                     ad v e rtise m e n t in " e xtrao rd in ary
continue su p p l y in g m e d icatio n o n a            co m p an ie s are n o t re q u ired to d u so                 circu m s tan ce s .” W h e th e r FD A co u l d
co m p assion ate b asis i f cl i n ical e f f icacy     n o w . O n e co m m e n t q u estio n ed th e legal           ap p ro p riate ly re l y o n s e ctio n 5 0 2 (n ) o f
is not d e m o n strate d to FD A 's                     au th o rity f o r req u irin g p re su b m iss io n o f       th e a ct in p ro m u lg atin g § § 3 1 4 .5 5 0 an d
satisfaction in p o stm ark e tin g s tu d ie s b u t    p ro m o tio n al m ate rial f o llo w in g                    6 0 1 .4 5 n e e d n o t b e d e te rm in e d ,
ind ividual p atie n ts ap p e ar to b e                 ap p ro v al o f a d ru g p ro d u ct, an d th e               h o w e v e r, b e cau s e FD A is n o t re ly in g
benefiting f ro m u s e o f th e d ru g .                re aso n f or th e re q u irem en t.                           u p o n s e ctio n 5 0 2 (n ) o f th e act as legal
  S p o nso rs are n o t o b lig ated to su p p l y         T h e ag e n cy b eliev es th at th e                       au th o rity f o r th e s e (o r an y o th er)
drugs o n a " co m p as s io n ate b as is .”            re q u irem en ts f o r su b m is sio n o f                    s e ctio n s o f th e acce l e rate d ap p ro v al
W hether, i f cl i n ical s tu d ie s d id n o t         p ro m o tio n al m ate rials in th e co n te xt o f           reg u latio n s.
show ef f e ctiv en e ss, f u rth e r av ailab ility     acce l e rate d ap p ro v al are au th o riz ed b y                T h e ag e n cy b e lie v e s th at ad v an ce
of the d ru g w o u l d b e ap p ro p riate u n d e r    statu te. S u b se ctio n s 5 0 5 (d )(4 ) an d (d )( 5 )      su b m iss io n s o f p ro m o tio n al m aterials
any m ech an ism w o u l d b e d e te rm in e d          o f th e act p ro v id e th at, in d eterm in in g             f o r acce l e rate d ap p ro v al p ro d u cts are
case-b y -case.                                          w h e th e r to ap p ro v e a d ru g as saf e an d             w arran te d u n d e r th e acce l e rate d
D. P r o m o t io n al M a t e r ia ls                   ef f e ctiv e , th e ag e n cy m ay co n s id e r n o t        ap p ro v al circu m s tan ce s . T h e sp e cial
                                                         o n l y in f o rm atio n s u ch as d ata f ro m                circu m s tan ce s u n d e r w h ich d ru g s w ill
   16. T h ree co m m e n ts ass e rte d th at           cl in ical stu d ies b u t al so " a n y o th e r              b e ap p ro v e d u n d e r th e s e p ro v isio n s an d
requiring ad v an ce s u b m iss io n s o f
                                                         in f o rm atio n ” re l e v an t to saf ety an d               th e p o s sib il ity th at p ro m o tio n al
p rom otional m ate rial s is b o th b e y o n d         ef f e ctiv en e ss u n d e r th e p ro p o se d               m ate rials co u l d ad v e rse l y af f ect th e
FD A ’s statu to ry au th o rity an d is
                                                         co n d itio n s o f u se . S u ch in f o rm atio n             se n s itiv e risk / b en ef it b al an ce ju stify
u nnecessary . A l th o u g h FD A state d in            w o u l d in cl u d e in f o rm atio n ab o u t h o w          re v ie w o f p ro m o tio n al m ate rials b ef o re
the p ro p o sal th at it d o e s n o t in te n d
                                                         th e d ru g w o u l d b e p ro m o ted . In                    an d af ter ap p ro v al . Fo r e xam p l e , i f th e
sp ecif ically to ap p ro v e p ro m o tio n al          d eterm in in g w h e th e r th e d ru g ’s                    p ro m o tio n al m ate rials exag g e rate th e
m aterials, tw o co m m e n ts co n te n d e d th at     p ro p o se d lab elin g w o u ld b e " f al s e o r           k n o w n b en ef its o f th e d ru g , w id e r an d
is the lik ely ef f e ct o f ad v an ce
                                                         m isl e ad in g ” u n d e r se ctio n 5 0 5 (d )(7 ) o f       in ap p ro p riate u se o f th e d ru g co u l d b e
sub m ission. T h e co m m e n t cite d se ctio n        th e act, th e ag e n cy is sim ilarly                         e n co u rag e d , w ith h arm f u l re su lts.
502(n) o f th e a ct (21 U .S .C . 3 5 2 (n )),                                                                            S im il arl y , h ig h risk d ru g s th at are
                                                         au th o riz e d to e v alu ate " a l l m ate rial
w hich p ro v id e s th at n o re g u latio n                                                                           ap p ro v e d b ase d o n p o stm ark etin g
                                                         f acts ” d u rin g th e ap p ro v al p ro ce s s ,
prom ulgated u n d e r th at p ro v isio n sh al l       in cl u d in g th e f acts ab o u t p ro m o tio n .           re s trictio n s w o u l d n o t h av e b een
require p rio r FD A ap p ro v al o f th e                   FD A is al so au th o riz e d b y se ctio n                ap p ro v e d f or u s e w ith o u t th o se
content o f an y ad v e rtis e m e n t " e x ce p t in   5 0 5 (k ) o f th e act to re q u ire re p o rtin g o f        re s trictio n s b e cau s e th e risk / b en ef it
extraord inary ci rcu m s ta n ce s ,” an d              in f o rm atio n su b seq u en t to ap p ro v al               b al an ce w o u l d n o t justif y su ch
asserted th at th e " e xtrao rd in ary                  n e ce s s ary to en ab le th e ag en cy to                    ap p ro v al . If p ro m o tio n al m ate rials w ere
circu m stan ces” lan g u ag e w o u l d n o t           d e te rm in e w h e th e r th e re m ay b e                   to u n d e rm in e th e p o stm ark etin g
apply to d ru g s ap p ro v e d u n d e r th e           g ro u n d s f or w ith d raw in g th e ap p ro v al.          re s trictio n s , th e h e alth an d saf ety o f
accelerated ap p ro v al p ro g ram . O n e              A m o n g th e g ro u n d s f o r w ith d raw al               p atie n ts co u l d b e g re atly jeo p ard iz ed .
com m ent arg u ed th at su b m iss io n o f             sp e cif ie d in se ctio n 5 0 5 (e ) o f th e act are            A lth o u g h th e re is p o te n tial h arm f rom
p rom otional m ate rial p rio r an d                    th at th e e v id e n ce re v e al s th e d ru g is n o t      an y m isl e ad in g p ro m o tio n , an d th ere is
subsequent to ap p ro v al is u n w arran te d           sh o w n to b e saf e an d ef f e ctiv e u n d e r its         n o re as o n to b e lie v e im p ro p e r
when d ealin g w ith tre atm e n ts f or                 co n d itio n s o f u se . In ad d itio n , d ru g             p ro m o tio n is m o re lik el y in th is settin g
serious o r lif e- th reaten in g ill n e ss e s         ap p ro v al m ay b e w ith d raw n if                         th an in o th e rs , th e risk / b en ef it b alan ce
w here d is se m in atio n o f th e m o st cu rre n t    in f o rm atio n sh o w s th e lab elin g to b e               is e s p e cial l y se n s itiv e in th is settin g .
and tim ely in f o rm atio n is im p o rtan t to         f alse o r m is le ad in g . In f o rm atio n o n h o w        T h e re l ativ e ly sm all d ata b ase av ailab le
the treatin g p h y s ician . O n e co m m e n t         th e d ru g w il l b e p ro m o te d is ag ain                 an d th e m in im al p u b lis h ed in f o rm atio n
questioned w h y th e re w o u l d b e an y              re l e v an t to w h e th e r th e d ru g ’s m ark etin g      av ail ab le al so can co n trib u te to m ak ing
greater lik el ih o o d o f m isl e ad in g              ap p ro v al sh o u ld b e w ith d raw n . S e ctio n          th e p h y s ician an d p atie n t p o p u latio n s
Prom otional cl aim s f o r p ro d u cts                 7 0 1 (a) o f th e act (21 U .S .C . 3 7 1 (a))                p articu l arl y v u l n e rab le u n d e r
A pproved u n d e r th e p ro p o se d                   g en eral l y au th o riz e s FD A to p ro m u lg ate          acce l e rate d ap p ro v al circu m s tan ce s .
accelerated ap p ro v al p ro ce s s th an f o r         re g u latio n s f o r th e ef f icien t e n f o rce m e n t      R e lian ce o n co u rt actio n s (su ch as
«rugs in te n d ed to tre at se rio u s o r lif e-       o f th e act.                                                  se iz u re s , in j u n ctio n s, an d crim in al
threatening d is e ase s th at are ap p ro v e d            Fo r b io l o g ical p ro d u cts , ad d itio n al          p ro s e cu tio n s ) can b e ef f e ctiv e in en d in g
under th e n o rm al N D A p ro ce d u re s . T h e      au th o rity in s e ctio n 3 5 1 o f th e PH S A ct            f alse p ro m o tio n s, b u t can o n l y b e
com m ent al so e xp re s s e d th e h o p e th at       (4 2 U .S .C . 2 6 2 ) au th o riz e s th e                    in itiate d af ter th e f act, w h e n h arm h as
the p ro p o sed re q u ire m e n t f o r ad v an ce     p ro m u lg atio n o f re g u latio n s d esig n ed to         al re ad y o ccu rre d . C o rre ctiv e ef f o rts can




                                                                                                                                                    EX. 22 pg.08
53950            F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9     /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /   R u l e s a n d R e g u la tio n s
         Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22                                                                 Page 10 of 20 PageID 498
b e h elp f u l b u t are al w ay s s o m e w h at            ap p ro v al w h e th e r th e p ro d u ct is a n e w          th e s p o n s o r to p ro ce e d to u se
d el ay ed . U n d e r th e circu m s tan ce s o f            d ru g , an an tib io tic, o r a b io l o g ical               p ro m o tio n al m ate rial s af te r an allotted
acce l e rate d ap p ro v al , FD A b e l ie v e s th at      p ro d u ct.                                                   tim e f ram e , s u ch a s 3 0 d ay s , unless
it is f ar p re f e rab l e to av o id p ro b l e m s b y        1 8 . O n e co m m e n t co n te n d e d th at FD A         o th e rw is e n o tif ie d b y FD A .
re v ie w in g th e p ro m o tio n al m ate rial s in         re v ie w an d ap p ro v al o f al l p ro m o tio n al            A s in d icate d fay th is co m m e n t and
ad v an ce o f d ru g ap p ro v al an d o f                   p ie ce s b ef o re th e ir u se w il l in d e f in ite l y    o th e rs , ad d itio n al cl arif icatio n regarding
d is se m in atio n o f m e m ate rials .                     d e lay p ro d u ct m ark e tin g cam p aig n s an d           b o th tim in g an d co n te n t o f th e
   17.       T w o co m m e n ts su p p o rte d th e          o th e r p atie n t an d p h y s ician e d u catio n al        s u b m iss io n s o f p ro m o tio n al m aterials
p ro v isio n ab o u t su b m iss io n o f                    activ itie s , w h ich are e ss e n tial to m ark et           se e m s u se f u l. T h e re f o re , th e agency is
p ro m o tio n al m ate rial s . O n e co m m e n t           a p ro d u ct, th ereb y sig n if ican tly                     re v is in g p ro p o s e d § § 3 1 4 .5 5 0 and
u rg ed th e ag e n cy to re q u ire th at s p e cif ic       d im in ish in g th e ad v an tag e o f se cu rin g            6 0 1 .4 5 to m ak e it cl e ar th at, u nless
p atie n t in f o rm atio n b e in cl u d e d in              an e arl y ap p ro v al f o r th e a p p l i ca n t T h e      o th e rw is e in f o rm e d b y th e ag ency ,
p ro m o tio n al m ate rial s to in d icate th e             co m m e n t f u rth e r co n te n d e d th at th e            ap p l ican ts m u st su b m it d u rin g the
f eet th at th e d ru g ’s cl i n ical b en ef it h as        re q u ire m e n t to su b m it “ al l p ro m o tio n al       p re ap p ro v al re v ie w p e rio d co p ies of ail
n o t y e t b e en e s tab l is h e d . Fo r d ru g s         m ate rial s * * * in te n d e d f o r                         p ro m o tio n al m ate rial s in ten d ed for
ap p ro v e d u n d e r th e re s tricte d u s e              d is se m in atio n o r p u b licatio n u p o n                d is s e m in atio n o r p u b licatio n w ithin the
p ro v isio n , th e co m m e n t re co m m e n d e d         m ark etin g ap p ro v al ” w il l b e o v e rl y              f irst 120 (to ys f o llo w in g m ark eting
th at th e lab e lin g s p e cif y in d etail th e            b u rd e n so m e l o r FD A an d w il l                       ap p ro v al . T h e in itial p ro m o tio n al
e x a ct re s trictio n s p l ace d o n th e d ru g . In      u n n e ce s s aril y s l o w d o w n th e p ro ce s s f o r   cam p aig n , s o m e tim e s ref erred to as the
b o th cas e s , th e co m m e n t re co m m e n d e d        re v ie w o f al l m ate rials , n o t j u s t th o s e f or   “ l au n ch cam p aig n ,” o f ten h as a
th at th is p atie n t in f o rm atio n ap p e ar as          p ro d u cts su b j e ct to th is p ro p o se d ru l e .       sig n if ican t ef f ect o n th e clim ate o f use
b o xe d w arn in g s.                                        T h e co m m e n t re co m m e n d e d th at FD A              f o r a n e w p ro d u ct. A s d is cu sse d
   S e ctio n 5 0 2 (n ) o f th e a ct an d                   o n l y re q u e st f o r re v ie w th e p rim ary             e l s e w h e re in th is p ream b le, th e risk/
re g u latio n s at § 2 0 2 . 1 (e )( 1 ) (21 C FR            ad v e rtisin g p ie ce s , su ch as th e                      b en ef it b al an ce o f acce l e rate d approval
2 0 2 . 1 (e )( 1 )) re q u ire p re s crip tio n d ru g      in tro d u cto ry l e tte r to p h y s ician s , th e          p ro d u cts is e s p e cial l y s en sitiv e , and
ad v e rtise m e n ts (p ro m o ti o n al m ate rial)         m ain d e tail p ie ce , an d th e m ain jo u rn al            in ap p ro p riate p ro m o tio n m ay adversely
to co n tain , am o n g o th e r th in g s , a tru e          ad v e rtise m e n t, b u t n o t th e s e co n d ary          af f e ct th e b al an ce w ith resultin g harm.
s tate m e n t o f in f o rm atio n in b rie f                m ate rial s , e .g ., a l e tte r to p h arm acis ts , o f       T h e re m ay b e so m e in s tan ce s in
su m m ary re l atin g to s i d e ef f e cts ,                th e in itial p ro m o tio n al cam p aig n .                  w h ich p ro m o tio n al m ate rial s that had
co n train d icatio n s , an d e f f e ctiv e n e s s,           A s p re v io u sl y d is cu s s e d in th is               n o t b een co m p l e te d an d sub m itted by
w h ich w o u l d i n cl u d e w arn in g s,                  p re am b l e , FD A w il l b e re v ie w in g an              th e ap p l ican t p rio r to ap p ro v al w ould be
p re cau tio n s , an d l im itatio n s o n u se . T h e      ap p l ican t’s p lan n e d p ro m o tio n al                  b e n e f icial in f o sterin g saf e an d effective
in f o rm atio n in b rie f su m m ary re l atin g to         m ate rials b o th p rio r to ap p ro v al o f an              u s e o f th e p ro d u ct d u rin g th e first 120
sid e e f f e cts , co n train d icatio n s , an d            ap p l icatio n (ref l ectin g th e in itial                   d ay s . U n d e r re v is e d § § 3 1 4 .5 5 0 and
ef f e ctiv e n e s s is re q u ire d to b e b ase d          cam p aig n ) an d su b seq u en t to ap p ro v al             6 0 1 .4 5 , FD A w o u l d h av e th e discretion
s o l e ly o n th e ap p ro v e d lab elin g .                to as ce rtain w h e th e r th e m ate rials m ig h t          to co n s id e r s u ch m ate rials at a later
T h e re f o re , to th e e xte n t th at a d ru g ’s         ad v e rse l y af f ect th e d ru g ’ s s e n s itiv e         tim e . A n ap p l ican t w h o req uested
lab e lin g re f l e cts th e e xte n t o f cl in ical        risk / b e n e f it b al an ce . B e cau s e al l              p e rm iss io n to in cl u d e ad d itio n al
e xp o s u re an d i n cl u d e s ap p ro p riate             p ro m o tio n al m ate rials , in cl u d in g th o se         m ate rials am o n g th o s e d issem inated
w arn in g s, a d ru g ’s p ro m o tio n al m ate rial        re f e rred to b y th e co m m e n t as                        w ith in th e f irst 120 d ay s follow ing
w o u l d al so in cl u d e th is in f o rm atio n .          “ s e co n d ary ” m ate rial s , can h av e                   p ro d u ct ap p ro v al w o u l d b e notified of
   FD A re g u latio n s g o v ern in g                       sig n if ican t ad v e rse ef f ects i f th e y are            FD A ’s d e te rm in atio n . If FD A agreed that
p re s crip tio n d ru g lab e lin g (21 C FR                 m isl e ad in g , th e ag e n cy d o e s n o t ag ree          d is se m in atio n o f s u ch m aterials w as
2 0 1 .5 6 an d 2 0 1 .5 7 ) re q u ire th at se rio u s      th at su ch m ate rials s h o u ld , as a m atte r             acce p tab l e , th e m ate rials co u ld then be
ad v e rs e re actio n s an d p o te n tial saf e ty          o f co u rs e , n o t b e re q u e ste d f o r re v ie w .     d is se m in ate d o r p u b lis h ed up on
h az ard s, as w e l l as l im itatio n s in u se             In so f ar as s u ch m ate rials m ay b e                      n o tif icatio n .
im p o s e d b y th e m , b e i n cl u d e d in th e          d ire ctl y d e riv e d f ro m th e in tro d u cto ry             Fo r p ro m o tio n al m ate rial s intended
“ W arn in g ” s e ctio n o f th e lab el in g . In th e      l e tte r to p h y s ician s , o r o th e r m ate rials        f o r d is se m in atio n su b seq u en t to the
cas e o f ap p ro v al b as e d u p o n ef f ect o n a        ch aracte riz e d b y th e co m m e n t as                     in itial 1 2 0 d ay s u n d e r § § 3 1 4 .5 5 0 and
su rro g ate m id p o in t, th e “ I n d icatio n s an d      “ p rim ary ” m ate rial s , th e ad d itio n al tim e         6 0 1 . 4 5 FD A w o u l d re v ie w th e submitted
U s ag e ” s e ctio n o f th e l ab elin g w o u l d          to re v ie w th e d e riv ativ e m ate rials                   m ate rial s w ith in 3 0 d ay s o f receip t. This
re f l e ct th e n atu re o f th e d e m o n s trate d        sh o u ld n o t b e e xte n s iv e .                           3 0 - d ay p e rio d is m ean t to b e tim e-
e f f e ct If th e ap p ro v al is b ase d o n u se              T h e ag e n cy d o e s n o t ag re e w ith th e            lim ited ,- s o th at th e ap p lican t w ill be
re s trictio n s , th e lab el w o u l d al s o sp ecif y     co m m e n t’s co n te n tio n th at th e                      as s u re d o f n o u n n e ce s s ary d elay, ft will
th e re s trictio n s .                                       re q u ire m e n t to su b m it al l p ro m o tio n al         b e im p o rtan t f o r th e ap p lican t to
   FD A m ay re q u ire b o xe d w arn in g s if              m ate rials p rim to an d su b seq u en t to                   id e n tif y th e m ate rials b ein g subm itted
th e re are s p e cial p ro b l e m s ass o ciate d           ap p ro v al w il l in d e f in ite l y d e lay                ap p ro p riate l y , so th at it is cl e ar that the
w ith a d ru g , p articu l arl y th o s e th at m ay         m ark etin g cam p aig n s an d e d u catio n al               m ate rials are su b je ct to th e 30- d ay
le ad to d e ath o r s e rio u s in j u ry (2 1 C FR          activ itie s o r b e o v e rl y b u rd e n so m e to           re v ie w p e rio d . T h e ag en cy intend s to
2 0 1 .5 7 (e )). T h e ag e n cy d o e s n o t ag ree        FD A re v ie w e rs . FD A is co m m itte d to                 re v ie w al l su ch m ate rials p rom p tly, and
th at in f o rm atio n re l ate d to cl i n ical              rap id re v ie w an d e v al u atio n o f al l d ru g s        to n o tif y th e ap p l ican t o f an y identified
b en ef it o r u s e re s trictio n s f o r acce l e rate d   co n s id e re d to r ap p ro v al u n d e r th is ru le       p ro b l e m s as so o n as p o ssib le. T he
ap p ro v al d ru g s w o u l d n e ce s s aril y             an d w il l p ro m p tl y re v ie w th e                       ag e n cy e xp e cts th at, i f th e ag ency
al w ay s re q u ire a b o xe d w arn in g .                  p ro m o tio n al m ate rials .                                n o tif ie s th e ap p l ican t o f significant
   A s in d icate d b y § § 3 1 4 . 5 5 0 an d                   1 9 . O n e co m m e n t su g g e ste d a p ass iv e ,      o b j e ctio n s to th e p ro p o se d m aterials, no
5 0 1 .4 5   o f th e f in al ru l e , ap p l ican ts w ill   tim e - l im ite d cl e aran ce s y ste m f o r                m ate rial s w il l b e d is sem in ated o r
b e re q u ire d to su b m it p ro m o tio n al               re v ie w o f ad v e rtisin g af te r th e in itial            p u b lish e d u n til th e ag e n cy ’s objections
m ate rials p rio r to ap p ro v al an d in                   p ro m o tio n al cam p aig n s u ch as th at u se d           are re s o l v e d . T h e ap p lican t should plan
ad v an ce o f d is s e m in atio n su b seq u en t to        for re v ie w o f IN D ’ s, w h ich w o u l d al lo w          to al l o w su f f icie n t tim e af ter receiving




                                                                                                                                                     EX. 22 pg.09
                 F e d e ra l R e g i s te r /        V o l. 5 7 , N o . 2 3 9    /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2       /   R u l e s a n d R e g u l a ti o n s        58951
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FDA’s co m m e n ts  f o r re s o l v in g                        ass u re th e saf ety an d ef f e ctiv e n e ss o f              th e re i s n o s tatu to ry au th o rity to im p o se
d if ferences an d in co rp o ratin g re q u e ste d              n e w d ru g s.                                                  re s trictio n s o n d is trib u tio n f or
changes in th e su b m itte d m ate rials p rio r                    T h e ag e n cy d o e s n o t ag ree w ith th e               acce l e rate d ap p ro v al d ru g s. T h e
to d issem in atio n o r p u b licatio n .                        co m m e n ts ’ co n te n tio n th at th e                       situ atio n co n s id e re d in th at cas e is
  W hen FD A re m o v e s th e re q u ire m e n t                 m is b ran d in g p ro v isio n s o f th e a ct are              re ad ily d is tin g u is h ab le f ro m th e
for ad v an ce su b m iss io n o f p ro m o tio n al              irre l e v an t. S e ctio n 5 0 2 (a) o f th e act               s itu atio n ad d re ss e d in § § 3 1 4 .5 2 0 an d
m aterial, th e ag e n cy w il l co n tin u e to                  p ro h ib its f alse o r m isl ead in g lab elin g o f           6 0 1 . 4 2 o f th e acce l e rate d ap p ro v al
offer a p ro m p t re v ie w o f al l v o l u n tarily            d ru g s , in cl u d in g (u n d e r s e ctio n 2 01 (n)         re g u latio n s. T h e A P h A cas e co n ce rn e d a
sub m itted p ro m o tio n al m ate rial.                         o f th e act) f ailu re to re v e al m ate rial f acts           re g u latio n th at w ith d re w ap p ro v al o f
                                                                  re l atin g to p o te n tial co n s e q u e n ce s u n d e r     N D A ’s f o r m e th ad o n e , b u t p erm itted
E.    P o s t m ar k e t in g R e s t r ic t io n s               cu s to m ary co n d itio n s o f u se . S e ctio n              d istrib u tio n to ce rtain m ain te n an ce
   FD A re ce iv e d m an y co m m e n ts o n th e                5 0 2 (f ) o f th e a ct re q u ire s d ru g s to h av e         tre atm e n t p ro g ram s an d ce rtain h o s p ital
p roposed re q u ire m e n t to l im it                           ad eq u ate d ire ctio n s f o r u s e an d                      an d co m m u n ity p h arm acie s . B e cau se
d istrib ution to ce rtain f acil itie s o r                      ad eq u ate w arn in g s ag ain st u n saf e u s e ,             m e th ad o n e is a co n tro l le d su b stan ce
p hysicians w ith s p e cial train in g o r                       s u ch as m e th o d s o f ad m in is tratio n , th at           w ith in th e p ro v isio n s o f th e C o n tro l led
exp erience, o r co n d itio n d istrib u tio n o n               m ay b e n e ce s s ary to p ro te ct u se rs . In               S u b stan ce s A ct, w h ich is im p lem en te d
the p erf o rm an ce o f s p e cif ie d m e d ical                ad d itio n , s e ctio n 5 0 2 (j ) o f th e act                 b y th e D rug En f o rce m e n t
p ro ced u res i f s u ch re s trictio n s are                    p ro h ib its u s e o f d ru g s th at are                       A d m in is tratio n w ith th e Ju s tice
needed to co u n te rb al an ce th e d ru g ’s                    d an g e ro u s to h e alth w h e n u se d in th e               D ep artm en t, th e d is trict co u rt
know n saf ety co n ce rn s .                                     m an n e r su g g ested in th e ir lab elin g . Each             co n cl u d e d th at th e q u estio n o f
     20 . S ev eral co m m e n ts q u estio n ed                  o f th e s e m isb ran d in g p ro v isio n s is                 p erm is sib le d is trib u tio n o f th e d ru g w as
FD A ’s au th o rity to im p o s e re s trictio n s               in te n d e d , at le ast in sig n if ican t p art, to           w ith in th e ju ris d ictio n o f th e Ju stice
on d istrib u tio n o r u s e af te r an ap p ro v e d            p ro te ct co n su m e rs ag ain st th e m ark e tin g           D ep artm en t, n o t FD A . T h e C o u rt o f
                                                                  o f d ru g s th at w o u l d n o t b e saf e u n d e r           A p p e al s d e te rm in e d th at th e ty p e o f
drug is m ark eted . T w o co m m e n ts
disagreed w ith th e statu to ry p ro v isio n s                  ce rtain co n d itio n s o f u se. S e ctio n 7 0 1 (a)          m isu se ass o ciate d w ith m e th ad o n e , i.e .,
                                                                  o f th e act au th o riz e s FD A to iss u e
cited b y FD A in th e p ro p o s e d ru le as its                                                                                 m isu se b y p e rs o n s w h o h av e n o in ten t
                                                                  re g u latio n s f or th e ef f icien t e n f o rce m e n t      to try to u s e d ru g s f o r m e d ical p u rp o s es,
authority to im p o s e re s trictio n s o n
                                                                  o f th e act. T h e re s trictio n s o n u se
distrib ution o r u s e statin g th at th e y re f er                                                                              d if f ered f ro m saf ety iss u e s co n te m p l ate d
                                                                  co n te m p l ate d b y § § 3 1 4 .5 2 0 an d 6 0 1 .4 2
only to FD A ’s g e n e ral au th o rity to                                                                                        f o r co n tro l u n d e r s e ctio n 5 0 5 o f th e act.
                                                                  h e lp to en su re th at p ro d u cts th at w o u l d
ensure th at d ru g s are n o t m is b ran d e d ,                                                                                 In co n tras t, th e re s trictio n s
                                                                  b e m is b ran d ed u n d e r s e ctio n 5 0 2 o f th e
w hich is an e n tire l y s e p arate is su e.                                                                                     co n te m p l ate d u n d e r § § 3 1 4 .5 2 0 an d
                                                                  a ct are n o t m ark eted .
A nother co m m e n t arg u e d th at s e ctio n                                                                                   6 0 1 .4 2 are p re cis e l y th o se d eem ed
                                                                      T h e re s trictio n s o n u se im p o se d
503(b) o f th e a ct (21 U .S .C . 3 5 3 (b ))                                                                                     n e ce s s ary to e n su re th at s e ctio n 5 0 5
                                                                  u n d e r se ctio n 5 0 3 o f th e act, w h ich
co ntem p lates th at th e is s u e s w arran tin g                                                                                crite ria h av e b e en m e t, i.e ., re s trictio n s
                                                                  re l ate to p re scrip tio n u se lim itatio n s,
a restriction as to d is trib u tio n are n o t                                                                                    to en su re th at th e d ru g w il l b e saf e
                                                                  p rim arily co n ce rn w h e th e r a d ru g is saf e
factors in w h e th e r a d ru g p ro d u ct is                                                                                    u n d e r its ap p ro v e d co n d itio n s o f u se . It
                                                                  f o r u s e e xce p t u n d e r th e su p e rv is io n o f
" saf e” f or p u rp o s e s o f ap p ro v al , b u t                                                                              is cl e arl y FD A ’s re sp o n sib il ity to
                                                                  a l ice n se d p ractitio n e r. W h il e th e
rather o n ly w h e th e r th e p ro d u ct m u s t b e                                                                            im p le m e n t th e statu to ry p ro v isio n s
                                                                  ag e n cy ag rees th at th e re s trictio n s
lim ited to p re s crip tio n statu s. T w o                                                                                       reg ard in g n e w d ru g ap p ro v al.
                                                                  im p o s e d u n d e r § § 3 1 4 .5 2 0 an d 6 0 1 .4 2
com m ents said th at, in th e ab se n ce o f                                                                                         N o r d o e s FD A ag ree th at th e
                                                                  co n ce rn in g d is trib u tio n to ce rtain
specific statu to ry au th o rity , th e co u rts                                                                                  p ro v isio n s p lacin g re s trictio n s o n
                                                                  f acil itie s o r p h y s ician s w ith sp e cial
clearly h av e re f u se d to p e rm it FD A to                                                                                    d is trib u tio n to ce rtain f acil ities o r
                                                                  train in g o r e xp e rie n ce w o u l d b e in
im pose re s trictio n s o n d is trib u tio n an d                                                                                p h y s ician s , o r co n d itio n e d o n th e
                                                                  ad d itio n to o rd in ary p re scrip tio n
cited A m e r ic an P h a r m a c e u t ic a l                                                                                     p e rf o rm an ce o f ce rtain m e d ical
                                                                  l im itatio n , FD A b eliev es th e s e
A s s o c iat io n (A P h A ) v . W e in b e r g e r , 377                                                                         p ro ce d u re s, im p erm iss ib l y in terf ere
                                                                  re s trictio n s are co n siste n t w ith th e sp irit
F.    Supp. 8 2 4 , 8 2 9 n . 9 (D .D .C . 1 9 7 4 ),
                                                                  o f se ctio n 5 0 3 o f th e act, as w ell as th e               w ith th e p ractice o f m e d icin e an d
° f f d s u b n o m . A P h A v . M at h e w s , 5 3 0                                                                             p h arm acy . T h e re is n o leg al su p p o rt for
                                                                  o th e r p ro v isio n s o f th e açt ref e rred to , in
F.2 d   1 0 5 4 (D .C . C ir 1 9 7 6 ) , a cas e _
                                                                  en su rin g saf e u se .                                         th e th e o ry th at FD A m ay o n l y ap p ro v e
concerning co n d itio n s p l ace d o n th e                       N ew d ru g s m ay b e ap p ro v e d u n d e r                 s p o n so rs’ d ru g s w ith o u t re s trictio n
approval o f th e d ru g m e th ad o n e .                        s e ctio n 5 0 5 (d ) o f th e a ct o n ly if th e y are         b e cau s e p h y s ician s o r p h arm acis ts m ay
  Som e co m m e n ts as s e rte d th at p l acin g               saf e f o r u s e u n d e r th e co n d itio n s                 w is h to p re scrib e o r d is p e n se d ru g s in
restrictions o n th e d is trib u tio n o f an                    p re scrib e d , re co m m e n d e d , o r su g g ested          a ce rtain w ay . T h e re s trictio n s u n d e r
approved d ru g to o n l y ce rtain f acil itie s                 in th e p ro p o se d lab elin g , h i ad d itio n , f or        th e s e p ro v isio n s w o u l d b e im p o se d o n
or p h y sician s, o r re s trictin g u s e to                    ap p ro v al , a d ru g ’s lab elin g m u st n o t b e           th e sp o n so r o n l y as n e ce s s ary f o r saf e
certain m e d ical p ro ce d u re s in te rf e re s               f alse o r m isl e ad in g b ase d o n a f air                   u se u n d e r th e e xtrao rd in ary
with th e p ractice s o f m e d icin e an d                       e v alu atio n o f al l m ate rial f acts , w h ich              circu m s tan ce s o f th e p articu l ar d ru g an d
p harm acy, w h ich th e co m m e n ts                            w o u l d in cl u d e d etail s ab o u t th e                    u se . W ith o u t su ch re s trictio n s , th e d ru g s
contend ed FD A d o e s n o t h av e th e                         co n d itio n s o f u se . Fo r b io lo g ical                   w o u l d n o t m e e t th e statu to ry crite ria,
authority to re g u late .                                        p ro d u cts , se ctio n 3 5 1 (d ) o f th e PH S A ct           co u l d n o t b e ap p ro v e d f or d istrib u tio n ,
     T he ag en cy b e l ie v e s th at th e                      al so au th o riz e s th e im p o sitio n o f                    an d w o u l d n o t b e av ailab le for
restrictions to e n s u re saf e u s e                            re s trictio n s th ro u g h re g u latio n s                    p re scrib in g o r d is p en sin g . T h e ag en cy ,
con tem p lated f o r ap p ro v al s u n d e r                    “ d es ig n ed to in su re th e co n tin u e d                   as a m atte r o f l o n g stan d in g p o l icy , d o es
§§ 3 1 4 .5 2 0 an d 6 0 1 . 4 2 are au th o riz e d b y          saf ety , p u rity , an d p o te n cy ” o f th e                 n o t w is h to in te rf e re w ith th e
statute. A s d is cu s s e d in th e p re am b l e to             p ro d u cts .                                                   ap p ro p riate p ractice o f m e d icin e o r
the p ro p o sed ru l e ( 5 7 F R 1 3 2 3 4 at                       T h e ag e n cy d isag rees w ith th e                        p h arm acy . In th is in s tan ce , th e ag en cy
13237), se ctio n s 5 0 1 , 5 0 2 , 5 0 3 , 5 0 5 , an d          co m m e n ts ’ im p l icatio n th at th e co u rts ’            b eliev es th at rath e r th an in terf erin g w ith
           a ct p ro v id e b ro ad au th o rity                  ru l in g s in A m e r ic a n P h a r m a c e u t ic a l         p h y s ician o r p h arm acy p ractice , th e
tor FD A to iss u e re g u l atio n s to h e lp                   A s s o c ia t io n ( A P h A ) v . W e in b e r g e r m e an    reg u latio n s p e rm it, in e xce p tio n al cas e s,




                                                                                                                                                              EX. 22 pg.10
5B952       F e d e r « ! R e g i s te r / V g I. 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a ti o n s
          Case    2:22-cv-00223-Z Document 1-23 Filed 11/18/22 Page 12 of 20 PageID 500
                                                            th e rap e u tic are a b ein g co n s id e re d an d            o n a p atie n t w h ich ach ie v e s the
ap p ro v al o f d ru g s w ith re s trictio n s so
                                                            in re l e v an t d ru g d is trib u tio n sy ste m s.           o b j e ctiv e o f p re v e n tin g p ro b lem s w ith
th at th e d ru g s m ay b e av ail ab le f o r
                                                            W h e re ap p o in tm e n t o f p h arm acis ts to              d ru g th e rap y . S o m e co m m e n ts argued
p re scrib in g o r d is p e n sin g .
                                                            th e s e co m m itte e s o r p an e ls i s n o t                th at th ro u g h th e rap e u tic o u tco m es
   21.       O n e co m m e n t as serted th at
p o s tm ark etin g re s trictio n s o n                    f easib le, th e co m m e n t re co m m e n d e d               m o n ito rin g , a p h y s ician , a p h arm acist,
                                                            th at FD A u se p h arm acis ts in a                            an d a p atie n t can w o rk to g e th er to
d is trib u tio n to ce rta i n f atalitie s o r
                                                            co n s u l tan t cap acity . A n o th e r co m m e n t          p re v e n t p ro b l e m s w ith d rag therapy by
p h y s ician s w ith ce rtain train in g o r
                                                            arg u ed th at cu rre n t sy ste m s f o r d rag                b ein g co n s tan tl y al e rt to sig ns o f trouble.
e xp e rie n ce sh o u ld b e l im ite d to rare
                                                            d is trib u tio n in co rp o rate “ ch e ck s an d              O n e co m m e n t said th at in d icato r data
o ccas io n s i s cas e s o f e xtre m e h az ard to
                                                            b al an ce s ” s u ch th at p re s crib e !* an d               ru n b e ro u tin e l y re p o rte d to a central
p atie n t s af ety in w h ich to x i ci ty o f a
                                                            p h arm acis ts w o rk to g e th e r to ass u re saf e          co l l e ctio n p o in t f o r u til iz atio n review by
p articu l ar d ru g m ay re q u ire it, b u t
                                                            u s e o f a d ru g b y a p atie n t. T w o                      h e al th ca re p ro f e ss io n als , f o llow ed by
sh o u ld n o t b e ap p l ie d b e cau s e o f
                                                            co m m e n ts w o u l d o p p o se an y re s tricte d           e d u catio n al p ro g ram s to f u rther improve
in su f f icien t efficacy d ata. S o m e
co m m e n ts arg u ed th at saf e ty issu es in            d is trib u tio n sy ste m th at al l o w s                     th e e f f icacy o f d rag th erap y .
                                                            m an u f actu re rs e xcl u s iv e l y to d e liv e r               T h e p o stm ark e tin g re strictio n s set
th e co n te xt o f d ru g u s e sh o u ld b e
                                                            p re s crip tio n d rag s d ire ctl y to p atie n ts.           f o rth in th e p ro p o sal an d in th is final
ad d re ss e d th ro u g h p atient m an ag e m e n t
                                                            O n e co m m e n t ask ed w h e th e r FD A o r                 ra l e are in te n d e d to e n h an ce th e safety
an d ef f e ctiv e p ro d u ct l ab elin g , n o t
                                                            th e ap p l ican t w o u l d m o n ito r th e crite ria         o f a d rag w h o se risk s w o u l d outw eigh
th ro u g h re s tricte d d is trib u tio n . In
                                                            f or re s tricte d d istrib u tio n s ite s o r                 its b e n e f its in th e ab se n ce o f the
s u p p o rt o f th is arg u m e n t, th e co m m e n ts
                                                            p h y s ician s .                                               re s trictio n . T h e rap e u tic o u tco m es
cite d th e l ab elin g o f o n co l o g ic d ru g s ,
                                                               T h e m e d ical re v ie w in g d iv is io n s               m o n ito rin g d o e s n o t co n trib u te to that
w h ich p ro v id e s p h y s ician s w ith
                                                            w ith in FD A ’s O D ER an d C BER w ill                        e n h an ce m e n t, an d w o u l d n o t b e
ad eq u ate w arn in g s an d
                                                            d e te rm in e i f re s tricte d d is trib u tio n o r          re q u ire d u n d e r th is ra l e .
re co m m e n d atio n s f o r th e ir u s e w ith o u t
                                                            u se sh o u ld b e im p o s e d . FD A w ill                       24.       S o m e co m m e n ts ask ed th at FDA
l im itin g d is trib u tio n .
                                                            u su al ly seek th e ad v ice o f o u tsid e e xp e rt          cl arif y h o w p ro d u cts w il l m o v e from
    FD A ag re es w ith th e s e co m m e n ts in
                                                            co n s u l tan ts o r ad v iso ry co m m itte e s               re s trictiv e s tatu s to a re g u lar
p art an d in te n d s to im p o s e re s trictio n s
                                                            b ef o re m ak in g th i s d e te rm in atio n , an d           p re s crip tio n d rag statu s. T h e com m ents
o n d is trib u tio n o r u s e u n d e r th is ra l e
                                                             w il l, o f co u rs e , co n s u l t w ith th e                as s e rte d th at al l co n d itio n s associated
o n l y in th o s e rare in s tan ce s in w h ich
                                                                                                                             w ith acce l e rate d ap p ro v al sho uld
th e ag e n cy b e lie v e s carefully w o rd e d            ap p lican t.
                                                               T h e ag e n cy d o e s n o t ag ree th at FD A               au to m atical l y te rm in ate f ollow ing
lab elin g f o r a p ro d u ct g ran te d
                                                             sh o u ld d ev el o p crite ria th at cl e arl y                co m p l e tio n o f co n f irm ato ry clin ical
acce l e rate d ap p ro v al w il l n o t ass u re th e
                                                             estab lis h th e activ itie s o f h e alth care                 trial s ; o n e co m m e n t u rg ed FD A to
p ro d u ct’s saf e u se . A s s tate d in th e
                                                             p ro f e ss io n als in th e ca re o f p atie n ts              e xp l icitl y state th is in th e f inal rule. One
 p re am b le to th e p ro p o s e d ra l e (5 7 FR
                                                             re ce iv in g a d rag ap p ro v e d u n d e r th is             co m m e n t ass e rte d th at restrictio n s
 1 3 2 3 4 at 1 3 2 3 7 ) , FD A b e lie v e s th at th e
                                                             ra l e an d f or w h ich re s tricte d                          sh o u ld au to m atical l y b e rem o v ed 180
 saf e u se o f m o st p re s crip tio n d ru g s w il l
                                                             d is trib u tio n h as b een im p o s e d ; A n y               d ay s af te r a s u p p l e m e n tal ap p licatio n
 co n tin u e to b e as s u re d th ro u g h
                                                             p o s tm ark etin g re s trictio n s re q u ired                co n tain in g th e d ata f ro m th e
 trad itio n al p atie n t m an ag e m e n t b y
                                                             u n d e r th is ra l e w il l im p o s e an                     p o stm ark e tin g stu d y h as b een filed if
 h e al th p ro f e ss io n als an d th ro u g h
 n e ce s s ary saf e ty w arn in g s in th e d ra g ’s      o b lig atio n o n th e ap p l ican t to e n su re              FD A h as n o t y e t acte d U pon th e
                                                             th at th e d ru g o r b io l o g ical p ro d u ct is            s u p p l e m e n tal ap p l icatio n an d the
 lab elin g .
                                                             d istrib u te d o n l y to th e sp e cif ie d                   p ro d u ct sh o u ld b e d e e m e d ap p rov ed as
    2 2 r T w o co m m e n ts as k ed w h o w ill
                                                             f acil itie s o r p h y s ician s . FD A w il l seek            if b y “ trad itio n al ” p ro ce d u re s and all
 d e te rm in e i f re s tricte d d is trib u tio n
                                                             th e ad v ice o f o u ts id e co n s u l tan ts w ith           o th e r p ro v isio n s o f th e act sho u ld apply,
 sh o u ld o ccu r an d w h at f acil itie s o r
                                                             e xp e rtis e in d istrib u tio n sy ste m s o r                e .g ., th e ap p l ican t m u s t h av e a formal
 p h y s ician s w ith s p e cial train in g o r
                                                             ad v iso ry co m m itte e s w h e n n e ce s s ary in           h earin g b ef o re re m o v al o f th e product
 e xp e rie n ce w il l p articip ate . S ev e ral
 co m m e n ts e xp re s s e d co n ce rn th at              d e te rm in in g th e n e e d f or o r ty p e o f              f ro m th e m ark et.
                                                             re s tricte d d is trib u tio n . T h e l im itatio n s             FD A w il l n o tif y th e ap p lican t w hen a
 re s tricte d d is trib u tio n an d / o r
                                                             o n d istrib u tio n o r u s e im p o s e d u n d e r           p articu l ar re s trictio n is n o lon g er
 co n d itio n al u s e m ay n o t in cl u d e all
                                                                                                                             n e ce s s ary f or saf e u se o f th e p rod u ct, to
 h e alth care p ro f e ss io n als w h o sh o u ld          th is ru l e , in cl u d in g s p e cif ic d is trib u tio n
                                                             sy ste m s to b e u s e d an d th e ap p l ican t’ s            th e cas e o f d rag s ap p ro v e d w ith a
 p articip ate in saf e an d ef f e ctiv e p atie n t
                                                                                                                             re q u ire m e n t f o r p o stap p ro v al studies,
 care . T w o o rg an iz atio n s re p re s e n tin g        p lan f o r m o n ito rin g co m p l ian ce w ith
                                                             th e l im itatio n s , w il l h av e b e en ag ree d to          FD A w o u l d e x p e ct th at al l o f the
 p h arm acis ts as k ed th at FD A d e v e l o p
                                                                                                                              p o s tap p ro v al re q u ire m e n ts set forth in
 f u n ctio n al an d o b j e ctiv e crite ria th at         b y th e ap p l ican t at th e tim e o f ap p ro v al .
                                                                                                                              th is ra l e , i .e ., su b m iss io n o f promotional
 cl e arl y e s tab l is h th e activ itie s o f             T h e b u rd en is o n th e ap p l ican t to e n s u re
                                                              th at th e co n d itio n s o f u s e u n d e r w h ich          m ate rial an d u s e o f e xp e d ite d
 p h arm acis ts , p h y s ician s , an d o th e rs in
                                                                                                                              w ith d raw al p ro ce d u re s , w o u l d no
 th e care o f p atie n ts re ce iv in g a d rag              th e ap p l ican t’s p ro d u ct w as ap p ro v e d
                                                                                                                              l o n g e r ap p l y af ter p o s tm ark etin g studies
 u n d e r re s tricte d d is trib u tio n . T h e            are b ein g f o llo w ed . A s ap p ro p riate , FD A
                                                                                                                              h av e v e rif ie d an d d escrib ed th e drug s
 co m m e n ts as s e rte d th at an y h e al th care         m ay m o n ito r th e sp o n s o r’ s co m p l ian ce
                                                                                                                              cl in ical b en ef it. C o n cu rre n t w ith the
 p ro f e ss io n al th at m e t th e s e crite ria           w ith th e sp e cif ie d te rm s o f th e ap p ro v al
                                                                                                                              re v ie w o f th e p o stm ark etin g stud ies, it
 sh o u ld b e al l o w e d to p articip ate in               an d w ith th e s p o n s o r's o b lig atio n s.
                                                                2 3 . O n e co m m e n t re co m m e n d e d th at            re q u e ste d , FD A w il l al so re v ie w the
  d is trib u tio n o f th e d rag m id ca re o f th e
                                                              p ro p o se d § 3 1 4 . 5 2 0 b e m o d if ied to               n e e d to co n tin u e an y re strictio n s on
  p atie n t. O n e co m m e n t re co m m e n d e d
                                                              in cl u d e th e rap e u tic o u tco m e s                      d is trib u tio n th at h av e b een im p osed, in
  th at an y p o stm ark e tin g re s trictio n s o n
                                                              m o n ito rin g as a th ird e xam p l e o f a                   th e cas e w h e re re s trictio n s o n
  d is trib u tio n o r u s e o f a d ra g ap p ro v e d
                                                                                                                              d is trib u tio n o r u se h av e b een imposect,
  u n d e r th e acce l e rate d ap p ro v al p ro ce s s     p e rm iss ib l e p o s tm ark etin g re s trictio n .
                                                              T h e co m m e n t d e f in e d th e rap e u tic                s u ch re s trictio n s w o u l d b e elim inate
  b e d e v e l o p e d b y ap p ro p riate FD A
                                                              o u tco m e s m o n ito rin g as th e s y s te m atic           o n l y i f FD A d e te rm in e s th at saf e use or
  ad v iso ry co m m itte e s o r p an e l s
                                                              an d co n tin u al m o n ito rin g o f th e cl i n ical         th e p ro d u ct can b e ass u re d w ith ou t
  e xp an d e d to i n cl u d e p h y s ician s an d
                                                                                                                              th e m , th ro u g h ap p ro p riate labeling, to
  p h arm acis ts w ith e xp e rtis e in th e                 an d p s y ch o s o cial ef f e cts o f d ru g th e rap y




                                                                                                                                                        EX. 22 pg.11
               F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9      /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2    /   R u l e s a n d R e g u l a tio n s      58953
         Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22                                                               Page 13 of 20 PageID 501
 som e cas e s, h o w e v e r, th at as s u ran ce         w o rd e d lab elin g , FD A w il l ap p ro v e th e           p o s tm ark etin g stu d ie s to b e p erf o rm ed
 could n o t b e e xp e cte d an d th e n atu re o f       p ro d u cts f o r e arl y m ark etin g o n l y i f            as a co n d itio n o f ap p ro v al b ase d o n a
 the sp ecif ic saf ety iss u e raise d b y th e           p o s tm ark etin g re s trictio n s o n                       “ s u rro g ate ” e n d p o in t. O n e co m m e n t
 p rod uct m ig h t re q u ire co n tin u e d              d is trib u tio n o r u s e are im p o s e d . T h e           s tate d th at i t i s w id e l y acce p te d th at th e
 restriction s. FD A n a s ad d e d n e w                  p h rase “ sh o w n to b e e f f e ctiv e ” w as n o t         a ct e m p o w e re d th e ag e n cy to d ef in e th e
 § § 3 1 4 .5 3 0 an d 6 0 1 . 4 6 to state w h e n        in te n d e d to d is tin g u is h d ru g s ap p ro v e d      ty p e an d e xte n t o f e f f icacy d ata
 p ostap p ro val re q u ire m e n ts w il l n o           u n d e r n e w su b p art H f ro m m u g s                    n e ce s s ary to ap p ro v e a p ro d u ct
 longer ap p ly an d state th at th e ap p l ican t        ap p ro v e d u n d e r an y o th e r su b p art o f th e      ap p l icatio n . If a su rro g ate m ark er can b e
 m ay p etitio n th e ag e n cy , in acco rd an ce         re g u latio n s. A l l d ru g s ap p ro v e d w ill           sh o w n to b e su f f icien tly re l ate d to
w ith 21 C FR 1 0 .3 0 , a t an y tim e to                 h av e h ad ef f e ctiv e n e ss d e m o n s trate d o n       actu al p atie n t b en ef it, th e n , th e
rem ove s p e cif ic p o s tap p ro v al                   th e b as is o f ad e q u ate an d w e ll -                    co m m e n t ass e rte d , d ata reg ard ing th e
req uirem ents.                                            co n tro l l e d stu d ies, w h e th e r th e                  ef f ect o f a d ru g o n a su rro g ate m ark er
   W ith re s p e ct to th e su g g e ste d tim e          e n d p o in t o f th e stu d ie s is a su rro g ate           co n s titu te acce p tab l e p ro o f o f ef f icacy
period f or re m o v in g re s trictio n s o n             e n d p o in t o r a cl in ical e n d p o in t.                u n d e r th e a c t T w o co m m e n ts u rg ed
d istrib ution o r u s e f o llo w in g su b m is sio n         2 6 . O n e co m m e n t e xp re s s e d co n ce rn       FD A to co n tin u e to ask ap p l ican ts to
of a su p p le m en tal ap p l icatio n                    th at th e p ro p o se d re s tricte d d istrib u tio n        ag re e v o l u n taril y to p erf o rm
containing th e d ata f ro m a                             o r u s e p ro v isio n s w o u l d re s trict o r             p o stm ark etin g stu d ie s w h e n m e d ical ly
p ostm ark eting s tu d y , FD A d o e s n o t             e l im in ate th e w h o l e sal e d is trib u tio n o f       w arran te d as is th e cu rre n t p o l icy u n d e r
believe it sh o u ld p re scrib e an y sp e cif ic         d ru g s ap p ro v e d th ro u g h th e acce l e rate d        th e trad itio n al ap p ro v al p ro ce s s . O n e
tim e p eriod . T h e s e ap p l icatio n s w ill          ap p ro v al p ro ce ss .                                      co m m e n t e xp re s s e d co n ce rn th at
receive a p rio rity ratin g an d FD A is                      T h e lim itatio n s o n d is trib u tio n o r u s e       req u irin g p o stm ark etin g stu d ie s m ay
firmly co m m itte d to e xp e d ite d re v ie w o f       re q u ired u n d e r th is ru l e are im p o s e d o n        b eco m e , th e n o rm rath e r th an th e
an ap p licatio n co n s id e re d f o r                   th e ap p lican t. T h eref o re , th e b u rd en is           e xce p tio n .
accelerated ap p ro v al an d al l d ata                   o n th e ap p l ican t to e n s u re th at th e                   T h e ag e n cy ’s re s p o n s e to co m m e n t 1 .
sub m itted f ro m a p o stm ark e tin g stu d y to        co n d itio n s o f u se u n d e r w h ich th e                e xp l ain e d th e ci rcu m s tan ce s in w h ich
verify cl in ical b e n e f it an d b e lie v e s m o st   ap p l ican t’s p ro d u ct w as ap p ro v e d are             FD A m ig h t co n cl u d e th at a d ru g sh o u ld
review s w ill b e co m p l e te d an d actio n            b ein g f o llo w ed . T h is ru l e d o e s n o t             b e m ark e te d o n th e b asis o f an ef f ect o n
taken w ith in 1 6 0 d ay s .               <?             sp e cif y h o w a m an u f actu re r w ill                    a su rro g ate e n d p o in t re aso n ab ly lik ely
   25.     O ne co m m e n t arg u ed th at, as            d is trib u te its p ro d u ct to th o se re ce iv in g        to p re d ict cl i n ical b en ef it o n l y if stu d ies
proposed, it is n o t cl e ar h o w acce l e rate d        th e p ro d u ct u n d e r th e ap p ro v al te rm s.          w e re carrie d o u t to co n f irm th e p re se n ce
approval w o u ld ap p l y to d ru g s w h ich             FD A w il l o n l y d e te rm in e w h ich                     o f th e lik el y b en ef it. A s d is cu s se d in th e
fall un d er th e co n d itio n s d e scrib e d in         f acil itie s o r p h y s ician s m ay re ce iv e th e         p re am b l e to th e p ro p o se d ru l e (5 7 FR
§ § 3 1 4 .5 2 0 an d 6 0 1 . 4 2 , w h ich state th e     d ru g , an d th e ap p l ican t w il l h av e ag ree d        1 3 2 3 4 at 1 3 2 3 6 ) , FD A b elie v es th at it is
p ostm ark eting re s trictio n s o n                      to th is lim itatio n o n d istrib u tio n o r u se.           au th o riz e d b y l aw to re q u ire
distrib ution o r u se th at FD A m ay ap p ly ,              2 7 . O n e co m m e n t e xp re s s e d co n ce rn         p ostm airk etin g s tu d ie s f o r n e w d ru gs
b ecause th e l an g u ag e o f th e s e se ctio n s       th at th e p ro p o se d p o s tm ark etin g                   an d b io l o g ical p ro d u cts . S e ctio n 5 0 5 (d )
exp licitly states th at th e s e ctio n s ap p ly         re s trictio n p ro v isio n d o e s n o t p re cl u d e       o f th e act p ro v id e s f o r th e ap p ro v al o f
to p ro d u cts “ sh o w n to b e e f f e ctiv e ,”        a p h y s ician to w h o m re s tricte d                       n e w d ru g s f o r m ark etin g if th e y m e et th e
w hich are al re ad y ad e q u ate l y co v e re d         d istrib u tio n ap p lie s f ro m p re scrib in g             saf ety an d e f f ectiv en es s crite ria se t forth
by the act. T o th e co m m e n t, th e                    d ru g s ap p ro v e d u n d e r th e acce l e rate d          in s e ctio n 5 0 5 (d ) o f th e act an d th e
language “ sh o w n to b e e f f e ctiv e ”                ap p ro v al p ro ce s s f or u n ap p ro v e d (off-          im p le m e n tin g re g u latio n s (21 C FR p art
im plies th at f u ll Ph as e 3 e f f icacy trial s        lab el) u se s.                                                3 1 4 ). A s d is cu s s e d in th e p ro p o se d ru le,
have b een co n d u cte d , ass e ss e d , an d               T h e co m m e n t is co rre ct th at th is ru l e          to d e m o n s trate ef f e ctiv en e ss, th e law
deem ed to d e m o n s trate th at th e d ru g is          d o e s n o t its e l f p re v e n t a p h y s ician f ro m    re q u ire s e v id e n ce f ro m ad eq u ate an d
effective f or its p ro p o s e d u s e . If th e          p re scrib in g a d ru g g ran ted acce l e rate d             w e l l - co n tro l l ad cl in ical stu d ie s o n th e
clinical d ata d e m o n s trate th at th e                ap p ro v al f o r an u n ap p ro v e d u se . U n d e r       b asis o f w h ich q u alif ied e xp e rts co u ld
p roduct h as an acce p tab l e saf ety p ro f il e,       th e act, a d ru g ap p ro v e d f o r m ark etin g            f airly an d res p o n sib ly co n cl u d e th at th e
the safe u se o f th e d ru g s h o u ld b e               m ay b e lab ele d , p ro m o te d , an d                      d ru g h as th e ef f ect it is p u rp o rte d to
addressed in th e p ro d u ct lab elin g . T h u s ,       ad v e rtise d b y th e m an u f actu re r o n l y f or        h av e . U n d e r se ctio n 5 0 5 (e ) o f th e act,
the co m m en t arg u e d th at § § 3 1 4 .5 2 0 an d      th o s e u se s f o r w h ich th e d ru g ’s saf ety           ap p ro v al o f a n e w d ru g ap p licatio n is to
601.42 sh o u ld n o t b e in cl u d e d in n e w          an d ef f e ctiv e n e s s h av e b e en estab l is h ed       b e w ith d raw n if n e w in f o rm atio n sh o w s
subpart H o f p art 3 1 4 an d su b p art E o f            an d th at FD A h as ap p ro v e d . Ph y s ician s            th at th e d ru g h as n o t b een d em o n strated
part 6 0 1 , re s p e ctiv e l y , w h ich d e al w ith    m ay ch o o s e to p re scrib e th e d ru g f o r a            to b e e ith e r saf e o r ef f ectiv e. A p p ro v al
accelerated ap p ro v al b e cau s e th e s e              co n d itio n n o t re co m m e n d e d in lab elin g .        m ay al so b e w ith d raw n i f n ew
sections e xp l icitl y ap p l y to p ro d u cts           S u ch o f f -lab el u s e w o u l d , o f co u rs e , b e     in f o rm atio n sh o w s th at th e d ru g ’s
show n to b e ef f e ctiv e u n d e r a f u ll d ru g      carrie d o u t u n d e r th e re s trictio n s                 lab elin g is f alse o r m islead in g .
d evelop m ent p ro g ram
                                                           im p o s e d u n d e r th is s e ctio n . FD A als o              S e ctio n 5 0 5 (k ) o f th e act au th o riz es
   S ection s 3 1 4 .5 2 0 an d 6 0 1 . 4 2 ap p ly
                                                           b e lie v e s th at p h y s ician s w il l b e                 th e ag e n cy to p ro m u lg ate reg u latio n s
not only to d ru g s an d b io l o g ical
                                                           co g n iz an t o f th e p ro d u ct’s s p e cial risk s        req u irin g ap p l ican ts to m ak e re co rd s
p roducts ap p ro v e d o n th e b asis o f an
                                                           an d w il l u s e s u ch d ru g s w ith p articu l ar          an d re p o rts o f d ata o r o th e r inf o rm atio n
effect o n a su rro g ate e n d p o in t b u t al so
                                                           care . T h e lab elin g o f p ro d u cts ap p ro v e d         th at are n e ce s s ary to en ab le th e ag en cy
 o drugs an d b io l o g ical p ro d u cts th at                                                                          to d e te rm in e w h e th e r th ere is reas o n to
                                                           u n d e r th is ru l e w il l in cl u d e all
 ave b een stu d ie d f o r th e ir saf ety an d                                                                          w ith d raw ap p ro v al o f an N D A . T h e
                                                           n e ce s s ary w arn in g s an d f ull d is cl o su re
ef f ectiveness in tre atin g s e rio u s o r lif e-                                                                      ag e n cy b eliev es th at th e re f eren ced
                                                           lab elin g w o u l d g en erall y re f l e ct th e
threatening i ll n e ss e s u sin g cl i n ical                                                                           re p o rts can in cl u d e ad d itio n al stu d ies to
                                                           e xte n t o f cl in ical e xp o s u re to th e d ru g.
®n^ ;Pptnts an d th at h av e se rio u s                                                                                  ev alu ate th e cl in ical ef f ect o f a d rug
oxicity. In e ith e r cas e , i f th e p ro d u cts        F.   P o s t m a r k e t in g S t u d ie s
                                                                                                                          ap p ro v ed o n th e b asis o f an ef f ect on a
are so p o ten tially h arm f u l th at th e ir saf e         2 8 . T h re e co m m e n ts arg u ed th at FD A            su rro g ate e n d p o i n t S ectio n 7 0 1 (a) o f tha
—0 - an n o t b e ass u re d th ro u g h care f u ll y     d o e s n o t h av e th e au th o rity to req u ire            act g en erally au th o riz e s FD A to issu e




                                                                                                                                                      EX. 22 pg.12
58954
     Case F2:22-cv-00223-Z
            e d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u latio n s
                                         Document 1-23 Filed 11/18/22 Page 14 of 20 PageID 502
re g u latio n s f o r th e " e f f icie n t                   in th e ap p l ican t’s m ark etin g ap p l icatio n .          im p o rtan t e th ical q u estio n s because

e n f o rce m e n t" o f th e act.                             In ad d itio n , in acco rd w ith th e an n u al                o n ce a d ru g p ro d u ct is ap p roved , it may
' W ith re s p e ct to b io l o g ical p ro d u cts ,          re p o rtin g re q u ire m e n ts at                            b e u n e th ical , d e p e n d in g o n the
s e ctio n 3 5 1 o f th e PH S A ct p ro v id e s              § 3 1 4 .8 1 (b )(2 )(v i i) (2 1 C FR                          circu m s tan ce s , fo r a p h y sician to
leg al au th o rity f o r th e ag e n cy to re q u ire         3 1 4 .8 1 (b )(2 )(v i i), an N D A ap p l ican t is           co n d u ct a s tu d y u sin g a p laceb o control.
p o s tm ark etin g stu d ie s f o r th e s e                  re q u ire d to p ro v id e FD A w ith a                        O n e co m m e n t al s o co n ten d ed that a
 p ro d u cts . L ice n s e s f o r b io l o g ical            state m e n t o f th e cu rre n t s tatu s o f an y             p o stm ark etin g stu d y req uirem ent could
 p ro d u cts are to b e is s u e d o n l y u p o n a          p o s tm ark etin g stu d ie s . FD A d e cl in e s to          co m p ro m is e th e N D A h o l d e r’s ability to
sh o w in g th at th e y m e e t s tan d ard s                 im p o s e th e s an ctio n s su g g e ste d b y th e           e n ro l l su f f icie n t n u m b ers o f patients in
" d e s ig n e d to in s u re th e co n tin u e d              co m m e n t f o r f ailu re o f an ap p l ican t to            th e s tu d y w h e n th e n e w ap p roved drug
saf ety , p u rity , an d p o te n cy o f su ch                m e e t its p l an s f o r co m p l e tio n o f a               an d p o s sib le al te rn ativ e therap ies are
p ro d u cts " p re s crib e d in re g u latio n s (4 2        p o stm ark etin g s tu d y . FD A b e lie v e s th is          w id e l y av ail ab le to p atien ts.
U .S .C . 2 6 2 (d )). T h e " p o te n cy ” o f a             ru l e ap p li e s ap p ro p riate re g u lato ry                  U s u al l y , an d p ref erab ly , b ecause of
b io l o g ical p ro d u c t i n cl u d e s its                san ctio n s . U n d e r th e p ro p o se d ru l e an d         p ro b l e m s su g g e ste d in th e com m ent, the
ef f e ctiv e n e s s ( 2 1 C FR 6 0 0 . 3 (s)).               th is f in al ru l e , FD A m ay w ith d raw                    re q u ire m e n t f o r p o stm ark etin g studies
   T h e ag e n cy n o te s th at it h as in th e              ap p ro v al o f an ap p l icatio n i f th e                    w il l b e m e t b y s tu d ie s al read y underway
p ast re q u ired p o s tm ark e tin g s tu d ie s as a        ap p l ican t f ails to p e rf o rm th e re q u ire d           at th e tim e o f ap p ro v al , e.g ., b y
p re re q u is ite f o r ap p ro v al f o r so m e d ru g s
                                                          p o stm ark etin g stu d y w ith d u e d il ig e n ce .              co m p l e tio n o f s tu d ie s th at show ed an
(se e 3 7 FR 2 0 1 , Jan u ary 7 , 1 9 7 2 ; an d 3 7        FD A b e lie v e s th at it is n o t w ith in th e                ef f ect o n th e su rro g ate. FD A recognizes
FR 2 6 7 9 0 , D e ce m b e r 1 5 , 1 9 7 2 ) .           s co p e o f th is ru l e to e stab l is h th e ro l e o f           th at e th ical co n sid e ratio n s w ill play a
   29.       O n e co m m e n t re co m m e n d e d th at p h arm acis ts in p o stm ark etin g stu d ie s.                    ce n tral ro l e in th e ty p e o f stud y carried
FD A re q u ire th at s p e cif ic tim e l in e s f o r   T h at ro le sh o u ld m o re p ro p e rl y b e                      o u t, a ch o ice th at w il l d ep en d upon the
co m p l e tio n o f th e re q u ire d                    d ef in ed b y th e cl in ical in v e stig ato r an d                ty p e an d se rio u sn e ss o f th e disease
p o stm ark etin g stu d ie s b e in cl u d e d in        e ach in s titu tio n o r f acil ity at w h ich a                    b ein g tre ate d , av ailab ility o f alternative
th e m ark etin g ap p l icatio n . T h e                 p o s tm ark etin g stu d y is co n d u cte d .                      th e rap ie s , an d th e n atu re o f the drug
co m m e n t f u rth e r s u g g e sted th at, i f th e       30.      O n e co m m e n t ass e rte d th at th e               an d th e p atie n t p o p u latio n . T here often
sp o n so r f ails to m e e t its tim e l in e s ,             p ro p o sal se ts f o rth an in h e re n t                     are al te rn ativ e s to u se o f a p laceb o
ap p ro v al o f its ap p l icatio n b e                       co n trad ictio n b e tw e e n th e w ay FD A                   co n tro l , in cl u d in g activ e co n tro l designs
w ith d raw n , o r in th e e v e n t it is d if f icu lt      e v alu ate s th e b en ef it an d risk f o r d ru g s          an d d o s e - re sp o n s e stu d ies th at can
to w ith d raw ap p ro v al o f d ru g s f o r                 to d ay an d th e w ay th e p ro p o sal                        satisf y b o th th e d em an d s o f ethics and
se rio u s o r lif e - th re ate n in g d is e ase s , FD A    co n te m p l ate s . T h e co m m e n t arg u ed th at          ad e q u acy o f d esig n .
sh o u ld es tab l is h su b stan tial f in es an d            n o w , i f p o s tm ark etin g d ata raise                        32.       O n e co m m e n t co n ten d ed that the
p e n altie s f o r s p o n s o rs th at d el ib erately       q u e stio n s ab o u t th e risk as s o ciate d w ith           te rm " p o s tm ark e tin g stu d y ” is used
w ith h o l d in f o rm atio n f ro m FD A                      a d ru g p ro d u ct, FD A co n s id e rs th at d ata           in co n s is te n tl y in th e p ro p o sed rule. The
re g ard in g th e p re l im in ary re s u l ts an d            al o n g w ith th e o th e r d ata k n o w n ab o u t           co m m e n t arg u ed th at " p ostm ark eting
th e p ro g re ss o f th e ir p o etm ark etin g                th e p ro d u ct, an d d e te rm in e s w h e th e r,           s tu d y " is an acce p te d regu latory term of
stu d ie s , o r d e l ay th e co m p l e tio n o f s u ch      b ase d o n th e o v e ral l k n o w led g e ab o u t           art w h ich , to th is p o in t, h as referred to
stu d ie s. H i e co m m e n t al so u rg e d FD A              th e d ru g , th e re is a n e e d to seek                      s tu d ie s co n d u cte d to co n f irm safety (not
 to p u b lish in th e F e d e ra l R e g is te r               w ith d raw al o f ap p ro v al . U n d e r th is               e f f icacy ), af te r an ap p ro v al h as been
 id e n tif icatio n o f m an u f actu re rs w h o are          p ro p o sal , i f th e p o s tm ark etin g stu d y             g ran te d , w h e re as in th is p ro po sal, a
 n o t m ee tin g th e ir o b lig atio n to co m p l e te       d ata rais e d q u e stio n s ab o u t th e risk o f            " p o s tm ark e tin g stu d y ” ref ers to a study
 th e re q u ire d p o stm ark e tin g stu d ie s o n           th e p ro d u ct, FD A w o u l d seek                           re q u ire d to estab l is h cl in ical efficacy
 tim e . T h e s e re co m m e n d atio n s w e re              w ith d raw al o f ap p ro v al , w h e th e r o r n o t        (i.e ., a Ph as e 3 stu d y ), b u t n o t
 p ro m p te d b y th e co m m e n t's co n ce rn               th e n e w d ata re al l y m ad e a f u n d am e n tal          n e ce s s aril y saf ety , alth o u g h safety data
 th at o n ce a m an u f actu re r i s g ran te d               d if f e re n ce to w h at is k n o w n ab o u t th e           w il l b e co l l e cte d . T o p rev en t confusion
 ap p ro v al f o r i ts p ro d u ct, th e                      b en ef it an d risk o f th e p ro d u ct.                      an d to d if f e re n tiate b etw een these
 m an u f actu re r w il l h av e l ittl e in ce n tiv e           FD A d o e s n o t ag ree th at th e                         re q u ire d p o s tm ark etin g confirm atory
 to co m p l e te p o s tm ark e tin g s tu d ie s in a         co n trad ictio n d e scrib e d b y th e co m m e n t           e f f icacy stu d ie s an d saf ety studies
 tim e l y m an n e r, e s p e cial l y i f th e                e xis ts . U n d e r th e ci rcu m s tan ce s o f               trad itio n al l y co n d u cte d sifter approval
 p re l im in ary re s u l ts o f s u ch s tu d ie s            acce l e rate d ap p ro v al , ap p ro v al w o u l d b e       an d to cl arif y th at p ro d u cts granted
 in d icate th at d ie d ru g m ay n o t b e saf e              b as e d o n a w eig h in g o f th e b en ef it                 acce l e rate d ap p ro v al h av e b een
 an d / o r ef f e ctiv e. A n o th e r co m m e n t            su g g e ste d b y th e e f f e ct o n th e su rro g ate        ap p ro v e d o n th e b asis o f Ph ase 2
 u rg e d FD A to i n cl u d e in th e f in al ru l e           e n d p o in t ag ain st k n o w n an d p o te n tial           (su rro g ate en d p o in t) d ata, th e comment
 lan g u ag e th at re q u ire s th e p articip atio n          risk s o f th e d ru g . S h o u l d w e ll - d e s ig n e d    su g g e sted ch an g in g th e term
 o f p h arm acis ts in p o stm ark e tin g s tu d ie s         p o s tap p ro v al stu d ie s f ail to d e m o n s trate       " p o s tm ark e tin g s tu d y ” to " Ph ase 3

 b e cau s e p h arm acis ts ca n s e rv e as an                th e e xp e cte d cl in ical b e n e f it, th e b en ef it      s tu d y ” in th is ru l e e xce p t w here
                                                                e xp e cte d at th e tim e o f ap p ro v al                     trad itio n al p o stm ark etin g stud ies are
 ad d itio n al s o u rce o f in f o rm atio n o n
                                                                (re aso n ab l y l ik ely to e xis t) w o u l d n o             in te n d e d . T h e co m m e n t also suggested
 th e rap e u tic o u tco m e s o f p atie n ts tak in g
                                                                lo n g er b e e xp e cte d an d th e to tal ity o f             th at th e te rm " P h as e 3 stu d y ” be
 d ru g s ap p ro v e d u n d e r th is ru l e an d
                                                                th e d ata, sh o w in g n o cl i n ical b en ef it,             d e f in e d as a stu d y req u ired to confirm
 m o n ito rin g f o r s u ch d ru g s .
    T h e ag e n cy e x p e cts th at th e                      w o u l d n o l o n g e r su p p o rt ap p ro v al . T h is      fin d in g s o f e f f icacy b ased u pon
 re q u ire m e n t f o r p o e tm ark e tin g s tu d ie s      e v alu atio n o f th e d ata is n o t d if f eren t             su rro g ate d ata co l l e cte d in Phase 2,
 w il l u s u al l y b e m e t b y stu d ie s al re ad y        f ro m co n s id e ratio n s th at w o u l d ap p l y in         w h ich w il l b e co n d u cte d af ter an
 u n d e rw ay at th e tim e o f ap p ro v al an d              e v alu atin g d ata in th e cas e o f a d ru g                  acce l e rate d ap p ro v al h as b een grant
                                                                 ap p ro v e d u n d e r o th e r p ro v is io n s o f th e      an d w il l b e re q u ire d b ef o re restrictions
  th at th e re w il l b e re as o n ab l e e n th u s ias m
  f o r re s o l v in g th e q u e stio n s p o s e d b y        reg u latio n s.                                                s e t f o rth in § 3 1 4 .5 2 0 are rem oved .
                                                                    31.      T w o co m m e n ts e xp re s s e d th e                T h e ag e n cy d o e s n o t b elieve m at tn
  th o s e stu d ie s. T h e p l an f o r tim e l y
                                                                 v ie w th at th e p ro p o se d re q u ire m e n t f or         co m m e n t h as accu rate l y d escrib ed
  co m p l e tio n o f th e re q u ire d
                                                                 p o stm ark etin g stu d ie s m ay rais e                       acce p te d m ean in g s o f v ariou s terms.
  p o stm ark e tin g stu d ie s w il l b e in cl u d e d




                                                                                                                                                  EX. 22 pg.13
                     F e d e ra l R e g is te r /   V o l. 5 7 , N o . 2 3 9   /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2      /   R u l e s a n d R e g u l a tio n s       58955
               Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22                                                               Page 15 of 20 PageID 503
T h e te r m p o stm ark etin g s tu d y d o e s n o t          co u rts h ad n o t d e cid e d th at s u ch a                 co u l d re q u e st th at th e ap p l ican t
refer to an y p articu l ar k in d o f s tu d y , b u t         h earin g w as n e ce s s aril y le g ally re q u ired         v o l u n taril y w ith d raw its p ro d u ct, an d
to stud ies e arn e d o u t af te r a d ru g is                 (se e 4 0 FR 4 0 6 8 2 at 4 0 6 9 1 , S ep te m b er           m o s t ap p l ican ts \ vou ld co m p l y i f a
m ark e te d , o f te n as p art o f an ag re e m e n t         3 , 1 9 7 5 ) . In p ro m u lg atin g its p ro ce d u ral      le g itim ate h az ard e xis ts .
by a sp o n so r to        d o s o . T h e s e h av e           re g u latio n s, FD A al s o d e te rm in e d th at a            A s n o te d i n th e p ro p o se d ru l e , FD A
in c lu d e d p h arm aco k in e tic, d ru g - d ru g           f o rm al e v id e n tiary h e arin g i s n o t                an d ap p l ican ts h av e o f ten re ach e d
in te ra c tio n , an d p e d iatric stu d ie s ,               re q u ired b ef o re w ith d raw in g ap p ro v al o f        m u tu al ag re e m e n t o n th e n e e d to
stu d ie s o f d o s e - re sp o n s e o r o f h ig h e r       b io l o g ical p ro d u cts , b u t th at i t w o u l d b e   re m o v e a d ru g f ro m th e m ark et rap id l y
d o ses, an d s tu d ie s o f n e w u se s . T h e              ap p ro p riate to ap p l y th e sam e                         w h e n sig n if ican t saf ety p ro b l em s n av e
term is n o t l im ite d to saf ety stu d ie s.                 p ro ce d u re s to b io l o g ical p ro d u cts as to         b e en d is co v e re d . H o w e v e r, ap p lican ts
M o re o v e r, Ph as e 2 an d 3 s tu d ie s are n o t          d ru g re m o v al (se e 4 0 FR 4 0 6 8 2 at                   u su al ly h av e b een u n w il lin g to e n te r
distinguished b y th e e n d p o in ts ch o s e n .             4 0 6 9 1 ).                                                   in to s u ch ag re e m e n ts w h e n d o u b ts
Phase 3 h y p e rte n sio n s tu d ie s , f o r                     T h ro u g h th e h e arin g p ro ce s s in th is          ab o u t ef f e ctiv e n e s s h av e arise n , su ch as
e x am p le , still m e as u re b lo o d p re ss u re ,         f in al ru l e , as in th e p ro p o se d ru l e ,             f o llo w in g th e re v ie w o f ef f e ctiv e n e ss o f
no t s tro k e rate . T h e ag e n cy b e lie v e s th at       ap p l ican ts w il l b e af f o rd e d th e                   p re - 1 9 6 2 ap p ro v al s carrie d o u t u n d e r
the u s e o f th e “ p o stm ark e tin g s tu d y ” in          o p p o rtu n ity to p re se n t an y d ata an d               th e D ru g Ef f icacy S tu d y Im p le m en tatio n
the final ru l e is ap p ro p riate an d                        in f o rm atio n th e y b e lie v e to b e re l e v an t       (D ES I) p ro g ram . Fo r d ru g s ap p ro v e d
c o n s is te n t.                                              to th e co n tin u e d m ark etin g o f th e ir                u n d e r th e acce l e rate d p ro ce d u re
                                                                p ro d u ct. T h e p ro p o se d p ro ce s s al s o            re g u latio n s, th e risk / b e n e f it ass ess m en t
G. W ith d raw al o f A p p r o v a l
                                                                w o u l d h av e p e rm itte d th e p re sid in g              is d e p e n d e n t u p o n th e lik el ih o o d th at
   33.        O n e co m m e n t s u p p o rte d th e           o f f icer, th e ad v iso ry co m m itte e                     th e su rro g ate e n d p o in t w il l co rre l ate
p ro p o se d w ith d raw al o f ap p ro v al                   m e m b e rs , a re p re s e n tativ e o f th e                w ith cl in ical b en ef it o r th at
p ro c e d u re . O th e r co m m e n ts as s e rte d           ap p l ican t, an d a re p re s e n tativ e o f th e           p o stm ark etin g re s trictio n s w il l en ab le
that th e p ro p o se d p ro ce d u re d o e s n o t            C e n te r th at in itiate s th e w ith d raw al               saf e u se . If th e ef f ect o n th e su rro g ate
p ro v id e th e ap p l ican t w ith th e                       p ro ce e d in g s to q u estio n an y p erso n                d o e s n o t tran sl ate in to a cl in ical b en ef it,
p ro c e d u ral saf e g u ard o f a f o rm al                  d u rin g o r a t th e co n cl u s io n o f th e               o r i f re s trictio n s d o n o t l e ad to saf e u se ,
e v id e n tia ry h e arin g g u aran te e d b y                p e rs o n ’s p re se n tatio n . A s d is cu s se d           th e risk / b en ef it ass e s s m e n t f or th ese
se c tio n 5 0 5 o f th e a ct an d th e                        b e lo w in re s p o n se to a co m m e n t, FD A              d ru g s ch an g e s sig n if ican tly . FD A
A d m in is tra tiv e Pro ce d u re A ct ( A P A ) . A s        h as d e cid e d to al lo w u p to th re e                     b e lie v e s th at i f th at o ccu rs , rap id
an exam p le, th e co m m e n ts said th at                     re p re s e n tativ e s o f th e ap p l ican t an d o f        w ith d raw al o f ap p ro v al as se t f o rth in
b ased on a f in d in g o f a sin g l e stu d y                 th e C en ter to q u estio n p re se n te rs .                 th is ru l e is im p o rtan t to th e p u b lic
f ailin g to s h o w cl i n ical b en ef it o r                 Particip an ts co u l d co m m e n t o n o r reb u t           h e alth .
m isu se o f an y p ro m o tio n al m ate rial , an             in f o rm atio n an d v ie w s p re se n te d b y                 3 5 . U n d e r th e p ro p o se d w ith d raw al
ap p ro v e d n e w d ru g w o u l d b e su b je ct to          o th ers . A s w ith o rd in ary 2 1 C FR p art 1 5            p ro ce d u re s , in ad d itio n to o th e r
w ith d ra w a l f ro m th e m ark e t w ith o n l y            h e arin g s, th e h earin g w iil b e                         p e rso n s, o n e re p re s e n tativ e o f th e
a m in im a l o p p o rtu n ity f o r th e N D A                tran scrib e d . S u b seq u en t to th e h earin g ,          C e n te r th at in itiate s th e w ith d raw al
h o ld e r to b e h e ard . T h e co m m e n ts                 th e C o m m is sio n e r o f Fo o d an d D rugs               p ro ce e d in g s m ay q u estio n p articip an ts
arg u ed th at s e ctio n 5 0 5 (e ) o f th e a ct              w o u l d re n d e r a f in al d e cisio n o n th e            at a w ith d raw al o f ap p ro v al h earin g .
g u aran te e s ap p l ican ts “ d u e n o tice an d            m atte r. T h e ag e n cy b e lie v e s th at th e             O n e co m m e n t o b je cte d to lim itin g th e
o p p o rtu n ity f o r a h e arin g ” o n                      ad m in is trativ e re co rd cre ate d th ro u g h             C en ter to o n e re p re s e n tativ e b e cau s e
w ith d ra w a l o f an N D A in co m p l ian ce                th is p ro ce s s w o u l d b e su f f icien t f or            d e tail e d k n o w led g e ab o u t a d ru g
w ith A P A h earin g stan d ard s, th u s FD A                 j u d icial rev iew .                                          p ro d u ct is lik el y to b e av ail ab le f rom
m u st co n d u ct h e arin g s o n w ith d raw al s                T h e ag e n cy e m p h asiz e s th at, as p art o f       se v e ral scie n tis ts .
o f N D A ’s u sin g th e f o rm al ad ju d icato ry            th e ap p ro v al p ro ce s s u n d e r th is ru l e ,            T h e p ro p o se d lim itatio n o f
p ro c e d u re s o f th e A PA . O n e co m m e n t            ap p l ican ts w il l h av e ag re ed th at th e s e           q u es tio n in g to sin g l e re p re s e n tativ e s o f
asse rte d th at, u n d e r th e p ro p o se d                  w ith d raw al p ro ce d u re s ap p ly to th e                th e in itiatin g C en te r a n a th e ap p lican t
p ro c e d u re , th e re is th e ab s e n ce o f a             d ru g f o r w h ich th e y seek ap p ro v al ;                w as in te n d e d to m ak e th e p ro ce e d in g s
d is c e rn ib le leg al s tan d ard , an in ab il ity          ap p l ican ts o b jectin g to th e s e p ro ce d u re s       m an ag eab le. O n f u rth er co n sid e ratio n ,
to cro s s- e xam in e, th e p ro s e cu tin g                  m ay f o rego ap p ro v al u n d e r th e s e                  th e ag e n cy h as d e te rm in e d th at it w o u l d
atto rn e y an d ju d g e are o n e an d th e sam e             re g u latio n s an d seek ap p ro v al u n d e r th e         b e ap p ro p riate an d m an ag eab l e to al lo w
p e rso n , an d th e re i s a l ack o f e v e n                trad itio n al ap p ro v al p ro ce s s . U n d e r            u p to th re e p e rs o n s to b e d esig n ate d as
m in im a l f o rm al e v id e n tiary p ro ce d u re s .       s u ch circu m s tan ce s , ap p l ican ts w o u ld            q u e stio n e rs f o r th e ap p l ican t an d for
T h e c o m m e n t e xp re s s e d d o u b t th at th e        n o t h av e th e b en ef it o f acce l e rate d               FD A . S e ctio n s 3 1 4 .5 3 0 (e )(2 ) an d
p ro p o se d p ro ce d u re w o u l d b e su f f icie n t      ap p ro v al ; if th e d ru g w e re su b seq u en tly         6 0 1 .4 3 (e )(2 ) h av e b e e n rev is ed
to c re a te a re co rd su itab l e f o r re v ie w b y         ap p ro v e d , h o w e v e r, b ef o re w ith d raw al        acco rd in g l y .
a C o u rt o f A p p e al s , w h i ch m u s t b e ab le,       o f th e ap p ro v al , th e ap p l ican t w o u l d               3 6 . S o m e co m m e n ts q u es tio n ed FD A ’s
o n th e b asis o f s u ch a re co rd , to                      h av e an o p p o rtu n ity f o r a 2 1 C FR p art             ab ility to w ith d raw ap p ro v al u n d e r th e
d e te rm in e w h e th e r th e ap p ro v al is                12 h earin g .                                                 p ro p o se d p ro ce d u re s e f f icien tly o r
8u£ P® d e d b y “ s u b s tan tial e v id e n ce .”               34.      O n e co m m e n t n o te d th at th e             ef f ectiv ely b e cau s e of : (l p T h e lack o f
  r D A b e lie v es th e w ith d raw al                        “ im m in e n t h az ard ” p ro v isio n o f se ctio n         ass u ran ce th at th e re s u l ts o f
p ro c e d u re s se t f o rth in p ro p o s e d                5 0 5 (e ) o f th e a ct al l o w s FD A to su s p e n d       p o stm ark e tin g s tu d ie s w il l b e p ro m p tly
§§ 3 1 4 .5 3 0 an d 6 0 1 . 4 3 an d in th is final            ap p ro v al o f a p ro d u ct, im m e d iate l y , i f it     p ro v id e d to FD A ; (2 ) l im ited ag en cy
ru le a re co n s is te n t w ith re l e v an t statu te s      is f o u n d to p o s e an im m in e n t h az ard to           re s o u rce s to re v ie w stu d y re su l ts an d act
®nd p ro v id e ap p l ican ts ad e q u ate d u e               th e p u b li c h e alth . A s an al te rn ativ e to           u p o n th e m p ro m p tl y ; (3 ) th e d if f icu lties
p ro c e ss. A s state d in th e p ro p o s e d ru l e ,        th e p ro p o se d w ith d raw al p ro ce d u re o r           ass o ciate d w ith e stab lis h in g th at an
ln lssuing its g en e ral p ro ce d u ral                       in ad d itio n to th e “ im m in e n t h az ard "              ap p ro v e d d rtig is “ in e f f e ctiv e ;” an d (4)
regulations, FD A d e cid e d to af f o rd N D A                s tatu to ry p ro v isio n , th e co m m e n t                 p o l itical p re ss u re n o t to re s cin d th e
noiders an o p p o rtu n ity f o r a f o rm al                  su g g e ste d th at, w h e n co n f ro n te d w ith a         ap p ro v al o f N D A ’s f o r d ru g p ro d u cts
evidentiary h earin g e v e n th o u g h th e                   d an g ero u s p ro d u ct o n th e m ark et, FD A             th at m ay lack e v id e n ce o f ef f ectiv en ess,




                                                                                                                                                             EX. 22 pg.14
58958
      CaseF e2:22-cv-00223-Z
              d e ra l R e g is te r / V o l . 5 7 , N o . 2 3 9 / F ri d a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u la tio n s
                                            Document 1-23 Filed 11/18/22 Page 16 of 20 PageID 504
                                                               im p le m e n t th e p ro v isio n s o f § 3 1 4 .5 3 0      f o r b io l o g ical p ro d u cts in cl u d es
e s p e cial l y i f n o cl e arl y e f f ectiv e
al te rn ativ e tre atm e n ts are av ail ab l e . O n e       as ap p ro p riate ; d ata th at are am b ig u o u s         e f f e ctiv e n e s s (21 C FR 6 0 0 .3 (s )). The PHS
co m m e n t o f f ered th e o p in io n th at w h e re        w il l in ev itab ly le ad to d if f icu lt                  A ct d o e s n o t s p e cif y l ice n se revocation
a d ru g sh o w s o n l y m o d e s t e v id e n ce o f        ju d g m en ts.                                              p ro ce d u re s , e x ce p t to state th at licenses
                                                                  A d ru g w ith cl e ar cl in ical                         m ay b e su s p e n d e d an d rev ok ed “ as
b en ef it, p e rh ap s o n a su rro g ate
e n d p o in t, an d o n l y s h o w s e q u iv o cal          ef f e ctiv e n e ss in a su b set o f th e                  p re s crib e d b y re g u l atio n s .”
                                                               p o p u l atio n , b u t n o t in th e p o p u l atio n           Fo r d ru g s ap p ro v e d u n d er § 314.510,
e v id e n ce o f cl i n ical e f f icacy in
                                                               d es crib e d in lab elin g , w o u l d h av e its           FD A w il l h av e d e te rm in e d th at reports
p o s tm ark etin g stu d ie s it w o u l d b e
                                                               lab elin g re v is e d to re f l e ct th e d ata.            o f p o stm ark etin g stu d ie s are critical to
d if f icu lt an d s o cial l y d is ru p tiv e to
                                                               W ith d raw al w o u l d b e in ap p ro p riate              th e risk / b e n e f it b al an ce n eed ed for
w ith d raw ap p ro v al an d re m o v e th e d ru g
                                                               u n d e r su ch circu m s tan ce s .                         ap p ro v al ; i f th o s e re p o rts are not
f ro m th e m ark et i f th e d ru g h as b e co m e
                                                                  If an im m in e n t h az ard to th e p u b lic            f o rth co m in g , th e n , u n d e r authority of
w e ll es tab l is h e d an d a cce p te d , an d th e re
                                                               h e al th e xis ts , th e S e cre tary o f H eal th          s e ctio n 5 0 5 (d ) o f th e act, th e drug
is n o iss u e o f to xi ci ty . A n o th e r co m m e n t
                                                               an d H u m an S e rv ice s m ay s u s p e n d                can n o t o n an o n g o in g b asis m eet the
b e lie v e d it w o u l d b e d if f icu lt to
                                                               ap p ro v al o f an ap p l icatio n an d th e n              stan d ard s o f saf ety an d ef f icacy required
w ith d raw ap p ro v al o f a d ru g th at m ay
                                                               af f o rd th e ap p l ican t an o p p o rtu n ity f or       f o r m ark etin g u n d e r th e act. Therefore,
b e b e n e f icial in a su b p o p u l atio n b u t
                                                               an e xp e d ite d h earin g . In th e ab se n ce o f         it i s im p o rtan t to e n su re th at the
w h ich , in f act, h as n o t b ee n sh o w n to b e
                                                               a sig n if ican t h az ard re q u irin g im m e d iate       ap p l ican t m ak e a g o o d faith effort to
e f f icacio u s in b ro ad e r p atie n t
                                                               w ith d raw al , FD A b e lie v e s th e e xp e d ite d      co m p l e te an y re q u ired postm arketing
p o p u l atio n stu d ie s . T h e co m m e n ts
                                                               p ro ce d u re d escrib e d in th e ru l e satisf ie s       stu d ie s in a tim e l y m an n e r so that FDA
su g g este d th e n e e d f o r a l e s s e r san ctio n .
                                                               th e n e e d f o r p ro m p t actio n w h il e , at th e     can rap id l y d e te rm in e w h eth er the
    A n o th e r co m m e n t su g g e ste d th at
                                                               sam e tim e , al lo w in g o p p o rtu n ity f o r           su rro g ate e n d p o in t u p o n w h ich the drug
e xp e d itin g re m o v al o f a p ro d u ct f ro m
                                                               d is cu s s io n an d d eb ate b ef o re                     w as ap p ro v e d h as b een con firm ed to
th e m ark et co u l d b e acco m p l is h e d b y
                                                               w ith d raw al .                                             co rre l ate w ith cl i n ical b enef it. Failure to
u sin g a p ro ce d u re lik e th e “ im m in e n t
h az ard ” p ro v isio n o f th e act, i.e .,                     37,       O n e co m m e n t n o te d th at th e          su b m it th e stu d y re s u l ts in a tim ely
                                                               p ro p o se d ru l e w o u l d al lo w FD A to               f ash io n w o u l d al so co n stitu te failure to
im m e d iate re m o v al o f th e d ru g f ro m th e
                                                               w ith d raw ap p ro v al f o r f ailu re to                  m ak e a re q u ire d re p o rt. S im ilarly,
m ark et i f an y o f th e co n d itio n s l is te d in
                                                               p erf o rm th e re q u ire d p o stm ark etin g              w ith o u t su b m is sio n o f th e information
  ro p o s e d § 3 1 4 .5 3 0 w e re m e t f o llo w ed
                                                               s tu d ie s w ith d u e d il ig en ce. T h e                 f ro m re q u ire d p o stm ark etin g studies on
 y a h earin g .
   A l th o u g h th e p o te n tial d if f icu ltie s         co m m e n t as s e rte d th at th e act d o e s n o t       b io l o g ical p ro a u cts ap p ro v e d under
cite d b y th e co m m e n ts are re al , th e y are           p e rm it FD A to w ith d raw ap p ro v al o n               th e s e p ro ce d u re s , th e b io log ical product
n o t f u n d am e n tal l y d if f eren t f ro m              th is g ro u n d . A n o th e r co m m e n t,                 is n o t ass u re d o f co n tin u e d saf ety and
d e te rm in atio n s FD A re g u larl y m u st                h o w e v e r, su g g e ste d th at b e cau s e               e f f e ctiv e n e s s. T h e l ice n se application
m ak e in carry in g o u t its re s p o n sib il itie s.       p ro p o se d § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 cite           m ay , th e re f o re , ap p ro p riatel y be revoked

T h e n e w re g u latio n s p ro v id e f o r an              g ro u n d s f or w ith d raw al o f ap p ro v al th at       as d e s crib e d in § 6 0 1 .4 3 .
                                                               are n o t g ro u n d s u n d e r th e act, th e                  FD A d o e s n o t f in d th e statem ents of
e xp e d ite d p ro ce d u re to w ith d raw
                                                                lan g u ag e o f th e s e p ro p o se d se ctio n s          th e g ro u n d s f o r w ith d raw al o f approval
 ap p ro v al ; th e y d o n o t g u aran te e th at
                                                                sh o u ld b e re v is e d to u s e lan g u ag e th at        u n d e r § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 of this rule
 re s u l ts o f s tu d ie s w il l b e w h o l ly
                                                                cl o s e r alig n s to th at u se d in th e act, e .g .,     in co n s is te n t w ith statu to ry language or
 u n am b ig u o u s o r th at FD A w il l al w ay s
                                                                d e scrib e a “ p o s tm ark etin g s tu d y ” in            am b ig u o u s . T h e ag e n cy n o tes that, in
 b e ab le to p re v ail in its v ie w as to th e
                                                                statu to ry lan g u ag e.                                    th e e v e n t n o n e o f th e g ro u n d s for
 n e e d f o r w ith d raw al , an y m o re th an
                                                                  FD A re af f irm s th e p o s itio n e xp re s s e d       w ith d raw al sp e cif ical l y listed in
 cu rre n t w ith d raw al p ro ce d u re s d o . T h e
                                                                in th e p re am b l e to th e p ro p o sal (5 7 FR           § 3 1 4 .5 3 0 o r § 6 0 1 . 4 3 ap p lies, b ut
 stu d ie s b ein g carrie d o u t u n d e r th e s e
                                                                1 3 2 3 4 at 1 3 2 3 9 ) th at th e re is ad eq u ate        an o th e r g ro u n d f o r w ith d raw al under
 p ro v isio n s w il l b e co n s p icu o u s an d
                                                                au th o rity u n d e r th e a ct to w ith d raw              se ctio n 5 0 5 o f th e act o r sectio n 351 of
 im p o rtan t an d th e ir co m p l e tio n w il l b e
                                                                ap p ro v al o f an ap p l icatio n f o r th e               th e PH S A ct an d im p lem en tin g
 w id e l y k n o w n . T h e re is n o re as o n to
                                                                re as o n s state d u n d e r p ro p o se d                  re g u latio n s at 2 1 C FR 3 1 4 .1 5 0 or 601.5
 b e lie v e th e ir re s u l ts w o u l d o r co u l d b e
                                                                § § 3 1 4 .5 3 0 an d 6 0 1 .4 3 , w h ich in cl u d e       d o e s ap p ly , th e ag e n cy w ill proceed to
 lo n g h id d e n . A stu d y th at f ails to sh o w
                                                                f ailu re o f an ap p l ican t to p e rf o rm th e           w ith d raw ap p ro v al u n d er traditional
 cl in ical e f f e ctiv e n e s s d o e s n o t p ro v e a
 d ru g h as n o cl i n ical ef f ect b u t it is a             re q u ired p o s tm ark etin g stu d y w ith d u e          p ro ce d u re s .
                                                                d il ig e n ce . S e ctio n 5 0 5 (e ) o f th e act             38.       T w o co m m e n ts exp ress ed concern
 stu d y th at, u n d e r § 3 1 4 .5 3 0 , w il l l e ad to
                                                                au th o riz e s th e ag e n cy to w ith d raw                th at it m ay b e d if f icu lt f o r th e agency to
 a w ith d raw al p ro ce d u re b e cau s e it h as
                                                                ap p ro v al o f an N D A if n e w in f o rm atio n          e n f o rce th e req u irem en t th at
 f ailed to sh o w th at th e su rro g ate
                                                                s h o w s th at th e d ru g h as n o t b e en                p o stm ark etin g stu d ie s b e p ursued witn
 e n d p o in t o n w h ich ap p ro v al w as b ase d ,
                                                                d e m o n s trate d to b e e ith e r saf e o r               d u e d il ig e n ce . T h e co m m en ts asked
 can b e co rre l ate d w ith a f av o rab l e
                                                                                                                             w h at w o u l d h ap p e n i f a sp o nso r using
 cl in ical ef f ect. T h is m ay h av e o ccu rre d            ef f ectiv e. A p p ro v al m ay al so b e
                                                                w ith d raw n i f th e ap p l ican t h as f ailed to          d u e d il ig e n ce is u n ab le to recru it
 b e cau s e th e s tu d y w as p o o rl y d es ig n ed
                                                                m ain tain re q u ire d re co rd s o r m ak e                 en o u g h p atie n ts, o r if th e sp onsor
 o r co n d u cte d ; w h il e FD A w il l m ak e
                                                                                                                              q u e stio n s th e v alid ity o f th e data from
 e v e ry ef f o rt to av o id th is , th e                      re q u ire d re p o rts . In ad d itio n , ap p ro v al
                                                                                                                              th e re q u ire d p o stm ark etin g stud y, ana
 co m m e rcial sp o n s o r h as th e                          i n a y b e w ith d raw n i f n e w in f o rm atio n ,
                                                                                                                              w o u l d cl u m s y d ata m an ag em en t be seen
 re s p o n sib il ity f o r p ro v id in g th e n e e d e d     al o n g w ith th e in f o rm atio n co n s id e re d
                                                                                                                              as su f f icie n t re aso n to re scin d approve
 e v id e n ce co n f irm in g cl i n ica l b en ef it. A s     w h e n th e ap p l icatio n w as ap p ro v e d ,
                                                                                                                              f o r a m ark e te d d ru g ? A n o th er common
 p re v io u sl y d is cu s s e d , § $ 3 1 4 , 5 1 0 an d      sh o w s th e lab elin g to b e f alse o r
                                                                                                                              s tate d th at o n ce a p ro d u ct is approved
 6 0 1 .4 1 h av e b ee n re v is e d to cl arif y th at        m is le ad in g .
                                                                  Fo r b io l o g ical p ro d u cts , s e ctio n              an d , b y d ef in itio n , p ro v id es a
 re q u ire d p o stm ark e tin g stu d ie s m u st
                                                                                                                              “ m ean in g f u l th e rap e u tic b enefit over
 al so b e aae q u ate an d w e l l - co n tro l l e d .         3 5 1 (d ) o f th e PH S A ct au th o riz e s
                                                                 ap p ro v al o f l ice n s e ap p l icatio n s u n d e r     e xis tin g th e rap ie s ,” stu d y accru al may
 T h e p o s sib il ity th at an in e f f e ctiv e d ru g
                                                                 stan d ard s d esig n ed to e n su re co n tin u e d         d ro p o f f d ram aticall y as p atien ts may
 h as b e co m e “ a cce p te d ” is n o t a b asis f o r
                                                                 saf ety , p u rity , an d p o te n cy . “ P o te n cy "      re f u se to re ce iv e th e “ o ld     therapy ° r
 co n tin u e d m ark etin g . FD A in te n d s to




                                                                                                                                                    EX. 22 pg.15
                F e d e ra l R e g is te r /        V o l.      5 7 , N o . 2 3 9 / F rid a y , D e ce m b e r 1 1 , 1 9 9 2 / R u l e s a n d R e g u l a tio n s                       58957
            Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22                                                                   Page 17 of 20 PageID 505
placebo, o r p h y s ician s m ay co n s id e r it                   acce l e rate d ap p ro v al p ro ce s s is to             th e ap p l ican t h ad an o p p o rtu n ity f or
unethical n o t to tre at al l p atie n ts w ith                     p ro v id e im p ro v e d tre atm e n ts to                h e arin g as d e scrib e d in th o se se ctio n s.
the ap p rov ed in d icatio n w ith th e n e w                       d e sp e rate l y ill p atie n ts at th e e arl ie s t     T h e C o m m is sio n e r w o u l d th e n e xp e ct to
d rug o r b io lo g ical p ro d u ct. U n d e r th ese               p o s sib le tim e , an d w ith d raw al o f               re v ie w th e iss u e s w ith o b j ectiv ity an d
circum stan ces, th e co m m e n t e xp re s s e d                   ap p ro v al o f th e n e w tre atm e n ts f o r           f airn ess h av in g h ad th e b en ef it o f th e
the op inion th at n e ith e r th e s p o n s o r n o r             re as o n s n o t d ire ctl y re l ate d to saf e ty o r      re s e n tatio n s an d d is cu s sio n s at th e
the p ro d u ct sh o u ld b e p e n aliz e d , n o r                e f f icacy u n d e rm in e s th e p u rp o s e o f th e      e arin g an d o f th e ad v iso ry co m m itte e ’s
should th ere b e a th re at to w ith d raw                         p ro p o se d ru l e . T w o co m m e n ts                  re co m m e n d atio n s.
approval. B as ed o n FD A ’s p ast h is to ry                      su g g este d th at co rre ctio n o f th e
in p ostm ark etin g s tu d ie s , w h ich o n e                                                                                H.    S a fe g u a r d s f o r P a t ie n t S a fe t y
                                                                    p ro m o tio n al m ate rial w ith o u t
com m ent ch aracte riz e d as re su l tin g in                     in te rru p tio n o f a cce s s to th e d ru g w o u l d       4 1 . O n e co m m e n t ask ed if d ru g s
p o o rly d o n e stu d ie s , stu d ie s co n d u cte d            b e a b e tte r ap p ro ach . A n o th e r co m m e n t     ap p ro v e d u n d e r th e acce l e rate d
m u c h later th an ag ree d u p o n , o r n o t at                 su g g e ste d th at th e re m ay b e                       ap p ro v al p ro ce s s w il l b e h e ld to th e
all, the co m m e n t e xp re s s e d th e o p in io n              circu m s tan ce s w h e re co n tin u e d a cce s s        sam e s tan d ard s co n ce rn in g
that the ’’ d u e d il ig e n ce ” w ith w h ich                    to th e d ru g , i f acco m p an ie d b y in f o rm ed      p o stm ark etin g saf e ty as d ru g s ap p ro v ed
a p p lic a n ts are e xp e cte d to carry o u t                    co n s e n t, w o u l d b e ap p ro p riate e v e n if      b y th e trad itio n al p ro ce ss .
postm arketing stu d ie s m ay b e an o v e rl y                    su b stan tial q u estio n s aris e ab o u t a                 A s d is cu s s e d in th e p re am b le to th e
great e xp ectatio n . O n e co m m e n t ask ed                    p ro d u ct’s saf e ty an d e f f ectiv en es s. O n e      p ro p o se d ru l e , ap p l ican ts g ain in g
FD A to g iv e e xam p l e s o f w h e n it m ay                    co m m e n t u rg ed th at an ticip ate d                   ap p ro v al f o r n e w d ru g s th ro u g h th e
w ith d raw ap p ro v al i f ’ ’ o th e r e v id e n ce             w ith d raw al o f ap p ro v al b e p re ce d e d b y       acce l e rate d ap p ro v al p ro ce d u re s w il l
dem onstrates th at th e d ru g p ro d u ct is                      m e as u re s to e n su re th at p atien ts an d            al so b e e xp e cte d to ad h e re to th e
not show n to b e saf e o r ef f e ctiv e u n d e r                 th e ir p h y s ician s w il l h av e an                    ag e n cy ’s l o n g stan d in g req u irem en ts f or
its co n d ition s o f u s e ” (p ro p o se d                       u n in te rru p te d su p p l y u n til al tern ativ e      p o s tm ark etin g re co rd k eep in g an d saf ety
§§ 3 1 4 .5 3 0 (a)(6 ) an d 6 0 1 .4 3 (a )(6 )).                  tre atm e n t arran g em en ts can b e m ad e.              rep o rtin g (se e 2 1 C FR 3 1 4 .8 0 an d
   FD A d o e s n o t ag re e th at it w il l b e                      T h e n e e d f or ‘ ‘ d u e d il ig e n ce ” in         3 1 4 .8 1 ). In f o rm atio n th at co m e s to FD A
d if f ic u lt to e n f o rce th e ‘ ‘ d u e d il ig e n ce ”       co n d u ctin g th e ag ree d to p o stm ark etin g         f ro m th e ap p l ican t o r e l se w h e re th at
p ro v isio n o f th is ru l e . T h e " d u e                      stu d ie s is d is cu s se d in p arag rap h 3 7 .          raise s p o te n tial saf ety co n ce rn s w ill b e
d ilig e n c e ” p ro v isio n w as d esig n ed to                  T h e re as o n s f o r co n ce rn ab o u t                 e v alu ated in th e sam e m an n e r th at su ch
en su re that th e ap p l ican t m ak es a g o o d                  m isl ead in g p ro m o tio n al m ate rials are            in f o rm atio n is e v alu ate d f o r d ru gs
faith e f f o rt to co n d u ct a re q u ire d                      d is cu s se d u n d e r p arag rap h 1 6 . W ith           ap p ro v e d u n d e r th e ag e n cy ’s trad itio n al
p o stm a rk e tin g s tu d y in a tim e l y m an n e r             re s p e ct to p ro m o tio n al m aterials , FD A          p ro ce d u re s. If th e p o stm ark etin g
to c o n f irm th e p re d ictiv e v alu e o f th e " >             e xp e cts th at, in m o st cas e s , an y                  in f o rm atio n sh o w s th at th e risk / b en ef it
su rro g ate m ark er o r o th e r i n d icato r. A n y             d is ag re em en ts b etw een th e ap p lican t             as s e ss m e n t is n o l o n g er f av o rab le, th e
re q u ire m e n t f or p o stm ark e tin g stu d ie s              an d FD A w ill b e re s o l v e d th ro u g h              ag e n cy w il l act acco rd in g l y to re m o v e
w ill h a v e b een ag re ed to b y th e                            d is cu s sio n an d m o d if icatio n o f d ie             th e d ru g f ro m th e m ark et.
ap p lic an t at th e tim e o f ap p ro v al , an d if              m ate rials , so th at th e d ru g o r b io l o g ical         4 2 . Chie co m m e n t u rg ed FD A , if th e
the stu d y is n o t co n d u cte d in a tim e l y                    ro d u ct can co n ti n u e to b e m ark eted . If,       p ro p o se d ru l e w ere ad o p te d , to req u ire
m an n er a s ag ree d to b y th e ap p l ican t,                     o w ev er, FD A co n cl u d e s th at th e                w ritte n in f o rm ed co n s e n t so th at
ap p ro v al o f th e ap p l i can t’s ap p l icatio n              p ro m o tio n al m ate rials ad v erse l y af f ect        p atie n ts w o u l d k n o w th at th e d ru g s
w ill b e w ith d raw n . FD A w il l e xp e ct an y                th e risk / b en ef it co n cl u s io n su p p o rtin g     w ith w h ich th e y w e re b ein g tre ate d h ad
re q u ire d p o s tm ark etin g s tu d y to b e                    th e d ru g ’s m ark etin g , th e ag e n cy in ten d s     risk s an d th at th e b en ef its h ad n o t b een
c o n d u c te d in co n s u l tatio n w ith th e                   to m in im iz e th e risk to th e p u b lic h ealth         ad eq u ately estab lis h ed .
agency. T h ere f o re, s h o u l d th e ap p l ican t              b y rem o v in g th e p ro d u ct f rom th e                   T h e ag e n cy d o es n o t ag ree th at
encounter p ro b l e m s w ith su b je ct                           m ark et th ro u g h th e w ith d raw al                    p atie n ts u sin g d ru g p ro d u cts ap p ro v ed
enrollment in a s tu d y o r e th ical                              p ro ce d u re s in th is ru le.                            u n d e r th e acce l e rate d ap p ro v al
difficulties ab o u t th e ty p e o f stu d y to                       40.       O n e co m m e n t e xp re ss e d co n ce rn   reg u latio n s sh o u ld b e ask ed to p ro v id e
conduct, FD A e xp e cts th e ap p l ican t to                      th at th e p ro p o se d w ith d raw al p ro ce d u re      w ritten in f o rm ed co n se n t. D rugs
discuss these p ro b l e m s w ith th e ag e n cy                   m ay g iv e th e ap p e aran ce o f b ias o r               ap p ro v e d u n d e r th e s e p ro v isio n s are n o t
and reach ag re em en t o n th e ir re s o l u tio n .              p re co n ce iv e d n o tio n s o n th e p art o f th e     co n sid e re d e xp e rim e n tal d ru g s f o r th e ir
  Examples o f o th e r e v id e n ce                               ag e n cy b e cau s e th e f inal d e cisio n to            ap p ro v e d u ses. Lik e all ap p ro v e d d ru gs,
demonstrating th e d ru g p ro d u ct is n o t                      w ith d raw ap p ro v al o f a d ru g w o u l d b e         d ru g s ap p ro v ed u n d e r th e s e p ro v isio n s
shown to b e saf e an d ef f e ctiv e co u l d                      m ad e b y th e C o m m is sio n er o f Fo o d an d         w ill h av e b o th risk s an d b en ef its. A s
include further s tu d ie s o f th e ef f ect o f                   D ru gs an d th e in ten tio n to w ith d raw               p re v io u sl y d is cu s se d in th is p ream b le,
the drug an d th e su rro g ate e n d p o in t th at                ap p ro v al o f th e d ru g w il l al re ad y h av e       f or d ru g s ap p ro v e d b ased o n stu d ie s
fail to sho w th e ef f e ct se e n in p re v io u s                b een d e te rm in e d b y th e ag en cy .                  sh o w in g an ef f ect o n a su rro g ate
studies, new e v id e n ce ,cas tin g d o u b t o n                    U n d e r th e w ith d raw al p ro v isio n s o f        e n d p o in t, th e ap p ro v ed lab elin g w ill
the v alid ity o f th e su rro g ate e n d p o in t as              th is ru l e , FD A ’s C D ER o r C BER , rath e r          d escrib e th at ef f ect. In ad d itio n , th e
a predicto r o f cl i n ical b e n e f it, o r n e w                th an th e C o m m is sio n e r, w il l in itiate th e      lab elin g w ill co n tain in f o rm atio n o n
evidence o f sig n if ican t to xicity .                            w ith d raw al p ro ce e d in g s. T h e                    k n o w n an d p o te n tial saf ety h az ard s an d
  39. So m e co m m e n ts o b j ected to                           w ith d raw al p ro ce s s w il l b eg in w ith a           p re cau tio n ary in f o rm atio n . A s w ith al l
W ith d raw al o f ap p ro v al o f a d ru g                        l e tte r f rom C D ER o r C BER n o tif y in g th e        p re scrip tio n d ru g s, th e p h y s ician h as
p ro d u c t ap p ro v ed u n d e r th e acce l e rate d            ap p l ican t th at th e C e n te r p ro p o se s to        th e re s p o n sib ility f o r ap p ro p riately
ap p ro v al p ro ce ss b e cau s e o f p e rce iv e d              w ith d raw m ark e tin g ap p ro v al an d                 ad v isin g th e p atie n t reg ard in g th e d ru g
M isc o n d u c t b y th e ap p l ican t, s u ch as                 statin g th e re as o n s f o r th e p ro p o se d          b ein g p re scrib ed .
ailu re to p erf o rm a re q u ire d                                actio n . A lth o u g h se p aratio n o f f u n ctio n s       4 3 . O n e co m m e n t ask ed th at FD A
p o stm a rk e tin g stu d y w ith d u e d il ig e n ce             w il l n o t ap p ly u n d e r th e p ro v isio n s o f     req u ire m an u f actu re rs to m ain tain an
or use o f p ro m o tio n al m ate rial s th at are                 § § 3 1 4 . 5 3 0 o r 6 0 1 .4 3 , th e                     u p d ate d list o f n am es, ad d re ss es, an d
      ° r m islead in g . T h e co m m e n ts                       C o m m is s io n e r’s d e cis io n reg ard in g           p h o n e n u m b ers o f p h y s ician s
“ Su ed th a t d ie p rim ary p u rp o s e o f th e                 w ith d raw al w o u l d n o t o ccu r u n til af ter       p re scrib in g th e ir p ro d u cts ap p ro v ed




                                                                                                                                                                 EX. 22 pg.16
53958           F e d e ra l R e g is te r /    V o l. 5 7 , N o . 2 3 9        /   F ri d a y , D e ce m b e r 1 1 , 1 9 9 2     /     R u l e s a n d R e g u la tio n s
       Case 2:22-cv-00223-Z Document 1-23 Filed 11/18/22                                                                  Page 18 of 20 PageID 506
                                                                                                                              Se c .
u n d e r th is ru l e , an d in th e cas e o f re cal l       ap p l ican ts w il l m o st p ro b ab ly ch o o s e to
                                                                                                                              314.510 A pproval based on a surrogate
o r w ith d raw al o f ap p ro v al , re q u ire               tak e ad v an tag e o f th e p to g ram o n l y
                                                                                                                                  end po int o r o n an effect on a clinical
m an u f actu re rs to co n ta ct th e s e                     w h e re its u se is e xp e cte d to re d u ce n e t
                                                                                                                                  endpo int o ther than survival or
p h y s ician s an d e n co u rag e th e m to n o tif y        co s ts , S im il arl y , th e f in al ru l e d o e s n o t        irreversible morbidity.
th e ir p atie n ts.                                           im p o s e a sig n if ican t e co n o m ic im p act            314.520 A pproval w ith restrictions to
   FD A d o e s n o t b e l ie v e s u ch a                    o n a su b stan tial n u m b e r o f sm all e n titie s            assure safe use.
p ro ce d u re is n e ce s s ary . Fu rth e rm o re ,          so as to re q u ire a re g u lato ry f l e xib ility           314.530 W ithdraw al procedures.
m ain tain in g s u ch a re g is try f o r d ru g s            an aly sis u n d e r th e re q u ire m e n ts o f th e         314.540 Postmarketing safety reporting.
p re s crib e d th ro u g h p h arm acie s w o u l d           R eg u lato ry Fle xib il ity A ct o f 1 9 8 0 .               314.550 Promotional materials.
b e v e ry d if f icu lt. A g e n cy e xp e rie n ce                                                                          314.560 Terminatio n o f requirements
                                                               V L En v iro n m e n tal I m p act
w ith re cal l s an d p ro d u ct w ith d raw al s
                                                                  T h e ag e n cy h as d e te rm in e d u n d e r 2 1
                                                                                                                              Subpart H — Acce lera ted A p p r o v a l o f N sw
in d icate s th at th e m e th o d s o f
                                                                                                                              D rugs for Se riou s or U fa - T h r e a te n in g
n o tif icatio n th at h av e b e e n d e v e l o p e d        C FR 2 5 .2 4 (a )(8 ) th at th is actio n is o f a
                                                                                                                              lUneesee
f o r su ch circu m s tan ce s are ad eq u ate.                ty p e th at d o e s n o t in d iv id u all y o r
    44.       O n e co m m e n t re co m m e n d e d th at     cu m u l ativ e l y h av e a sig n if ican t ef f ect o n      § 3 1 4 .5 0 0    Scope .
FD A re q u ire p atie n t p ack ag e in s e rts               th e h u m an en v iro n m e n t. T h e re f o re ,                T h is su b p art ap p lie s to certain new
(PPI’s) f o r al l d ru g s p a n te d acce l e rate d         n e ith e r an e n v iro n m e n tal ass e ss m e n t          d ru g an d an tib io tic p ro d u cts that have
e p p ro v al th at w o u l d s tate th e s p e cif ic         n o r an e n v iro n m e n tal im p act state m e n t          b e en stu d ie d f or th e ir saf ety and
re s trictio n s p l ace d o n a d ru g p ro d u ct            is re q u ired .                                               e f f e ctiv e n e s s in tre atin g serio u s or life-
a n d / o r th e re as o n f o r re q u irin g                                                                                  th re ate n in g ill n e ss e s an d th at provide
                                                               V II.   P a p e rw o rk R e d u ctio n A ct o f 1 9 8 0
p o stm ark etin g stu d ie s . In ad d itio n , th e                                                                           m ean in g f u l th e rap e u tic b en ef it to
co m m e n t re co m m e n d e d th at FD A                       T h is ru le d o e s n o t co n tain n e w
                                                                                                                                p atie n ts o v e r e xistin g treatm en ts (e g.,
r equire th e m an u f actu re r to i n cl u d e an            co l l e ctio n o f in f o rm atio n re q u irem en ts .
                                                                                                                                ab ility to tre at p atie n ts unresp onsive to,
ad v e rse d ru g re actio n “ h o tl in e ” p h o n e         S e ctio n 3 1 4 .5 4 0 d o e s re f e r to re g u latio n s
                                                                                                                                o r in to l e ran t o f , av ail ab le therap y, or
n u m b e r in th e PPI al o n g w ith an FD A                 th at co n tain co l l e ctio n o f in f o rm atio n
                                                                                                                                im p ro v e d p atie n t re s p o n se over
p h o n e n u m b e r. T h e PPI s h o u l d in f o rm         re q u ire m e n ts th at w e re p re v io u sl y
                                                                                                                                av ail ab le th e rap y ).
th e p atie n t to re p o rt im m e d iate l y an y            su b m itte d f o r re v ie w to th e D ire cto r o f
ad v e rse d ru g re actio n e xp e rie n ce d to h is         th e O f f ice o f M an ag em en t an d Bu d g et                $ 3 1 4 .5 1 0 Approva l based on a surrogate
o r h e r d o cto r, th e m an u f actu re r, an d             (O M B) u n d e r s e ctio n 3 5 0 4 o f th e                    endpoint or on an effect on a clinical
FD A , an d th e m an u f actu re r sh o u ld b e              Pap e rw o rk R e d u ctio n A ct o f 1 9 8 0                    endpoint other then survival or irreversible
re q u ire d to co n tact FD A im m e d iate l y               (A d v e rs e D rug E xp e rie n ce R ep o rtin g ,              m orbidity.
af te r re ce iv in g a re p o rt o f a se rio u s             O M B N o. 0 1 9 0 - 0 2 3 0 ) .                                     FD A m ay g ran t m ark etin g approval
ad v e rse re actio n .                                                                                                         f o r a n e w d ru g p ro d u ct o n th e basis of
                                                               L is t o f S u b jects                                           ad e q u ate an d w e ll - co n tro ll e d clinical
   FD A co n cl u d e s th at p atie n t p ack ag e
in s e rts are n o t ro u tin e l y n e e d e d f or           2 1 C FR P ar t 3 1 4                                            trial s e stab lis h in g th at th e d rug product
d ru g s g ran te d acce l e rate d ap p ro v al ,                                                                              h as an ef f ect o n a su rro g ate endpoint
                                                                   A d m in is trativ e p ractice an d
al th o u g h i f ci rcu m s tan ce s m ad e o n e                                                                              th at is re as o n ab ly lik e ly , b ased on
                                                               p ro ce d u re , C o n f id e n tial b u sin e ss
ap p ro p riate , o n e w o u l d b e d e v e l o p e d                                                                         e p id e m io l o g ic, th e rap e u tic,
                                                               in f o rm atio n , D ru gs, R ep o rtin g an d
f o r a p articu l ar d ru g . A s w ith an y                                                                                   p ath o p h y s io l o g ic, o r o th e r evid ence, to
                                                               re co rd k e e p in g re q u irem en ts .
p re s crip tio n d ru g , th e ap p ro v e d lab elin g                                                                        p re d ict cl i n ica l b en ef it o r o n the basis
f o r a p ro d u ct g ran te d acce l e rate d                  2 1 C FR P ar t 6 0 1                                           o f an ef f e ct o n a cl in ical end p oint other
ap p ro v al w il l co n tain in f o rm atio n ab o u t            Bio lo g ies, C o n f id en tial b u sin e ss                th an su rv iv al o r irrev ersib le morbidity.
th e saf e an d ef f e ctiv e u s e o f th e p ro d u ct,       in f o rm atio n .                                              A p p ro v al u n d e r th is se ctio n w ill be
in cl u d in g al l n e ce s s ary w arn in g s an d               T h e re f o re , u n d e r th e Fe d e ral Fo o d ,         su b j ect to th e re q u irem en t th at the
th e e xte n t o f cl i n ical e xp o s u re . In               D rug, an d C o s m e tic A ct, th e Pu b li c                  ap p l ican t s tu d y th e d ru g f urther, to
ad d itio n , th e co n d itio n s o f u s e w il l b e         H eal th S e rv ice A ct, an d u n d e r au th o rity           v erif y an d d e scrib e its cl in ical benefit,
care f u ll y w o rd e d to re f l e ct th e n atu re o f       d e leg ated to th e C o m m is sio n e r o f Fo o d            w h e re th e re is u n ce rtain ty as to the
th e d ata s u p p o rtin g th e p ro d u ct’s                  an d D ru gs, 2 1 C FR p arts 3 1 4 an d 6 0 1 are              re l atio n o f th e su rro g ate en d p oint to
 ap p ro v al . Ph y s ician s h av e th e                      am e n d e d as f o ll o w s:                                   cl in ical b en ef it, o r o f th e observed
 re s p o n sib il ity to in f o rm p atie n ts ab o u t                                                                        cl i n ical b en ef it to u ltim ate outcom e.
 th e saf e an d ef f e ctiv e u s e o f an ap p ro v e d       PART 314— APPLI CATI ON S FOR FD A                              Po s tm ark e tin g s tu d ie s w o u ld usually be
 p ro d u ct. Lab el in g i n cl u d e s su g g e stio n s      APPR O V AL TO M AR KET A NEW DRUG                              s tu d ie s al re ad y u n d e rw ay . W hen
 to th e p h y s ician co n ce rn in g in f o rm atio n         OR AN ANTI BI OTI C D RUG                                       re q u ire d to b e co n d u cte d , su ch studies
 to b e p ro v id e d to p atie n ts.                                                                                           m u s t al so b e ad eq u ate an d w ell-
                                                                   1 . T h e au th o rity citatio n f o r 21 C FR
    T h e ag e n cy n o te s th at in th is f in al                                                                             co n tro l l e d . T h e ap p l ican t shall carry out
                                                                p art 3 1 4 co n tin u e s to re ad as f o llo w s:
 ru l e l im ite d e d ito rial ch an g e s h av e b ee n                                                                       an y s u ch stu d ie s w ith d u e diligence.
 m ad e to th e w o rd in g o f th e p ro p o se d                A uthority: Secs. 201,301, 501, 502, 503,
                                                                505, 506, 507, 701, 706 o f the Fed eral Foo d,                 $ 314.520 Approva l w Hh restrictions to
 ru l e . H i e ag e n cy h as d e te rm in e d th at
                                                                Drug, and Cosmetic A ct (21 U.S.C. 321, 331,                    a ssu re sa fe u se .
 th e s e ch an g e s d o n o t af f e ct th e in te n t o f
                                                                351, 352,353, 355, 356, 357, 371, 376).                             (a) If FD A co n cl u d e s th at a drug
 th e p ro p o s e d ru l e .
                                                                   2 . S u b p art H co n s is tin g o f § § 3 1 4 .5 0 0        p ro d u ct sh o w n to b e ef f ectiv e can be
 V.    Econom ic I m pact                                       th ro u g h 3 1 4 . 5 6 0 is ad d e d to re ad as                saf e ly u s e d o n l y if d istrib u tio n or use is
      In acco rd a n ce w ith E xe cu tiv e O rd er             f o ll o w s:                                                    re s tricte d , FD A w il l req u ire such        ,
 1 2 2 9 1 , FD A h as care f u l l y an al y z e d th e                                                                         p o stm ark e tin g re s trictio n s as are needs“
 e co n o m ic ef f e cts o f th is f in al ru l e an d         Subpart H— Acce lera ted Approva l o< New                        to ass u re saf e u se o f th e d rug       p ro d u ct,

 h as d e te rm in e d th at i t is n o t a m aj o r            D rugs tor Se riou s or Ufa- Threatening                         8U cll 88 «
                                                                I llnesses                                                             (1 )    D istrib u tio n re stricte d to certain
 ru l e as d e f in e d b y th e O rd e r. In d eed ,
                                                                                                                                 f acil itie s o r p h y s ician s w ith special
 b e cau s e f irm s w il l n o t b e f o rce d to u se         Sec.
 th e acce l e rate d ap p ro v al m e ch an is m ,             314.500         Scope.                                           train in g o r e xp e rie n ce ; o r




                                                                                                                                                        EX. 22 pg.17
         Case
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                e ra l R e g is te r / V o l . Document
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   (2)    D istrib u tio n co n d itio n e d o n th e          w il l b e p re se n t at th e h earin g . T h e                        w o u l d b e ap p ro p riate f o r ap p ro v al
p erf orm ance o f sp e cif ie d m e d ical                    co m m itte e w il l b e ask ed to re v ie w th e                       u n d e r trad itio n al p ro ce d u re s. Fo r d ru g
p roced u res.                                                 iss u e s in v o l v e d an d to p ro v id e ad v ice                   p ro d u cts ap p ro v e d u n d e r § 3 1 4 .5 2 0 , th e
   (b) T h e l im itatio n s im p o s e d w il l b e           an d re co m m e n d atio n s to th e                                   re s trictio n s w o u l d n o lo n g er ap p ly
co m m en su rate w ith th e s p e cif ic saf ety              C o m m is sio n e r o f Fo o d an d D rugs.                            w h e n FD A d e te rm in e s th at saf e u se o f
co ncerns p re se n te d b y th e d ru g p ro d u ct.             (2 ) T h e p re sid in g o f f icer, th e ad v iso ry                th e d ru g p ro d u ct can b e ass u re d th ro u g h
                                                               co m m itte e m em b ers, u p to th re e                                ap p ro p riate lab elin g . FD A als o re tain s
$314,539      W ithdraw s! p ro ced ures.
                                                               re p re s e n tativ e s o f th e ap p l ican t, an d u p                th e d is cre tio n to re m o v e sp e cif ic
  (a) Fo r n e w d ru g s an d an tib io tics                  to th re e re p re s e n tativ e s o f th e C en ter                    p o s tap p ro v al re q u ire m e n ts u p o n re v ie w
approved u n d e r § § 3 1 4 . 5 1 0 an d 3 1 4 .5 2 0 ,       m ay q u estio n an y p e rso n d u rin g o r at                        o f a p e titio n su b m itted b y th e sp o n so r
FD A m ay w ith d raw ap p ro v al , f o ll o w in g           th e co n cl u s io n o f th e p e rs o n ’s                            in acco rd an ce w ith § 1 0 .3 0 .
a hearing as p ro v id e d in p art 1 5 o f th is              p re se n tatio n . N o o th e r p e rs o n atte n d in g
chapter, as m o d if ied b y th is s e ctio n , if;            th e h earin g m ay q u estio n a p ers o n                             PA RT 601— LICENSING
  (1) A p o stm ark etin g cl in ical stu d y                  m ak in g a p re se n tatio n . T h e p re sid in g                        3 . T h e au th o rity citatio n f o r 21 C FR
fails to v erif y cl in ical b en ef it;                       o f f ice r m ay , as a m atte r o f d is cre tio n ,                   p art 6 0 1 co n tin u e s to re ad as f o llo w s:
  (2 ) T h e ap p l ican t f ails to p e rf o rm th e
                                                               p e rm it q u estio n s to b e su b m itted to th e
required p o stm ark etin g s tu d y w ith d u e                                                                                         A uthority: Secs. 201, 501, 502,503, 505,
                                                               p re sid in g o f f ice r f o r re s p o n se b y a
diligence;                                                                                                                             510, 513-516,518-520, 701, 704, 706, 801 o f
                                                               p e rs o n m ak in g a p re se n tatio n .                              the Federal Food, Drug, and Cosmetic A ct (21
  (3) U se af ter m ark etin g d e m o n s trate s
                                                                  (f)      Ju d ic ia l r e v ie w . T h e                             U .S.C 321, 351, 352, 353, 355, 360, 360c -
that p o stm ark etin g re s trictio n s are
                                                               C o m m is sio n e r’s d e cisio n co n stitu te s                      360f, 360h—360j, 371, 374, 376, 381); secs.
inadeq uate to ass u re saf e u s e o f th e d ru g            f in al ag e n cy actio n f ro m w h ich th e                           215, 301, 351, 352 o f the Public Health
product;                                                                                                                               Serv ice A ct (42 U.S.C. 216, 241, 262, 263);
                                                               ap p l ican t m ay p e titio n f o r j u d icial
    (4) T he ap p l ican t f ails to ad h e re to th e                                                                                 secs. 2-12 o f the Fair Packaging and Labeling
                                                               re v ie w . B ef o re req u estin g an o rd er f ro m
postm ark eting re s trictio n s ag re ed u p o n ;
                                                               a co u rt f o r a stay o f actio n p en d in g
                                                                                                                                       A ct (15 U.S.C. 1451-1461).
    (5) T he p ro m o tio n al m ate rials are
                                                               re v ie w , an ap p l ican t m u st f irst su b m it a                      4 . S u b p art E co n sistin g o f § § 6 0 1 .4 0
false or m is le ad in g ; o r
                                                               p e titio n f o r a stay o f actio n u n d e r                          th ro u g h 6 0 1 .4 6 is ad d e d to re ad as
    (6 ) O th er e v id e n ce d e m o n s trate s th at
                                                               § 1 0 .3 5 o f th is ch ap te r.                                        f o llo w s:
the drug p ro d u ct is n o t sh o w n to b e saf e
or effective u n d e r its co n d itio n s o f u se .          § 3 1 4 .5 4 0   P o s tm a rk s t in g s a fe ty r e p o r tin g .     S u b p a r t E — A c c e le r a te d A p p r o v a l o f
    (b) N o t ic e o f o p p o r t u n it y f o r a               D rug p ro d u cts ap p ro v ed u n d e r th is                      B io lo g ic a l P r o d u c ts f o r S e r io u s o r U fa *
h e ar in g . T h e D ire cto r o f th e C e n te r f or       p ro g ram are su b ject to th e                                        T h r e a te n in g Illn e s s e s
D rug Ev al u atio n an d R e s e arch w il l g iv e           p o stm ark etin g re co rd k eep in g an d saf ety                     Sec.
the ap p lican t n o tice o f an o p p o rtu n ity             re p o rtin g ap p licab l e to al l ap p ro v ed                       601.40 Scope.
for a h earin g o n th e C e n te r’s p ro p o sal to          d ru g p ro d u cts , as p ro v id e d in § § 3 1 4 .8 0                601.41 A pproval based on a surrogate
w ithdraw th e ap p ro v al o f an ap p l icatio n             arid 3 1 4 .8 1 .                                                            endpoint o r on an effect on a clinical
approved u n d e r § 3 1 4 . 5 1 0 o r § 3 1 4 .5 2 0 .                                                                                     endpoint other than survival or
The n o tice, w h ich w il l o rd in aril y b e a              § 3 1 4 .5 5 0   P r o m o tio n a l m a te r ia ls .                        irreversible morbidity.
letter, w ill state g e n e rall y th e re as o n s f o r          Fo r d ru g p ro d u cts b ein g co n sid e re d                    601.42 A pproval w ith restrictio ns to assure
the action an d th e p ro p o s e d g ro u n d s f o r
                                                                                                                                            safe use.
                                                               f o r ap p ro v al u n d e r th is su b p art, u n le s s
                                                                                                                                       601.43 Withdraw al procedures.
the order.                                                     o th e rw is e in f o rm ed b y th e ag en cy ,                         601.44 Postmarketing safety reporting.
   (c) S u b m is s io n o f d a t a a n d                     ap p l ican ts m u st su b m it to th e ag e n cy f or                  601.45 Promotional materials.
in fo r m at io n , ( l ) If th e ap p l ican t f ails to      co n sid e ratio n d u rin g th e p re ap p ro v al                     601.46 Terminatio n o f requirements.
file a w ritten re q u e st f o r a h e arin g                 re v ie w p e rio d co p ie s o f all p ro m o tio n al
w ithin 15 d ay s o f re ce ip t o f th e n o tice ,           m ate rials , in cl u d in g p ro m o tio n al                          S u b p a r t E — A c c e le r a te d A p p r o v a l o f
the ap p lican t w aiv e s th e o p p o rtu n ity f o r        lab elin g as w e ll as ad v ertise m en ts,                            B io lo g ic a l P r o d u c ts f o r S e r io u s o r U fa *
a hearing.                                                                                                                             T h r e a te n in g Illn e s s e s
                                                               in te n d e d f or d is se m in atio n o r
   (2) If th e ap p l ican t f iles a tim e l y                p u b licatio n w ith in 120 d ay s f o llo w in g                      § 6 0 1 .4 0    S cope.
request f or a h e arin g , th e ag e n cy w il l              m ark etin g ap p ro v al . A f ter 1 2 0 d ay s
                                                                                                                                          T h is su b p art ap p lie s to ce rtain
publish a n o tice o f h e arin g in th e                      f o ll o w in g m ark etin g ap p ro v al, u n le s s
                                                                                                                                       b io l o g ical p ro d u cts th at h av e b een
Fed eral R e g iste r in a cco rd an ce w ith                  o th e rw is e in f o rm ed b y th e ag e n cy , th e                   stu d ie d f or th e ir saf ety an d ef f e ctiv en ess
§ s 1 2 .3 2(e ) an d 1 5 .2 0 o f th is ch ap te r.           ap p l ican t m u st su b m it p ro m o tio n al                        in tre atin g se rio u s o r lif e- th re aten in g
   (3) A n ap p l ican t w h o re q u e sts a                  m ate rials at le ast 3 0 d ay s p rio r to th e                        ill n e ss e s an d th at p ro v id e m ean in g f u l
hearing u n d e r th is s e ctio n m u st, w ith in            in te n d e d tim e o f in itial d is se m in atio n o f                th e rap e u tic b en ef it to p atie n ts o ,rer
30 days o f re ce ip t o f th e n o tice o f                   th e lab elin g o r in itial p u b licatio n o f th e                   e xistin g tre atm e n ts (e.g ., ab ility to treat
o pp ortunity f o r a h e arin g , su b m it th e              ad v e rtise m e n t.                                                   p atie n ts u n re sp o n siv e to , o r in to le ran t
data and in f o rm atio n u p o n w h i ch th e
                                                               S 3 1 4 .5 5 0   T e r m in a tio n o f r e q u ir e m e n ts .
                                                                                                                                       o f , av ail ab le th e rap y , o r im p ro v ed
ap p licant in te n d s to re l y at th e h earin g .
                                                                                                                                       p atie n t re s p o n se o v e r av ail ab le th erap y ).
  (d) S e p a r a t io n o f fu n c t io n s .                    If FD A d e te rm in e s af ter ap p ro v al th at
S ep aration o f f u n ctio n s (as s p e cif ie d in          th e re q u ire m e n ts e stab lis h e d in                            § 6 0 1 .4 1    A p p r o v a l b a s e d o n a s u r r o g a te
§ 10 .55 o f th is ch ap te r) w il l n o t ap p l y at        § 3 1 4 ,5 2 0 , § 3 1 4 .5 3 0 , o r § 3 1 4 .5 5 0 are n o            e n d p o in t o r o n a n e f f e c t o n a c lin ic a l
&ny p oin t in w ith d raw al p ro ce e d in g s               lo n g er n e ce s s ary f o r th e saf e an d                          e n d p o in t o th e r th a n a u r v iv a l o r ir r e v e r s ib le
under th is se ctio n .                                        e f f ectiv e u s e o f a d ru g p ro d u ct, it w ill                  m o r b id ity .
  (e) P r o c e d u r e s f o r h e a r in g s . H earin g s   so n o tif y th e ap p lican t. O rd in arily , f or                        FD A m ay g ran t m ark etin g ap p ro v al
neld u n d er th is s e ctio n w il l b e                      d ru g p ro d u cts ap p ro v e d u n d e r                              f o r a b io l o g ical p ro d u ct o n th e b asis o f
co nd u cted in acco rd an ce w ith th e                       § 3 1 4 .5 1 0 , th e s e re q u ire m e n ts w il l n o                 ad eq u ate an d w e l l - co n tro l l e d cl in ical
p rovisions o f p art 1 5 o f th is ch ap te r,                lo n g er ap p ly w h e n FD A d e te rm in e s th at                    trial s estab lis h in g th at th e b io lo g ical
with the f o llo w in g m o d if icatio n s :                  th e re q u ired p o stm ark etin g stu d y                              p ro d u ct h as an ef f ect o n a su rro g ate
   U ) A n ad v iso ry co m m itte e d u ly                    v e rif ie s an d d e scrib e s th e d ru g p ro d u ct’s                e n d p o in t th at is re aso n ab ly lik el y , b ased
con stitu ted u n d e r p art 1 4 o f th is ch ap te r         cl i n ical b en ef it an d th e d ru g p ro d u ct                      o n e p id e m io lo g ic, th e rap e u tic,




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p ath o p h y s io lo g ic, o r o th e r e v id e n ce , to      B io lo g ies Ev al u atio n an d R e se arch w il l            p e ti tio n f o r a s tay o f actio n u nd er
p re d ict cl i n ical b en ef it o r o n th e b asis            g iv e th e ap p l ican t n o tice o f an                       § 1 0 .3 5 o f th is ch ap te r.
o f an ef f e ct o n a cl i n ical e n d p o in t o th e r       o p p o rtu n ity f o r a h e arin g o n th e
                                                                                                                                 $601.44        Po stm arketing safety reporting.
th an su rv iv al o r irre v e rsib le m o rb id ity .           C e n te r’s p ro p o sal to w ith d raw th e
A p p ro v al u n d e r th i s s e ctio n w il l b e             ap p ro v al o f an ap p l icatio n ap p ro v e d                  B io l o g ical p ro d u cts ap p ro v ed under
su b j ect to th e re q u ire m e n t th at th e                 u n d e r $ 6 0 1 . 4 0 o r $ 6 0 1 .4 1 . T h e n o tice ,     th is p ro g ram are su b j ect to the
ap p l ican t s tu d y fire b io l o g ical p ro d u ct          w h ich w il l o rd in arily b e a l e tte r, w il l            p o stm ark etin g reco rd k eep in g and safety
f u rth er, to v erif y an d d e s crib e its                    state g en erall y th e re as o n s f o r th e actio n          re p o rtin g ap p licab l e to all ap p roved
cl in ical b en ef it, w h e re th e re is                       an d th e p ro p o se d g ro u n d s f o r th e o rd er.        b io l o g ical p ro d u cts .
u n ce rtain ty as to th e re l atio n o f th e                     (c) S u b m is s io n o f d a t a a n d
                                                                                                                                 $ 8 0 1 .4 6   Prom otional m aterials.
su rro g ate e n d p o in t to cl i n ica l b en ef it, o r      in fo r m a t io n . ( 1) If th e ap p l ican t f ails to
o f th e o b se rv e d cl in ical b en ef it to                  f ile a w ritte n re q u est f o r a h earin g                     Fo r b io l o g ical p ro d u cts b eing
u l tim ate o u tco m e . Po stm ark e tin g                     w ith in 1 5 d ay s o f re ce ip t o f th e n o tice ,          co n s id e re d f o r ap p ro v al u n d er this
stu d ie s w o u l d u s u al l y b e stu d ie s                 th e ap p l ican t w aiv e s th e o p p o rtu n ity f o r       su b p art, u n le s s o th e rw is e inf orm ed by
al re ad y u n d e rw ay . W h e n re q u ired to b e            a h earin g .                                                   th e ag e n cy , ap p l ican ts m u st sub m it to
co n d u cte d , su ch s tu d ie s m u st al so b e                 ( 2 ) If th e ap p l ican t f iles a tim e l y               th e ag e n cy f o r co n sid e ratio n during the
ad eq u ate an d w e l l - co n tro l l e d . T h e              re q u e st f o r a h earin g , th e ag e n cy w il l           p re ap p ro v al re v ie w p e rio d co p ies o f all
ap p l ican t s h al l c a n y o u t an y su ch                  p u b lish a n o tice o f h e arin g in th e                    p ro m o tio n al m ate rials , inclu d in g
stu d ie s w ith d u e d il ig e n ce .                          Fe d e ra l R e g iste r in acco rd an ce w ith                 p ro m o tio n al lab elin g as w el l as
                                                                 § § 1 2 .3 2 (e ) an d 1 5 .2 0 o f th is ch ap te r.           ad v e rtis e m e n ts , in te n d e d for
$ 6 0 1 .4 2   A p p r o v a l w tth r e s t r ic t io n s t o
                                                                    (3 ) A n ap p l ican t w h o req u ests a                    d is se m in atio n o r p u b licatio n w ithin 120
a s s u rs   safs   use.
                                                                 h earin g u n d e r th is s e ctio n m u st, w ith in           d ay s f o ll o w in g m ark etin g ap p rov al.
   (a) If FD A co n cl u d e s th at a b io l o g ical
                                                                 3 0 d ay s o f re ce ip t o f th e n o tice o f                 A f te r 1 2 0 d ay s f o llo w in g m ark eting
p ro d u ct sh o w n to b e ef f e ctiv e can b e
                                                                 o p p o rtu n ity f o r a h earin g , su b m it th e            ap p ro v al , u n le s s o th e rw is e inf orm ed by
saf ely u se d o n l y i f d is trib u tio n o r u s e is
                                                                 d ata an d in f o rm atio n u p o n w h ich th e                th e ag e n cy , th e ap p l ican t m u st submit
re s tricte d , FD A w il l re q u ire s u ch
                                                                 ap p l ican t in te n d s to re l y at th e h earin g .         p ro m o tio n al m ate rials at least 3 0 days
p o stm ark etin g re s trictio n s as are n e e d e d
                                                                    (d) S e p a r a t io n o f fu n c t io n s .                 p rio r to th e in te n d e d tim e o f initial
to as s u re saf e u s e o f th e b io l o g ical
                                                                 S ep aratio n o f f u n ctio n s (as sp e cif ie d in           d is se m in atio n o f th e lab eling o r initial
p ro d u ct, s u ch as:
   ( 1 ) D istrib u tio n re s tricte d to ce rtain              § 1 0 .5 5 o f th is ch ap te r) w il l n o t ap p ly at        p u b licatio n o f th e ad v ertisem e n t.
f acil itie s o r p h y s ician s w ith s p e cial               an y p o in t in w ith d raw al p ro ce e d in g s
                                                                                                                                 $601.46        Terminatio n o f requirements.
train in g o r e xp e rie n ce ; o r                             u n d e r th is s e ctio n .
   (2) D istrib u tio n co n d itio n e d o n th e                  (e) P r o c e d u r e s f o r h e a r in g s . H earin g s       If FD A d e te rm in e s af ter ap p ro val that
p e rf o rm an ce o f sp e cif ie d m e d ical                   h e ld u n d e r th is s e ctio n w il l b e                    th e re q u ire m e n ts estab lis h e d in
p ro ce d u re s.                                                co n d u cte d in acco rd an ce w ith th e                      § 6 0 1 . 4 2 , $ 6 0 1 . 4 3 , o r § 6 0 1 .4 5 are no
   (b) T h e l im itatio n s im p o s e d w il l b e             p ro v isio n s o f p art 1 5 o f th is ch ap te r,             lo n g er n e ce s s ary f o r th e saf e and
co m m e n s u rate w ith th e s p e cif ic saf e ty             w ith th e f o llo w in g m o d if icatio n s:                  e f f ectiv e u se o f a b io l o g ical p ro d u ct, it
co n ce rn s p re se n te d b y th e b io l o g ical                ( 1 ) A n ad v iso ry co m m itte e d u ly                   w il l so n o tif y th e ap p lican t. O rdinarily,
p ro d u ct.                                         .           co n s titu te d u n d e r p art 1 4 o f th is ch ap te r       f o r b io l o g ical p ro d u cts ap p ro v ed under
                                                                 w ill b e p re se n t at th e h earin g . T h e                 § 6 0 1 .4 1 , th e s e req u irem en ts w ill no
$601.43        Withdraw al         p ro c e d u re s .
                                                                 co m m itte e w il l b e ask ed to re v ie w th e               l o n g er ap p ly w h e n FD A d eterm ines that
   (a) Fo r b io l o g ical p ro d u cts ap p ro v e d           iss u e s in v o lv ed an d to p ro v id e ad v ice             th e req u ired p o stm ark etin g stu d y
u n d e r § § 6 0 1 . 4 0 an d 6 0 1 . 4 2 , FD A m ay           an d re co m m e n d atio n s to th e                           v erif ie s an d d e scrib e s th e b iological
w ith d raw ap p ro v al , f o ll o w in g a h earin g           C o m m is sio n e r o f Fo o d an d D rugs.                    p ro d u ct’s cl i n ical b en ef it an d the
as p ro v id e d in p art 1 5 o f th is ch ap te r,                 ( 2 ) T h e p re sid in g o f f icer, th e ad v iso ry       b io l o g ical p ro d u ct w o u l d b e appropriate
as m o d if ied b y th is s e ctio n , if:                       co m m itte e m em b ers , u p to th re e                       f o r ap p ro v al u n d e r trad itio n al
   ( 1 ) A p o stm ark etin g cl in ical stu d y
                                                                 re p re s e n tativ e s o f th e ap p l ican t, an d u p        p ro ce d u re s. Fo r b io lo g ical p ro d u cts
f ails to v erif y cl in ical b en ef it;
                                                                 to th re e re p re s e n tativ e s o f th e C en te r           ap p ro v e d u n d e r § 6 0 1 . 4 2 , th e
   ( 2 ) T h e ap p l ican t f ails to p e rf o rm th e
                                                                 m ay q u es tio n an y p ers o n d u rin g o r at               re s trictio n s w o u l d n o lo n g er ap p ly
req u ired p o s tm ark etin g s tu d y w ith d u e
                                                                 th e co n cl u s io n o f th e p e rs o n ’s                    w h en FD A d e te rm in e s th at saf e use of
d il ig e n ce ;
                                                                 p re se n tatio n . N o o th e r p e rs o n atte n d in g       th e b io l o g ical p ro d u ct can b e assured
   (3) U se af te r m ark etin g d e m o n s trate s
                                                                 th e h earin g m ay q u estio n a p e rs o n                    th ro u g h ap p ro p riate lab elin g. FD A also
th at p o s tm ark e tin g re s trictio n s are
                                                                 m ak in g a p re se n tatio n . T h e p re sid in g             re tain s th e d is cre tio n to rem o v e specific
in ad eq u ate to e n su re saf e u se o f th e
                                                                 o f f icer m ay , as a m atte r o f d is cre tio n ,            p o s tap p ro v al re q u ire m e n ts u p on review
b io lo g ical p ro d u ct;
                                                                 p e rm it q u estio n s to b e su b m itted to th e             o f a p e titio n su b m itted b y th e sponsor
   ( 4 ) T h e ap p l ican t f ails to ad h e re to th e
p o stm ark etin g re s trictio n s ag reed u p o n ;            p re sid in g o f f icer f or re s p o n se b y a               in acco rd an ce w ith § 1 0 .3 0 .
   (5 ) T h e p ro m o tio n al m ate rials are                  p erso n m ak in g a p re se n tatio n .                            Dated: December 7,1992.
f alse o r m isl e ad in g ; o r                                    (f) Ju d ic ia l r e v ie w . T h e
                                                                                                                                 D avid A . K essler,
   (6 ) O th er e v id e n ce d e m o n s trate s th at          C o m m is sio n e r’s d e cisio n co n s titu te s
                                                                                                                                 C o m m is s io n e r o f F o o d an d   Drugs.
th e b io l o g ical p ro d u ct i s n o t sh o w n to           f inal ag e n cy actio n f ro m w h ich th e
                                                                                                                                 Louis W . S ullivan,
b e saf e o r ef f e ctiv e u n d e r its co n d itio n s        ap p l ican t m ay p e titio n f o r ju d icial
                                                                                                                                 S e c r e t ar y o f H e alt h a n d H u m an S erv ices.
o f u se.                                                        re v ie w . Bef o re req u estin g an o rd e r f ro m
    (b) N o t i c e o f o p p o r t u n it y f o r a             a co u rt f or a stay o f actio n p en d in g                   [FRD o c. 92-30129 Filed 12-9-92; 9:51 ami
h e a r in g . T h e D ire cto r o f th e C e n te r f or        re v ie w , an ap p l ican t m u st f irst su b m it a          BI U JM a COD E 41* 0-01- F




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